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                     EXHIBIT 1
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                       Exhibit 1
                          (To Singh Declaration)
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                                      UNITED STATES DISTRICT COURT
                                       MIDDLE DISTRICT OF FLORIDA
                                           ORLANDO DIVISION

  IN RE: TASIGNA (NILOTINIB)
  PRODUCTS LIABILITY LITIGATION
                                                                            Case No. 6:21-md-03006-RBD-DAB
                                                                                              (MDL No. 3006)

  This document relates to all actions.


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                                     SUPERIOR COURT OF NEW JERSEY
                                      LAW DIVISION: BERGEN COUNTY


  IN RE: TASIGNA PRODUCTS LIABILITY                                   Case No. 635
  LITIGATION
                                                                      Master Docket No.: BER-L-5018-21

  This document relates to all actions.
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                                        EXPERT REPORT OF SONAL SINGH MD MPH FACP

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 SECTION A. Introduction and Summary of Opinions.
 A.1. Summary of Opinions. Background and Context. I have been retained to review and analyze the
 epidemiological data and based on these data, to provide my professional opinion about whether Tasigna (nilotinib)
 is causally related to the development of atherosclerosis-related conditions, including peripheral arterial occlusive
 disease (PAD/PAOD), ischemic heart disease (IHD), cerebrovascular disease( including ischemic stroke), and other
 vascular events, collectively referred to herein as cardiovascular events (CVEs) among patients with chronic
 myeloid leukemia (CML). My rate for this consultation is $600/hr.
 Methods. I have relied upon my own systematic review and meta-analysis (SR and MA) of the peer reviewed
 literature, the basis upon which I provide my opinions. Using these materials, my education, and my prior clinical
 and research experiences, I have employed the methods accepted by the scientific community and that would be
 used to develop a peer reviewed manuscript. My opinion is based on a rigorous systematic review and meta-analysis
 of the peer reviewed literature related to this topic. I conducted a systematic search of 5 databases including
 PubMed, Embase including Scopus, Science Direct and Cochrane Central Register of Clinical Trials. I conducted
 an independent meta-analysis of four randomized controlled trials (RCTs) of nilotinib vs. Gleevec (imatinib) that
 reported on the occurrence of composite and individual outcomes of ischemic CVEs, including IHD, PAD, and
 ischemic stroke.1-4 I conducted a dose-response analysis to determine whether nilotinib 400 mg orally (PO) twice a
 day (BID) was associated with a higher risk of CV events than nilotinib 300 mg PO BID and several sensitivity
 analyses to check the robustness of the primary meta-analysis. I evaluated additional systematic reviews and meta-
 analyses, controlled and uncontrolled cohort studies, disproportionality analyses, case series, and case reports of
 studies of nilotinib and cardiovascular events. I evaluated the quality of the RCTs using the Cochrane
 Collaboration’s tool for assessing risk of bias and the quality of controlled observational studies using the New
 Castle Ottawa Scale. I also evaluated in vivo, in vitro, animal studies, and studies in human which provided evidence
 either in support or against the association between nilotinib and cardiovascular events. I also evaluated relevant
 regulatory documents and guidelines on this topic. The cumulative body of evidence above was subjected to a
 transparent and qualitative causality assessment based on the systematic application of the viewpoints set forth by
 a seminal article written in 1965 by Austin B. Hill, Professor of Medical Statistics, which include (1) strength of
 association, (2) consistency, (3) specificity, (4) temporality, (5) biological gradient, (6) plausibility, (7) coherence,
 (8) experiment, and (9) analogy.5
 Summary on Bradford Hill Viewpoints. Applying the Hill viewpoints, it is my opinion based, to a reasonable degree of
 scientific certainty, that the data strongly supports that nilotinib causes the development of atherosclerotic-related
 cardiovascular events, including peripheral arterial occlusive disease, ischemic heart disease, and ischemic stroke. There
 is a strong association between nilotinib, and ischemic CV events as manifest by a statistically significant increased risk
 of CV events (> 4-fold), heart disease, ischemic stroke, and PAOD (> 5-fold) events in meta-analysis of RCTs.6 The
 support for a causal association is also supported by evidence of consistency as manifest by a consistently increased risk
 of nilotinib in meta-analyses of RCTs, which do not show any evidence of statistical heterogeneity, in fact show perfect
 homogeneity for all meta-analysis across the range of outcomes. Other systematic reviews and meta-analyses of trials,6
 and studies conducted by different investigators, using different study designs in different times, places, and settings have
 consistently replicated similar findings of an increased risk of ischemic cardiovascular events with nilotinib.7,8 A
 consistently increased risk of CV events is also seen among participants with both high and low risk Framingham risk
 scores. Temporality is established in multiple RCTs and prospective studies which report an excess risk of CV events
 with nilotinib.1-4 Specificity is a minor consideration in multicausal diseases such as atherosclerosis but the occurrence
 of CV events is consistently higher in nilotinib patients in RCTs, where, according to principles of randomization, the
 patients with higher risk for CV are evenly distributed among both the nilotinib and imatinib arm indicating that ischemic
 CV events are specifically attributable to nilotinib exposure, despite the presence of multiple risk factors ( which are
 balanced in an RCT at baseline). Evidence of dose-response effects in RCTs and meta-analyses of RCTs with higher
 dose (400 mg PO twice a day orally of nilotinib) resulting in an increased risk of CV events compared to imatinib
 compared to the lower dose of nilotinib (300 mg PO BID).6 The ENESTnd trial also reported a higher risk of CV events
 with the higher dose of nilotinib 400 mg PO BID compared to the 300 mg PO BID dose overall as well as across levels
 of Framingham risk scores. There is also supportive evidence from dose and duration responsiveness from observational
 studies, which showed that HR of the 800 mg dose of nilotinib was higher and statistically significant [HR 4.96, 1.46 to


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 16.93, P=0.01] compared to the 300-400 mg dose and also report an accumulation of events over time.9,10 No study shows
 dose-reversal with higher risk with lower dose of nilotinib. Guidelines agencies have acknowledged that nilotinib causes
 a dose-dependent increase in the risk of PAOD. There are multiple plausible biological mechanisms through which
 nilotinib contributes to the development of atherosclerotic cardiovascular events. Nilotinib raises proinflammatory and
 proatherogenic inflammatory markers,11,12 exerts direct pro-atherogenic and antiangiogenic effects on vascular
 endothelial cells and contributes to endothelial cell activation.10,13 Nilotinib has also been shown to induce platelet
 thrombus formation,14 development of atherosclerotic plaque,15 insulin resistance and hyperglycemia,16
 hyperlipidemia17,18 and arterial hypertension,19,20 all of which constitute plausible biological mechanisms for the
 development of atherosclerosis. There is evidence supporting coherence because the natural history of cardiovascular
 events among patients with CML is consistent with findings of an increased risk of cardiovascular events with nilotinib.
 There is experimental evidence of an increased risk of cardiovascular events with nilotinib from RCTs in the ENESTnd
 trial, despite the lack of a prospective placebo controlled RCT powered on CV events (which would be unethical). The
 indisputable association between an increased risk of cardiovascular events with ponatinib, another tyrosine kinase
 inhibitor provides strong evidence of analogy. 21
 Conclusions. It is my opinion with a reasonable degree of scientific certainty that nilotinib causes ischemic CV
 events, including PAOD, IHD and ischemic stroke based on the cumulative body of evidence from RCTs, meta-
 analysis of RCTs, controlled and uncontrolled observational studies, disproportionality analyses, case reports, and
 mechanistic studies. I emphasize causation rather than the non-specific term association. This opinion is based on
 my systematic application of scientific and epidemiological principles that I have learned through my education,
 my past 20 years of my professional life conducting epidemiological research and analysis, the practice of clinical
 medicine, and contributing to the medical literature. I reserve the right to supplement this report if new or
 significantly, modified information is provided at any point.
 A.2. Background and Qualifications. I received my M.B.B.S. (equivalent to M.D) in 1998 from Patna Medical
 College, India, completed my internal medicine internship and residency in the Department of Medicine at the Unity
 Health Center, affiliated with the University of Rochester School of Medicine in 2005. I obtained my Master’s in
 Public Health from the Johns Hopkins Bloomberg School of Public Health in 2008.
 I have been an Associate Professor at the UMass Chan Medical School in the Department of Family Medicine and
 Community Health since 2016. I have a joint appointment in the Division of Health System Sciences in the
 Department of Medicine, and Department of Quantitative Health Sciences since 2016. I served as an Assistant
 Professor in the School of Medicine at Johns Hopkins University from 2009 through 2016. I also served as the
 Associate Director at the Center for Drug Safety and Effectiveness at Johns Hopkins University and was core faculty
 of the Johns Hopkins Evidence Based Practice Center. Prior to that, I served on the Faculty as an Instructor of
 Medicine at Wake Forest University until 2007, and then as an Assistant Professor of Medicine and Epidemiology
 at Wake Forest University until 2009.
 I have published more than 150 peer reviewed original research and educational articles, which have been cited
 more than 20,000 times and my h-index is sixty [h number of papers which has been cited by others at least h times].
 These include more than 45 peer reviewed systematic reviews and meta-analysis, and several observational studies
 published in prominent medical journals including such as the Journal of American Medical Association, NEJM
 Journal of American Medical Association-Internal Medicine, and British Medical Journal and the Lancet. My work
 has been featured in Science, and media outlets such as the NYTIMES, Wall Street Journal and the Washington
 Post. I am a member of the Guideline committee for the American College of Chest Physicians. I have been a key
 member in the development of the PRISMA-HARMS (Preferred Item for Reporting Harm in Systematic Reviews
 and Meta-Analysis) checklist, which was developed by a international panel to improve the reporting of systematic
 reviews and meta-analysis of harms.
 I am a recipient of the Johns Hopkins Clinical Research Scholars Award from the National Institute of Health and
 the Tinsley. R Harrison Master Teachers Award at Wake Forest University School of Medicine. My paper on
 varenicline and the risk of cardiovascular events published in the prestigious Canadian Medical Association Journal
 was awarded the Best Research Paper of the year among hundreds of articles submitted to the Journal. I also serve


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 as a peer reviewer for more than 50 journals and serve on the editorial board of prominent journals such as Evidence
 Based Medicine (British Medical Journal Group), Frontiers in Drug Safety and Frontiers in Primary Care and
 Family Medicine. I served on the DSMB of the TOGETHER trial which received the David Sackett Clinical Trial
 of the Year Award from the Society of Clinical Trials in 2022.22
 In my current position, I devote the majority my professional time to epidemiologic research. I conduct clinical
 research with a focus on epidemiology, evidence synthesis, and shared decision making. The major focus of my
 research is understanding the conduct of safety studies and standards for observational research. I have led or
 participated in epidemiologic studies funded by national and international agencies. These include peer reviewed
 studies supported by the FDA, Agency for Health Care Research and Quality, Patient Centered Outcomes Institute,
 and the World Bank. I am currently leading a project funded by the Reagan Udall Foundation for the FDA supported
 by multiple pharmaceutical sponsors and the Food and Drug Administration to develop standards for validation
 studies for real world evidence. I am also funded by the National Institute on Aging to conduct a large pragmatic
 trial to promote optimal prescribing among patients with dementia, and the National Institute for Health (“NIH”) to
 promote COVID-vaccination among vaccine hesitant individuals. I have also been funded by the FDA, the Agency
 for Health Care Research and Quality, the NIH, and the Patient Centered Outcomes Research Institute and
 pharmaceutical sponsors. I have reviewed grants for numerous federal and international organizations and served
 on the Data Safety Monitoring Board of several large multicenter randomized controlled trials. In 2013, I
 participated in the development of the developed the IARC monograph No 108 as an epidemiologic expert as a
 part of World Health Organization International Agency for Research (WHO-IARC) panel which evaluated the
 carcinogenicity of 14 drugs and herbal products in the IARC monograph No 108. 23
 The remainder of my professional effort is dedicated to practicing general medicine and teaching activities. I have
 taught courses in systematic reviews, pharmacoepidemiology, and the practice of general internal medicine to
 medical students, interns, residents, and public health students at Johns Hopkins University and Wake Forest
 University. I have also taught epidemiological research methods to researchers in the Bloomberg School of Public
 Health at Johns Hopkins University and trainees at the UMass Chan Medical School. My training in clinical
 medicine and epidemiology, along with the use of epidemiological research methods, membership on several
 national and international panels and editorial board of medical journals are relevant to the present scenario.
 A.3. Relevant Publications. I have authored or co-authored more than 150 original peer-reviewed scientific
 articles. Below is a representative sampling of those articles. Please refer to my curriculum vitae in Supplementary
 Section G3 for a complete listing of all publications.
     a) Singh S, Loke YK, Furberg CD. Long-term risk of cardiovascular events with rosiglitazone: A meta-
        analysis. JAMA 2007; 298: 1189-1195.
     b) Singh S, Loke YK. Furberg CD. Inhaled anticholinergics and risk of major adverse cardiovascular events
        in patients with chronic obstructive pulmonary disease: A systematic review and meta-analysis. JAMA
        2008; 300: 1439-1450 (CME Article in JAMA).
     c) Mills EJ, Wu P, Chong G, Ghement I, Singh S, et al. Efficacy and safety of statin treatment for
        cardiovascular disease: a network meta-analysis of 170 255 patients from 76 randomized trials. Q J Med
        2011; 104: 109-24.
     d) Singh S, Loke YK, Enright PL, Furberg CD. Mortality associated with tiotropium mist inhaler in patients
        with chronic obstructive pulmonary disease: systematic review and meta-analysis of randomized controlled
        trials. BMJ 2011; 342: d3215.
     e) Singh S, Loke YK, Spangler JG, Furberg CD. Risk of serious adverse cardiovascular events with
        varenicline: a systematic review and meta-analysis. CMAJ 2011; 183: 1359-66.
     f) Singh S, Loke YK. Drug safety assessment in clinical trials: methodologic challenges and opportunities.
        Trials 2012; 13: 138.


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     g) Grosse Y, Loomis D, Lauby-Secretan B, El Ghissassi F, Bouvard V, Benbrahim-Tallaa L, Guha N, Baan
        R, Mattock H, Straif K; International Agency for Research on Cancer Monograph Working Group.
        Collaborators: Stewart BW, Biggar RJ, Lachenmeier DW, Singh S, Tsuda H, Baguley B, Marques MM,
        Tseng CH, Knight TL, Beland FA, Betz JM, Carcache de Blanco EJ, Cunningham ML, Dunnick JK, Guo
        L, Jameson CW, Karagas M, Lunn RM, McCormick DL, Witt KL, Zhou S. Carcinogenicity of some drugs
        and herbal products. Lancet Oncol 2013; 14(9):807-8.
     h) Onasanya O, Iyer G, Lucas E, Lin D, Singh S, Alexander GC. Association between exogenous testosterone
        and cardiovascular events: an overview of systematic reviews. Lancet Diabetes Endocrinol 2016; 4: 943-
        956.
     i)   Zorzela, L., Loke, Y.K., Ioannidis, J.P., Golder, S., Santaguida, P., Altman, D.G., Moher, D., Vohra, S.,
          Boon, H., Clark, J., Derry, S., Gallivan, J., Gardiner, P., Gøtzsche, P., Loder, E., Napoli, M., Pilkington,
          K., Shekelle, P., Singh S, Witt, C., Lasserson, T., Wu, T., Shamseer, L., Mulrow, C. PRISMA harms
          checklist: improving harms reporting in systematic reviews. BMJ 2016;352: i157.
 A.4. Atherosclerosis, Risk Factors and Etiology. Atherosclerosis is a multifocal arterial disease which is one of
 the leading causes of death in the United States. The lesions of atherosclerosis occur in the large and medium sized
 arteries of the heart, brain and extremities which can lead to MI, stroke and PAD.24 It is a chronic progressive
 disease, often manifesting as clinical CV events.25
 Major modifiable risk factors include smoking, diabetes, hyperlipidemia, hypertension, obesity, and physical
 inactivity. High quantities of LDL cholesterol are considered one of the principal risk factors of the disease.26
 Small dense LDL cholesterol is considered the most atherogenic subfraction among all LDL subfractions and is
 associated with CAD.27 Inflammatory disease such as rheumatoid arthritis also raise the risk of atherosclerosis.
 28
    Some risk factors for atherosclerosis are non-modifiable including increasing age, male sex, family history of
 atherosclerosis and genetic conditions such as familiar hyperlipidemia.
 Plaque buildup in the arteries starts with damage to the arteries. The risk factors above can lead to this damage.29
 Inflammatory cells travel to the damaged areas of the artery and release chemical signals. The signals cause
 cholesterol and cell waste to collect at the damaged spots. This buildup attracts white blood cells that eat the
 cholesterol and clump together, forming plaque. The artery narrows as the plaque grows, reducing the flow of
 oxygen-rich blood to the limbs and organs. Over time, the plaque can break and flow into the bloodstream. This
 may lead to formation of blood clots, which can block blood flow. If this happens, nearby tissue cannot get enough
 oxygen and may die. After decades of slow progression, plaques may rupture and precipitate coronary thrombosis.30
 Inflammation also plays a role in the development of atherosclerosis. Atherosclerosis is now considered a chronic
 inflammatory disease. The imbalance in the levels of reactive oxygen species and antioxidants results in the
 conversion of LDL to the highly atherogenic oxidized LDL.31 The sub-endothelial deposition of ox-LDL, formation
 of foamy macrophages, vascular smooth muscle cell (VSMC) proliferation and migration, and deposition of
 collagen are central to the formation of atherosclerotic plaque. 31Ox-LDL exerts its action through several different
 scavenger receptors, the most important of which is LOX-1 in atherogenesis.32 Lectin-like oxidized low-density
 lipoprotein receptor-1 (LOX-1), a receptor of oxidized low-density lipoprotein (ox-LDL) found in various cells,
 plays a crucial role in the formation and progression of atherosclerotic plaques. 32Animal studies have suggested
 that LOX-1 mediates the balance between internalization and degeneration of endothelial cells, thereby contributing
 to various steps in the atherosclerotic process, from initiation to plaque rupture
 Elevated CRP levels and IL-6 levels have been noted in patients with ACS.33,34 In many patients with ACS, a plaque
 with a lipid-rich necrotic tissue, can be activated by inflammatory cytokines, such as interleukin (IL-1, IL2, IL 6)
 and Tumor Necrosis Factor-α (TNFα). They facilitate transport of the lipids and may increase permeability.35 Mast
 cell–derived interleukin-6 and IFN-γ act as pro-inflammatory mediators that contribute to evolution of the
 atherosclerotic lesion.36 Highly sensitive-CRP may also contribute to the progression of atherosclerosis.



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  Endothelial cell activation is also associated with atherosclerosis.37,38 An early event may include alteration in
 endothelial function with increased expression of cellular adhesion molecules and proatherogenic changes in vessel
 wall also play a role in the development of atherosclerosis.38 Recruitment of circulating leukocytes at sites of
 atherosclerosis is mediated by adhesion molecules-vascular cell adhesion molecules-1 (VCAM-1), endothelial
 leukocyte adhesion molecule-1 (E-selection) and intercellular adhesion molecule 1(ICAM-1).39 Plasma levels of E-
 selectin and VCAM-1 increase the risk of carotid artery atherosclerosis in the Atherosclerosis Risk in Community
 Study.39 Increased Rho associated Kinase activity is associated with endothelial dysfunction, cerebral ischemia,
 coronary vasospasms and metabolic syndrome and is an important mediator of atherosclerosis and vascular
 disease.40
 A.5. Incidence of Myocardial Infarction, Stroke and Peripheral Arterial Disease in the Population. The
 incidence of MI has continued to evolve over time. The incidence of MI/10,000 person years (PYs) for males in
 the Framingham Heart Study was 24.71 for the age group 40-49 and rising to 166.9 in the 80-89 group in 1990-
 1999.41 Secular trends over time since then and the use of cardioprotective therapies have resulted in decreasing
 incidence of coronary heart disease and coronary heart disease death. 42
 The age adjusted incidence rate (IR) of stroke has also declined with time and also differs by age and sex. In a
 population-based study from Norway (1997-2010), the age adjusted IR of incident ischemic stroke in the 30–49-
 year age group /1000 PYs was 0.67 compared to 25.55 among men above 85 years.43 The incidence rates of stroke
 are lower among females.
 PAD is the third most common manifestation of atherosclerosis after MI and stroke and remains underdiagnosed.
 Screening is performed with ABI (Ankle-Branchial Index) measurements, and results less than < 0.9 are considered
 indicative of PAD. Critical limb ischemia (CLI) is a severe form of PAD that includes limb pain at rest, nonhealing
 wounds, or tissue loss. The 1-year incidence of mortality and amputation is ~20% each for patients with CLI. CLI
 prevalence is estimated at 1.3%, accounting for 11% of all diagnosed PAD cases.44 PAD as initial manifestation of
 atherosclerotic disease diagnosed in a hospital-based setting conferred a high risk: one in eight patients experienced
 a major CV event and one in six patients died within 1 year. 45 There are very few studies of incident PAD. The
 weighted mean age‐standardized prevalence and incidence of outpatient PAD was 11.8% (95% CI 11.5–12.1) and
 22.4 per 1000 person‐years (95% CI 20.8–24.0), respectively in an older sample of participants in the
 Atherosclerosis Risk in Community Study linked to Medicare Claims.46 A global systematic review noted that the
 prevalence of PAD in high income countries at age 45-49 years was 5·28% (95% CI 3.38-8.17%) in women and
 5·41% (3·41-8·49%) in men, and at age 85-89 years, it was 18·38% (11·16-28·76%) in women and 18·83% (12·03-
 28·25%) in men. 47

 A.6. Chronic Myeloid Leukemia and Cardiovascular disease. CML is a myeloproliferative neoplasm of
 haematopoetic stem cells characterized by the Philadelphia chromosome that is created by the reciprocal
 translocation t (9;22). The resulting fusion protein, BCR/ABL, is critical to the development of CML. When a
 single, pluripotential, hematopoietic stem cell acquires a Ph chromosome carrying the BCR-ABL fusion gene, it
 gives it a proliferative advantage compared to other cell lines.48

 An association between CV events and CML has been reported in some studies.49,50 However, the inferences that
 can be drawn from such studies are limited because of lack of adequate age and sex-matched controls, and the
 inadequate adjustment for confounders. Secular changes over time in the incidence and prevalence of CVD and
 treatment of CV risk factors may also limit inferences that can be drawn from these studies. One needs to carefully
 consider the effects of TKIs themselves on increasing the incidence of CV events among patients with CML before
 attributing any potential increase in CVD to the disease itself.

     •   In a study in a commercial claims database in the US from 2006-2013, the prevalence of comorbid heart
         disease among patients with CML who initiated TKI treatment (imatinib, dasatinib or nilotinib n=2296;
         mean age 56 years) was 23%.49 The most frequently initiated TKI was imatinib (72%), followed by
         dasatinib (16%) and nilotinib (2%). However, limitations include the lack of information on the validity of

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         ICD-9 codes used to diagnose “heart disease” and the lack of an adequate comparator. The specific nature
         of CV events associated with the term ‘heart disease’ is unknown.
     •   A population-based study among the of community-based oncology practices in the International Oncology
         Network in the US from 2005 to 2014 reported that the prevalence of MI increased from 10.4% at baseline
         to 16.2% at 5 years follow up, atherosclerosis increased from 9.6% at baseline to 15.6% at 5-year follow-
         up, and stroke increased from 2.9% at baseline to 6.2% at 5 years follow up. The prevalence of PAD was
         measured by ICD-9 codes and EMR terms was low at baseline (1%) and increased to 2.9% at 5 years
         follow up.50 International Classification of Disease (ICD)-9 codes supplemented with the electronic medical
         record were used to diagnose CVD using previously published algorithms.51 The absence of a control group
         and the lack of adjustment for confounders limits the inferences can be drawn from the study. The increase
         in prevalence in these outcomes may reflect secular changes over time.
     •   In contrast, a population-based study from Canada discussed below (Section C.4.), suggested that after the
         introduction of TKI and after adjustment for CV risk factors, the risk of major adverse cardiovascular events
         (MACE) for patients with CML was similar to age-matched and sex-matched patients in the general
         population.52 In the same study, the lower risk of MACE compared to controls in the pre-TKI time period
         was likely due to competing risk of CML mortality. However, rates of PAD and ischemic stroke were
         elevated in the CML population after the introduction of TKIs in 2001.
     •   The Incident rate ratio (IRR) for CV events among CML patients was significantly higher compared to age
         and sex matched controls (IRR 1.5, 95% CI 1.1 to 2.1) in a Swedish cohort of 896 patients followed for
         4.2 years. 53 Only limited can be drawn are given lack of adjustment of confounders for cardiovascular
         disease.
     •   A cross sectional study using (78 CML patients and 156 controls) reported a higher prevalence of PAOD
         among patients with CML.54 However the risk of pathologic ABI among patients with CML was not
         significantly different from controls (RR 2.09, 95% CI 0.71-6.21; P 0.18). Higher glycated hemoglobin
         levels were also significantly associated with PAOD.
 A.7. Study Design Considerations. I will discuss the various study designs and their strengths and limitations.
 Randomized controlled trials. They provide the highest level of evidence. In masked randomized controlled trials
 (RCTs), both the investigator and the participant are blinded to treatment assignment. As a result of random
 allocation, any differences in incidence of outcome can be inferred to be a consequence of the exposure itself (i.e.,
 causative) because random allocation controls for both known and unknown confounders.
 Systematic reviews and meta-analysis. A systematic review and meta-analysis is a study design wherein
 systematic searches are conducted to identify studies reporting on a question of interest. The meta-analytic point
 estimate represents the sum of evidence from all of the included studies. The strengths of a meta-analysis include
 the ability to overcome issues of limited statistical power of individual studies and evaluate consistency of effects
 across studies. A systematic review and meta-analysis of RCTs provides high quality evidence although meta-
 analyses, particularly those of observational studies, cannot overcome issues of bias and confounding inherent in
 the observational studies.
 There are some key statistical considerations when conducting meta-analyses. 55 When events are rare, estimates of
 odds and risks are near identical, and results of both can be interpreted as ratios of probabilities. Bradburn et al.
 found that many of the other most commonly used meta-analytical methods were biased when events were rare.56
 At low event rates, the Peto one-step OR method was found to be the least biased and most powerful method and
 provided the best confidence interval coverage. This finding was consistently observed across three different meta-
 analytical scenarios and was also observed by Sweeting et al.57 The inverse variance and DerSimonian and Laird
 and the Mantel-Haenszel method using a 0.5 zero-cell correction were shown to be biased with either wide
 confidence intervals (CIs) or inadequate statistical power to detect differences. Risk difference meta-analytical


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 methods are inappropriate and show conservative confidence interval coverage and low statistical power when risks
 of events were low.
 Observational studies. Prospective cohort studies are study designs in which subjects with and without the
 exposure of interest are recruited and followed up in time for the development of outcomes. This study design
 establishes temporality wherein the exposure precedes the outcome. It is important to determine the latency and
 induction between the exposure and the disease to assess the duration of follow- up. Prospective cohort studies may
 be limited by the short duration of follow-up which may be insufficient to ascertain the effect of exposure on long-
 term outcomes and bias their findings towards the null, and the disenrollment of participants resulting in selection
 bias. Case-control studies involve subjects with the outcome (the “cases”), and a suitable number of subjects
 without the disease (the “controls”). Exposure is ascertained retrospectively among both cases and controls. The
 results are then analyzed to see if there is an association between the exposure and the disease. Once cases and
 controls have been established, one can evaluate the association between multiple exposures and outcomes. Case-
 control studies are more efficient for rare diseases. However, these are prone to recall bias.
 Disproportionality analysis. These represent analyses of spontaneous adverse events reported to FDA and other
 regulatory agencies by patients, physicians, and manufacturers. Because the data only contains limited information
 on other variables (e.g., age, sex) and lacks a denominator, these analyses cannot measure incidence or establish
 causality. There are various measures reported as a result of disproportionality analysis such as a proportional
 reporting ratio (PRR).58 This is the degree of adverse reporting for a drug compared to the same event for all drugs
 in a given database. The entire database serves as a background for this analysis. Another method such as the Multi-
 item Gamma Poisson Shrinker (MGPS) generates an Empirical Bayesian Geometric Mean score (EGBM) score.59
 This applies Bayesian “shrinkage” when data are limited, and number of cases is small. The EBGM 90% confidence
 interval (CI) is defined by EB05 and EB95. Higher EBGM or EB05 values indicate higher probability of an
 association, warranting further evaluation. EB05>2 is commonly used for identifying drug-event associations
 warranting further investigation.
 A.8. Role of Chance, Bias, and Confounding. It is important to consider issues of chance, bias, and confounding
 in the interpretation of data from epidemiologic studies.
 Chance and the role of P-values and confidence intervals and statistical significance. I have followed the
 general principles laid out by the American Statistical Association on the interpretation of P-values and statistical
 significance.60 P values represent the probability of obtaining a result as or more extreme given the null hypothesis
 is true. P-values can only indicate how incompatible data are with a statistical model and do not indicate the
 probability that the studied hypothesis is true or the probability that data were produced by random chance alone.
 A P-value does not measure the size of an effect, or the importance of a result and undue reliance should not be
 placed on whether a P-value passes a specific threshold and strong associations may have small P values in small
 studies. There is slight difference between two near identical p values (P=0.04 and P=0.06). Large studies can
 generate small P values. The primary objective of conducting meta-analyses of RCTs on safety outcomes such as
 atherosclerosis is to detect an effect if one exists. Thus, statistical significance is usually set at P=0.05.
  Confidence intervals (CI) measure statistical significance and indicate the precision and degree of uncertainty
 associated with a sample statistic. A 95% CI means that if one used the same sampling method to select different
 samples and computed an interval estimate for each sample, one would expect the true population parameter to fall
 within the interval estimates 95% of the time. CIs that remain elevated above 1 for relative risks (RRs) or odds
 ratios (ORs) are considered statistically significant. A narrow CI indicates a higher level of precision. Non-
 overlapping CIs across two studies suggest a statistically significant difference, whereas overlapping CIs may
 suggest consistent results. Thus, it is not necessary, and it is highly unlikely, to have identical point estimates across
 studies to establish the presence of a consistent association.
 Random errors are statistical fluctuations in the measured data due to the limitations of the measurement
 instrument. They may occur in both directions because of the inability to measure exposure and outcomes in
 precisely the same manner. There is also the possibility of measurement error in the measurement of outcome and


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 exposure, particularly in observational studies. If the measurement error is non-differential, such misclassification
 of exposure or outcomes usually biases findings towards the null in an observational study. Systematic errors, by
 contrast, are reproducible inaccuracies that are consistently in the same direction, often due to a problem which
 persists throughout the entire study and are difficult to correct (e.g., malfunctioning blood pressure cuff in a study
 that measures BP as an outcome).
 Confounders. A variable is considered a confounder only when ALL three criteria are present: a) the confounder
 is associated with the exposure in the population; b) the variable is related to the disease in the population; and c)
 the variable is not a link in the causal pathway to the disease. Confounding is common in observational studies. To
 address confounding, confounders of the disease-outcome relationship need to be adjusted for in the analysis. These
 methods of adjustment include regression or propensity score methods. However observational studies may also be
 susceptible to unmeasured confounding. One important distinction to note is between risk factors for the disease
 and confounders. A risk factor is an exposure which may explain the development or cause of disease in the
 population.61 Risk factors that do not meet all the above three criteria for confounding are not considered
 confounders of the exposure-outcome relationships (and thus may not require adjustment in the analysis).
 Bias. Both case control and cohort study designs are susceptible to selection bias when the selection of the
 participants into the study results in a biased estimate. In other words, the exposure-outcome relationship in controls
 or cases may be different from the target population. This can arise due to selection of controls not representative
 of the target population, non-response that is related to exposure and outcome, or differential loss to follow-up in a
 cohort study. Selection bias can bias findings either away from the null or towards the null. Case-control studies are
 susceptible to recall bias, i.e., the concern that subjects with the disease may be more diligent in recollecting past
 uses. In contrast, prospective cohort studies in which subjects are recruited and then followed up for the
 development of outcomes are less susceptible to recall bias. Cohort studies are also susceptible to attrition bias.
 Lead time bias refers to fact that diseases detected as a result of screening may confer an ‘apparent’ improvement
 in survival without affecting the outcome of disease due to earlier detection of asymptomatic cases.
 A.9. Bradford Hill’s Viewpoints and Assessment of A Causal Association. Although there have been several
 advances in the frameworks to assess causality since that time, it is important to understand the Bradford Hill
 viewpoints as originally set forth in 1965.5 These viewpoints are applicable for epidemiologic studies when one has
 ruled out the role of chance (i.e., findings are noted to be statistically significant). Although none of these are
 considered absolute, except temporality, each viewpoint provides support for or argued against a causal effect. It is
 always important to consider non-causal explanations including chance, bias, and confounding, as well as
 misclassification of exposure and outcomes. I have followed the Hill’s viewpoints in the assessment of causality.
 However, I have also incorporated additional interpretations of these viewpoints based on recent developments in
 causality assessment.62
      1) Strength of association. Hill’s viewpoints state that a large increase in risk increases the confidence that
 association is not due to chance alone. As conceptualized, this reflects the relative risk or the odds ratio of the
 relationship between the exposure and outcome. It encompasses the magnitude of the association and the strength
 of statistical association. Hill did not provide what constitutes a measure of “strong” although weak associations
 could be more reflective of bias and confounding. Some have proposed cutoffs for relative risks (RRs) on the
 premise of quantitative significance rather than statistical significance.63 Some argue that RR above 2 are indicative
 of specific causation because the risk of the causal factor (>100%) exceeds the background risk of 1. In contrast,
 RRs below 2 may indicate that excess risk is less than the background risk and less indicative of specific causation.64
 However, it is indisputable that RRs above 2 constitute strong evidence in support of a causal association. A
 large strength of association is supportive of a causal association as it is less likely to be prone to chance, bias, or
 confounding.
     Similar weak statistical findings can also arise from bias or confounding. Hill acknowledges “[w]e must not be
 too ready to dismiss a cause and effect because the association appears to be slight.” Thus, strong associations are
 neither necessary or sufficient for causality or weak associations indicative of the absence of a causal association.
 The strength of association is dependent on the underlying biological process which supports or refutes the

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 association. There are examples in epidemiology where causal associations have small risk ratios, such as the
 association between smoking and cardiovascular disease. According to International Agency for Research on
 Cancer, the association between passive smoking and lung cancer is causal with a small magnitude of effect of 20%
 because it is plausible.65 A low strength of association may simply be reflective of low incidence of a disease or
 low exposure. The strength of a causal association depends on the relative prevalence of other component causes
 for the same disease. Weak associations may sometimes be strengthened by restricting attention to people at low
 risk.66 In contrast, several large associations have been attributed to bias and confounding.67,68
      Susser’s conceptualization for strength of association included the size of the effect within the constraints of
 probability levels and confidence levels.69 According to Fedak, “[s]trength is no longer interpreted as simply the
 magnitude of an association. Fedak argues that statistical significance—not the magnitude of association—is the
 accepted benchmark for judging the strength of an observed association, and thus its potential causality.”62 All
 statistically significant results are not necessarily biologically meaningful or causal. In summary, assessing the
 strength of association requires examination of methods, comparison of the weight of evidence and other contextual
 factors, as well as attention to the other viewpoints below. The converse is also true as “[t]he failure to
 mathematically demonstrate statistical significance in a single study does not preclude the possibility of a
 meaningful exposure-response relationship.”62
     2) Consistency. It can be viewed as the fact that the association has been repeatedly observed by different
 persons at different places at different times.5 Repeated observations of an association by different investigators in
 different populations, using different methods and study designs under different circumstances are indicative of
 consistency. A consistency of effects across multiple studies argues for a causal association because it is unlikely
 that similar sources of bias or an unmeasured confounder is operable across multiple studies when findings from
 such studies are consistent. However, consistency is not an absolute viewpoint necessary for causation. Hill notes
 that there may be instances when such replication may be absent or not be possible, but we should not hesitate to
 draw conclusions. Lack of consistency does not preclude a causal association because some effects are produced
 by their causes only under specific circumstances (e.g., transfusion causing disease only in the presence of HIV).
      One way to measure consistency is to examine overlapping confidence intervals with point estimates suggesting
 a positive or negative association. Identical point estimates, and corresponding measures of statistical significance
 and effect sizes, are neither required, nor realistically possible given differences in sample size and study population
 across studies. An erroneous line of reasoning labels a body of evidence as being inconsistent based on the fact that
 some studies are significant, and others are not. The effect estimates from many studies could be identical and
 differences in statistical significance reflect differences in sample size.68 A meta-analysis allows us to evaluate
 statistical consistency across the body of evidence as opposed to a single study. A statistical way to evaluate
 consistency is through a measure of heterogeneity of meta-analysis on a cumulative body of evidence also known
 as the I2 statistic (Section A.7)70
     Fedak argues for a broader concept of consistency than original proposed by Hill. 62 Consistency can be
 evaluated when molecular experiments can bolster epidemiologic findings by providing supportive evidence of a
 mechanistic hypothesis. By integrating consistency from multiple types of studies (other than epidemiologic studies
 in humans), researchers can show insights into the causal story.62
     3) Specificity. Hill noted that we must not overemphasize the importance of this characteristic.5 Specificity in
 cause implies that a single risk factor causes a disease and specificity in the effect implies that a given cause has
 unique effect.69 In fact, multicausality is the norm for atherosclerotic cardiovascular disease, because atherosclerotic
 cardiovascular disease has multiple risk factors. However, using data integration to assess causality may elucidate
 specific mechanisms of causation with precisely defined specific relationships. The case of asbestos and asbestosis
 is meaningful where one can more precisely measure lung fiber burden and identify asbestos bodies to clarify the
 relationship between asbestos and asbestosis.71
     4) Temporality. This is an absolute prerequisite as the cause should precede the onset of the disease, as is
 evident in RCTs and prospective studies. Data integration techniques allow us to understand molecular mechanisms


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 that precede biological outcomes and help to establish the temporal progression of a disease, and can be used to
 assess temporality across several decades of time frames including across generations.62
     5) Biological gradient. Hill emphasized that if the association is one in which it can reveal a biological
 gradient or dose response curve this provides evidence in support of causality.5 However, he noted the challenges
 in measuring exposure-response association. It can rule out the potential for confounding and bias because it is
 unlikely that an unmeasured confounder also exerts a similar dose response than the causal effect. The analysis and
 interpretation of exposure-response curves can be challenging, and his viewpoints do not specify whether dose
 should be modelled as a linear or log-linear methods which may yield different results. A simple linear dose
 response curve using categorical dose-response loses information between and within levels of exposure and can
 only provide for step functions.72 Dose response curves reflect complex biology and can take many forms including
 threshold dose below which there is no effect or a J-shaped dose response curve as in the case of alcohol and
 mortality.68
     However, a monotonic increase in the estimate of effect with increasing levels of exposure is not required to
 establish causality. Several examples exist where causality was established in the absence of a dose-response as in
 the case of diethylstilbestrol and adenocarcinoma of vagina.73 As such, the presence of a dose response is neither
 required, nor sufficient for a causal association,68 because an epidemiologic study may fail to detect an exposure
 response relationship due to reasons including misclassification of exposure or small range of exposure levels. 74
 For example, dose response for marketed drugs is limited by the evaluation of approved dose which represents the
 lowest effective dose in preclinical studies.
     However, when dose-response data is present, this can provide strong proof of a causal association. At a
 minimum, when dose-response data are available, they should not indicate an inverse relationship between dose
 and effect.
     Dose is a function of the amount, frequency, and duration of exposure. There are several aspects of biological
 gradient. One involves examining whether increased dose of the drug results in an increased risk of the disease.
 Another involves examining the frequency of drug use. Finally, another aspect looks at the duration of use. Since
 nilotinib is used twice daily, frequency of use is not a consideration. In the present scenario, since nilotinib is taken
 twice daily either as a 300 mg PO BID or 400 mg PO BID dose, dose response curves can be measured by looking
 at amount and duration of exposure.
     6) Plausibility. This refers to the biological plausibility providing support of a causal association. However,
 as Hill acknowledged, this is not a requirement for causation,5 because it is limited by the knowledge of the day.
 Biological plausibility does not equate with biological certainty with distinctions between a plausible mechanism
 and a known mechanism.75
     However, there are no coherent set of methodological rules for assessing biological plausibility. Weed and
 Hustling reviewed the applicability of biological plausibility to causal inferences.75 They state, “Thus, the idea that
 an association is biologically plausible when the mechanism is "known," and sufficient evidence exists to show how
 the presumed causal factor affects it (30, 37), is too stringent (i.e., overdemanding) to be practically useful.” Earlier
 he states that “known’ refers to fully described at all levels of scientific explanation. It is unlikely then given the
 complexities of atherosclerosis and the lack of understanding in each link in the causal chain (from first exposure
 to disease), no association can provide proof of biologic certainty.75 Conversely, arguments for a biologically
 plausible association for which a reasonable mechanism can be hypothesized but for which no evidence exists,76 are
 too dismissive of the concept of biological plausibility. According to Weed and Hustling, one will need to determine
 at what level is evidence more important than others, and, at any given level, what is the best type of evidence. To
 evaluate biological plausibility, one should collect all the evidence on plausible biological evidence in animal
 studies, in-vitro studies and clinical studies in humans and determine what is the best type of evidence at each level.
    7) Coherence. Coherence is understood to mean that a cause and effect interpretation should not conflict with
 what is known of the natural history and biology.5 The distinction between coherence and biological plausibility is


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 nuanced. Hill stated the absence of coherence should not be taken as evidence against an association being causal.
 In contrast, while the presence of conflicting information may refute a hypothesis, it is subject to misinterpretation
 and misunderstanding.77 Coherence can be thought of either theoretical coherence compatible with preexisting
 theory, factual coherence in line with preexisting knowledge, biological coherence in line with current biological
 knowledge and statistical coherence with conceivable statistical models.69 Molecular studies can shed insight on an
 exposure outcome relationship.62
     8) Experimental evidence. Hill argued that “occasionally”’ experimental studies in which a removal of
 exposure resulted in the decline in the incidence of a disease represents strong proof of a causal association.5 When
 multiple risk factors contribute to the development of disease (e.g., smoking and diabetes for CV disease), and
 cessation of one risk factor may therefore not result in decline in incidence of disease. In other scenarios, some of
 these changes in incidence may be driven by secular changes over time rather than changes in exposure itself.
     9) Analog. Some have argued that lack of analogy simply reflects a lack of creativity on the part of researchers,
 68
   and should be considered a relatively weak viewpoint. However, the modern view of analogy could involve
 proposing testing mechanistic hypothesis.62
 Overall assessment. The Hill viewpoints are “viewpoints” rather than a checklist. Although Hill laid out the
 viewpoints in order of importance, he did not explicitly state how these factors should be weighted to arrive at a
 causality assessment, which leaves room for interpretation, not only of each viewpoint, but also on how these are
 combined to arrive at a causality assessment. There is limited information on how each of these viewpoints should
 be weighted and/or combined into one estimate of causality.
 Some have attempted to identify the probability of causality in a quantitative manner. Researchers identified 159
 category 1 or 2A carcinogens as classified by the International Agency for Research on Cancer.78 They conducted
 a discriminant analysis by applying the Bradford Hill viewpoints. The discriminant analysis yielded weights for the
 nine criteria which were combined into one overall assessment of the probability of a causal association. The criteria
 strength, consistency of the association and experimental evidence were the three criteria with the largest impact.
 The model correctly predicted 81.8% of agents. However, even this approach requires subjective and expert
 interpretation of several factors (e.g., what RRs represent robust evidence of association), distinguishing consistency
 and inconsistency. Comparisons of the Bradford Hill viewpoints to other causal frameworks such as directed acyclic
 graphs, sufficient component cause models and the grading of recommendations, assessment, development, and
 evaluation methodology have identified commonalities on four viewpoints - strength of association (including
 analysis of plausible confounding), temporality, plausibility, and experiments.79 Consistency was better
 operationalized as unexplained inconsistency in effect sizes (statistical heterogeneity). Specificity was rare, so
 falsification of exposure or outcomes with negative controls was more useful. The presence of a dose-response
 relationship was less than widely perceived and attributed to confounding, with limited utility for coherence and
 analogy.




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 animal studies, in-vitro studies, and clinical studies in humans which provided evidence to support or refute any
 plausible biological mechanism of nilotinib induced cardiovascular events. To supplement my assessment and
 provide the appropriate context, I also examined the relevant information on nilotinib and cardiovascular events in
 reports issued by various regulatory agencies, such as Health Canada and FDA, and regulatory product labels, and
 guidelines issued by prominent guidelines groups. When studies were published in multiple reports, I included the
 most updated peer reviewed version to address concerns about duplication. I excluded studies without original data
 on nilotinib and CV events, studies of other drugs, narrative reviews, and opinion articles. It is possible that citations
 could be excluded for more than one reason, but only one reason was noted. I relied on peer-reviewed studies
 published as full text to form the basis of my opinion. Conference abstracts may not be peer reviewed in many
 instances, usually lack sufficient details on study design to support a full assessment and also raise concerns about
 duplicate publication. When relevant, these were included to provide context.

 B.3. Data Extraction. The title and abstracts of each manuscript were reviewed to identify potential studies for
 inclusion. I obtained the full-length version of each of these manuscripts. I extracted data on the number of patients
 on nilotinib vs number of patients on imatinib from these RCTs into study tables. I also extracted data on the number
 of patients in each arm who developed atherosclerotic cardiovascular events including PAD, IHD and ischemic
 stroke in RCTs.

 B.4. Meta-analysis of Nilotinib vs. Imatinib on Ischemic Cardiovascular events. To estimate the risk of CV
 events with nilotinib, I combined data on number of CV events from RCTs which compared nilotinib vs. imatinib
 among patients with CML. Imatinib was the only comparator in RCTs. The primary meta-analysis focused on the
 composite endpoint of incident ischemic CV events. I also conducted a meta-analysis of nilotinib vs. imatinib on
 the individual endpoints of the composite including PAD, IHD, and ischemic stroke. I used the Peto Odds Ratio
 approach to combine data in RCTs as it is the least biased and most appropriate for this scenario. A similar approach
 was used by two other recent meta-analysis of nilotinib.6,80 I conducted all meta-analysis in Stats Direct [Cheshire,
 UK]. Statistical significance was set at an alpha of 0.05 levels. My analysis represents an analysis based on the
 intention to treat principle where all patients randomized to the drug are included in the analysis.81
 B.5. Assessment of statistical heterogeneity. I evaluated the statistical heterogeneity among RCTs using the I2
 statistic. Statistical heterogeneity refers to the variation in study outcomes between studies. Although some amount
 of variation in individual estimates of treatment effect is expected by chance, the excess of variation which cannot
 be explained by chance alone is referred to as statistical heterogeneity. Higgins I2 is used as a measure of statistical
 heterogeneity70—a percent of variation due to heterogeneity compared to chance, the higher the value, the more the
 proportion of statistical heterogeneity.82 Higgins I2 test statistic “represents the proportion of variation between the
 sample estimates that is due to heterogeneity rather than to sampling error.” A value of 0% indicates no statistical
 heterogeneity (perfect homogeneity) and larger values show increasing heterogeneity.82 Although values can range
 from 0% to 100%, a I2 >50% is indicative of significant statistical heterogeneity.
 B.6. Subgroup and Sensitivity analysis. I evaluated the effect of nilotinib 400 mg PO twice a day vs. imatinib and
 nilotinib 300 mg PO BID vs imatinib to evaluate dose response effects in subgroup analysis. I also conducted four
 sensitivity analysis to explore the robustness of results.

     1. In the first sensitivity analysis, I conducted a meta-analysis analysis based on the number of patients with
        cardiovascular events, which is distinct from the number of cardiovascular events among patients as
        reported in the ENESTnd trial in the primary analysis. Patients are susceptible to more than one
        cardiovascular event.
     2. Whereas the primary analysis focused on cardiovascular events occurring prior to the cross over phase of
        the ENESTcmr trial, I also conducted a sensitivity analysis to account for events reported after cross-over
        in in the cross over ENESTcmr trial.2
     3. I also conduced sensitivity analysis using the Relative Risk approach as opposed to the Peto OR approach
        in the primary analysis.


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     4.    Finally, an influence analysis was conducted to determine after excluding the most influential study. This
          analysis also represented the trial with the longest duration of follow-up.

 B.7. Risks of Bias assessment of RCTs using the Cochrane Collaboration Tool. I evaluated the risk of bias in
 the RCTs using the Cochrane Collaborations tool for assessing risk of bias in randomized trials. 83 I evaluated the
 risk of selection bias by examining sequence generation and allocation concealment. I assessed for the presence of
 performance bias by determining whether participants and researchers were blinded. I also evaluated for detection
 bias by assessing whether outcome assessment was blinded. I evaluated the presence of attrition bias and selective
 outcomes reporting bias. I also considered other relevant biases, such as the reporting of an intention to treat
 analysis, an important component of bias assessment.81 Each of the above domains was then rated as being high
 risk, low risk or unclear risk of bias. I arrived at a summary assessment of the overall risk of bias in each RCT by
 summarizing across each of the items in the tool and additional considerations including whether they were of
 sufficient duration and adequately powered to detect outcomes. I evaluated the risk of publication bias using
 asymmetry of Funnel Plot using the Begg’s test a graphical representation for Funnel Plot asymmetry.84

 B.8. Risk of Bias Assessment of Observational Studies using NewCastle Ottawa Scale. I used the New Castle
 Ottawa (NOS) Scale to assess the risk of bias of adjusted controlled observational studies.85 This is a validated and
 generally accepted methodology for evaluating risk of bias of nonrandomized studies and has been cited several
 times.86 The scale comprises of three domains including selection of study groups, assessing their comparability
 and ascertainment of outcome (in cohort studies) and exposure in case control studies. Selection includes
 determining whether a cohort is representative of the community, selection of the non-exposed cohort, ensuring an
 outcome was not present at the start (incident outcome) and ascertainment of exposure. Comparability ensures
 assessment of whether a study controls for the most important risk factors (in this case for ischemic cardiovascular
 disease such as diabetes, hypertension and/or hyperlipidemia) and any additional risk factors. Outcome criteria
 evaluate whether the assessment of the outcomes is appropriate, the adequacy of follow-up and the duration of
 follow up. Controlled observational studies are rated as being of good quality which meet 3 or 4 criteria in the
 selection domain, 1 criterion in comparability domain AND 2 or 3 criteria in outcome domain. Studies were
 classified as being of fair quality if they met 2 criteria in selection domain AND 1 criterion in comparability domain
 AND 2 or 3 criteria in outcome domain. The poor-quality studies had 0 or 1 criterion in selection domain OR 0
 criterion in comparability domain OR 0 or 1 criterion in outcome domain. I also evaluated other sources of bias
 such as inadequate sample size, assessment of competing risk adjusting for multiple testing and funding biases.
 Uncontrolled studies and unadjusted studies do not meet any criterion in the comparability domain and were rated
 as being of poor quality.

 B.9. Assessment of Cumulative Body of Evidence Using the Bradford Hill Viewpoints. I appraised the
 cumulative body of evidence from all sources based on the 9 Bradford Hill viewpoints, after accounting for its
 limitations, error rates and alternative interpretations. This was a qualitative transparent judgement and does not
 represent specific weights to each of the viewpoints.




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 SECTION C. Results of Systematic Review and Meta-analysis on Nilotinib and Cardiovascular Events

 C.1. Results of Systematic Search on Nilotinib and Cardiovascular Events. After a review of 1724 citations, I
 included 4 clinical trials,1-4 4 systematic reviews and meta-analysis,6,80,87,88 7 controlled observational studies which
 controlled for various CV risk factors,7,8,52,89-92 25 controlled observational studies which did not control for CV risk
 factors,9,12,53,93-114 27 uncontrolled observational studies without any comparators,115-1411 case control study,142 3
 disproportionality analyses and data mining studies, and 22 case reports/case series.143-164 I also evaluated the full
 text of 21 mechanistic studies.10,11,13,14,16-18,165-178 Several observational studies provided mechanistic data so the
 numbers may be duplicative. The flow sheet of included studies is shown below in Figure 1. Among the conference
 abstracts (n=60), key abstracts are noted in relevant sections for context.




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        nilotinib 400 mg arm to the nilotinib 300 mg arm, a consistently higher risk is seen with the higher dose of
        nilotinib both before and after 5 years in all risk categories. Although the underlined highest Framingham
        high risk after 5 year which notes a similar proportion of CV events for the nilotinib 300 mg dose (8/24 or
        33%) compared to the nilotinib 400 mg dose (7/21 or 33%), examination of individual CV events in this
        category is also supportive of a dose-response association. Twelve CV events were noted among 7 patients
        (IHD=2; PAOD=6; Ischemic cerebrovascular disease =3 and other CVE=1) in the 400 mg PO BID arm
        compared to only 8 CV events among 8 patients in the 300 mg PO BID arm. (IHD n=2, PAOD =4 and
        Ischemic cerebrovascular disease =2). Notably, there is no risk category in which the occurrence of CV
        events is higher the nilotinib 300 mg arm compared to the nilotinib 400 mg arm. These findings provide
        strong evidence of a dose-response effect of nilotinib and CV events. The ENESTnd trial also provides
        evidence of dose response for CV events with an excess risk reported in the 400 mg bid dose (OR 6.49,
        95% CI 4.11 to 10.28; Figure 6) compared to the 300 mg PO BID dose (4.93, 95 % CI 2.91 to 8.35; Figure
        7). The proportion for each specific CV events [ all CVEs (23.5% vs. 16.5%), IHD (9.5% vs. 8.3%), PAOD
        (7.2 % vs. 6.5%) and Ischemic CV events (7.6 % vs. 4.7%)], was higher in the 400 mg dose category
        compared to the 300 mg dose category in the ENEST nd trial, respectively. 3
    c) CV Events by Treatment Year in the ENESTnd Study. It is important to consider time to event for long term
       outcomes such as atherosclerosis. The authors state that “the incidence of newly occurring CVEs displayed
       in a yearly time window seemed similar across years in all arms among patients on long term
       treatment.”3The authors note that “in an analysis of newly occurring CVEs displayed by a yearly time
       window, new CVEs continued to occur in patients receiving nilotinib at similar rates each year
       (Supplementary Fig. 3 of 10-year update).”3 KM estimated CVE rates were 10.6%, 17.9% and 3.2% in the
       nilotinib 300 mg bid arm, nilotinib 400 mg BID arm and imatinib arm, respectively at 5 years and continued
       to increase to 24.8%, 33.4% and 6.3%, respectively at, at 10 years. Although they reported CV events by
       treatment year, the authors did not report a KM curve for the 10-year data.
    An illustration of CV events per year by treatment arm, and the rates of CVEs occurring in Year 1-Year 10 and
    newly occurring CVEs in following years are shown (Figure 13)3 These rates or patients with events % are
    calculated based on the number of on-treatment patients at the beginning of the indicated year. Denominators
    are the number of patients on treatment during the indicated year. A linear trend line for the nilotinib 300 mg
    PO BID, nilotinib 400 mg PO BID data and imatinib daily arm is shown. The incidence of CVEs in each
    nilotinib arm was higher compared to imatinib in each year over the study period. The incidence of CVE in the
    400 mg PO BID was higher compared to nilotinib 300 mg PO BID ( except Year 3, and Year 8).

                                             Figure 13. Cardiovascular Events by Year in the ENESTnd Trial
         PATIENTS WITH EVENTS, %




                                                    10
                                                     8
                                                     6
                                                     4
                                                     2
                                                     0
                                                    -2
                                                           Year 1   Year 2   Year 3   Year 4   Year 5    Year 6    Year 7   Year 8   Year9 Year 10
                                   Nilotinib 300 mg BID     1.4      2.5      4.2      3.5      1.1          4.1    5.3      8.7      0.8      4.3
                                   Nilotinib 400 mg BID     3.6      2.9      3.6      4.3      5.1          8.2    5.7      4.9      5.6      5.1
                                   Imatinib 400 mg daily    0.7      0.4       1       0.6      0.6          2.1    0.8      2.5       0        0
                                                                                                      TIME

                                        Nilotinib 300 mg BID                 Nilotinib 400 mg BID                   Imatinib 400 mg daily
                                        Linear (Nilotinib 300 mg BID)        Linear (Nilotinib 400 mg BID)          Linear (Imatinib 400 mg daily)



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        Figure 14. Kaplan-Meier Estimated Time to First Cardiovascular Event in the ENESTnd Trial 183




 An earlier publication demonstrated the KM plots for the 5-year data as shown in Figure 14 which illustrates
 “…that the cumulative frequency of patients with cardiovascular events increased linearly with time on
 treatment in each arm. Ischemic heart disease, ischemic cerebrovascular events and/or peripheral artery disease
 were reported in 21 (7.5%), 37 (13.4%) and 6 (2.1%) patients in the nilotinib 300-mg twice-daily, nilotinib 400-mg
 twice-daily and imatinib arms.183
 C.3. Systematic Reviews and Meta-analysis of Nilotinib and Cardiovascular Events. I identified several peer-
 reviewed systematic reviews and meta-analyses reporting on the risk of CV events with nilotinib.6,80,87,88
 C.3.1. In 2020, Haguet, et al. also reported on a meta-analysis of 4 RCTs of nilotinib vs. imatinib and reported a
 more than 3-fold statistically significant increased risk of arterial occlusive events with nilotinib (OR, 3.89; 95%
 CI, 2.47–6.11).6 There are two major differences with my meta-analysis above. First, since their search was limited
 to 2019, it only included the 5-year update of the ENESTnd trial, along with ENESTcmr, LASOR and
 ENESTchina.6 Second, they included the data from ENESTcmr at 4 years including events after crossover from
 imatinib to nilotinib. I used the same data in sensitivity analysis # 2. Despite these differences, their findings were
 largely similar to my results. They also conducted analysis based on the two different doses of nilotinib. There was
 a statistically significant increased risk of arterial occlusive events with nilotinib in the three trials (ENESTnd,
 ENESTcmr and LASOR) which included the 400 mg dose Peto OR 5.19 (95% CI 3.14 to 8.57). A statistically
 significant increase was also reported in analysis of two trials that evaluated the 300 mg dose of nilotinib vs. imatinib
 (ENESTnd and ENESTChina) OR 3.32 (95% CI: 1.56–7.09) but these estimates were lower in magnitude than the
 400 mg twice a day dose. These results provide evidence of a dose response effect and are consistent with our
 analysis. A statistically significant excess of arterial occlusive events was also reported for dasatinib [odds ratio
 (OR), 2.68; 95% CI, 1.72–4.17] in a meta-analysis of 6 trials but the risk was lower compared to nilotinib.
 C.3.2. In an earlier analysis in 2017, they reported a significantly increased risk of CV events with nilotinib vs.
 imatinib (Peto OR 3.69, 95% CI 2.29 to 5.95).80
 C.3.3. A meta-analysis of 15,706 patients conducted by Chai-Adisaksopha, et al. evaluated 4 RCTs and 25
 observational studies, reported the incidence rate of major arterial events as 2.8/100 patient years (“PYs”) with
 nilotinib compared to 0.1/100 PYs for imatinib.87 When nilotinib was directly compared to imatinib, nilotinib was
 associated with a significantly higher risk of arterial thrombotic diseases when compared with imatinib (RR, 5.3
 [95% CI, 3.0–9.3]; p<.001; I2=0%). Moreover, nilotinib was significantly associated with higher risk of PAOD



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 when compared to imatinib (RR, 5.5 [95% CI, 2.6–11.8]; p<.001; I2=0%), meaning that nilotinib patients were over
 five times significantly more likely to experience major arterial events and PAOD compared to patients on imatinib.
 The rate of major arterial events was 2.8 per 100 patient-years (95% CI; 2.0–3.6; I2=77.4%) for nilotinib, 0.1 per
 100 patient-years (95% CI; 0.0–0.1, I2=13.5%) which was significantly higher than imatinib, 1.1 per 100 patient-
 years (95% CI; 0.8–1.4, I2=0%) and dasatinib. The rates of 10.6 per 100 patient-years (95% CI; 4.6–46.5, I2=87.9%)
 was higher for ponatinib, and 0.4 per 100 patient-years (95% CI; 0.0–0.9, I2=0%) for bosutinib and 0.8 per 100
 patient-years (95% CI; 0.0–1.8, I2=0%) with non-TKI treatment.
 Among individual endpoint of PAOD incidence was of 1.3 per 100 patient-years (95% CI; 0.8–1.8, I2=73.2%) for
 nilotinib, 0.1 per 100 patient years (95% CI; 0–0.1%;, I2=0%) for imatinib, 0.2 per 100 patient-years (95% CI; 0.1–
 0.3, I2=0%) for dasatinib, 3.9 per 100 patient-years (95% CI; 2.4–5.3, , I2=0%) for ponatinib, 0.1 per 100 patient-
 years (95% CI; 0–0.3, , I2=0%) for bosutinib and 0.8 per 100 per patient-years( 95% CI; 0–1.8, I2=0%).
 The rate of IHD was 1.4 per 100 patient-years (95% CI; 1.0–1.6, I2=0%) for nilotinib, 0.1/100 patient-years (95%
 CI; 0–0.1, I2=0%) for imatinib, 0.6 per 100 patient-years (95% CI; 0.3–0.8, I2=0%) for dasatinib, 6.0 per 100 patient-
 years (95% CI; 4.2–7.8, I2=0%) for ponatinib and 0.3 per 100 patient-years (95% CI; 0–0.7, I2=0%) for bosutinib.
 The rates of cerebrovascular diseases were 0.3 per 100 patient-years (95% CI; 0.1–0.4, I2=4.9%) for nilotinib, < .1
 per 100 patient-years (95% CI; 0–0.1, I2=0%) for imatinib, 0.7 per 100 patient-years (95% CI; 0.4–1.0, I2=0%) for
 dasatinib, 2.9% (95% CI; 0–6.1, I2=0%) for ponatinib and 0.1% (95% CI; 0–0.4, I2=0%) for bosutinib.
 C.3.4. Earlier in 2017, Douxfils, et al. reported on a meta-analysis of 10 RCTs (n=3043 participants) of TKIs. The
 risk of vascular occlusive events was significantly increased with nilotinib (OR, 3.42; 95% CI, 2.07-5.63), dasatinib
 (OR, 3.86; 95% CI, 1.33-11.18), and ponatinib (OR, 3.47; 95% CI, 1.23-9.78) compared with imatinib in patients
 with CML.88
 Abstracts. Another meta-analysis of 32 studies and 16218 patients ( 20 studies on nilotinib, 12 for imatinib, 4 for
 ponatinib, 1 for dasatinib and 1 for bosutinib) reported that nilotinib was associated with a significantly increased
 incidence of CV events compared to imatinib (RR 1.6; 95%, CI 1.4-1.8).184 The pooled incidence rates (95% CI) of
 CV events were 8% (6-10%) for nilotinib, 1% (0-1%) for imatinib, 2% (1-2%) for dasatinib, 10% (5-16%) for
 ponatinib,13% (11-16%) for bosutinib and 6% (3-10%) for non-TKI studies.
 I excluded a meta-analysis which reported on the risk of CV events with all TKIs because of the lack of data specific
 to nilotinib.185 The analyses included the 300 mg dose of nilotinib (2.26, 95% CI 1.32 to 3.87), 400 mg dose of
 nilotinib (2.75, 95% CI 1.62 to 4.67) or the mean dose of nilotinib (2.54, 95% CI 1.49 to 4) all showed a
 significantly increased risk with all TKIs compared to imatinib. Limitations include the use of Mantel Hazel
 approach for meta-analysis inappropriate for sparse data.
 C.4. Adjusted Controlled Studies on Nilotinib and Cardiovascular Events. I evaluated several controlled
 observational studies which reported on CV events with nilotinib. These were conducted in various settings and of
 various designs with varying degrees of median follow up.7,8,52,89-92 They also varied in the degree to CV events
 were ascertained, with only a few studies conducting active ascertainment of PAD via regular screening. Most relied
 on reports of CV events. There was significant heterogeneity in the definition of CV events across studies.
 I will summarize the data from adjusted controlled cohort studies which control for various CV risk factors.7,8,52,89-
 92
     These involved comparisons between patients taking nilotinib vs. imatinib and/or other TKIs. Four studies
 reported on an increased risk of CV events with nilotinib vs. imatinib,7,8,52,90 two of which were statistically
 significant.7,8 The remaining two studies also reported an increased risk which did not reach statistical
 significance.52,90 I did not pool these studies in a meta-analysis because of the heterogeneity of study designs,
 adjustment for a different set of confounders and the concerns about duplication of studies conducted in in the same
 database. 7,8 These four studies are represented in the below (Figure 15). Three other studies are discussed below.
 Chow et al., did not provide data on composite AT-AEs but on MI and stroke at one and five years.92 Giles et al.,
 also reported an excess of PAOD on nilotinib compared to imatinib and included data from ENESTnd trial already


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 similar to age-matched and sex-matched patients. The authors stated that the lower SHR for MACE in the pre-TKI
 time period was likely due to competing risk of CML mortality as participants did not survive to experience CVE.52
 When comparing TKIs, the number of events was small and there were only 19/263 vs. 118/1475 MACE events
 when nilotinib was compared to imatinib. The respective PYs of exposure to nilotinib vs imatinib was 631 vs. 6710.
 Age and sex standardized IR per 1000 PYs were higher for nilotinib (31.2, 95% CI 17.1 to 45.3) compared to both
 imatinib (14.2, 95 % CI 11.4 to 17.1) and dasatinib (14.6, 95% CI 7.3 to 22.0). Although the increased risk of
 MACE with nilotinib vs. imatinib persisted after adjusting for MI, cerebrovascular disease, peripheral disease,
 heart failure, diabetes, hypertension, COPD, and duration of exposure to each TKI, it did not reach statistical
 significance (OR 1.22, 95% CI, 0.70 to 1.97). The authors acknowledged the limited statistical power of their study
 to detect an effect given small sample size and limited follow up which biased their results towards null. Careful
 selection of patients who received nilotinib and better modification of cardiovascular risk factors in the nilotinib
 arm also likely biased estimates towards null. Strengths of the analysis include adjusting for cardiovascular risk
 factors and competing risk analysis. They did not have data on several CV risk factors, including lifestyle variables
 (smoking and obesity), and unmeasured confounding. Data on exposure might be misclassified for those less than
 65 years of age if they paid out of pocket for TKIs. Another important limitation was the divergence in the curves
 for cardiovascular risk with age, suggesting that the proportional hazards may be violated.186
 C.4.3 Chen, et al. evaluated the risk of vascular adverse events in Taiwan using the Taiwan Cancer registry and
 the Taiwan National Health Insurance Database in a propensity matched study. They compared three cohorts of
 users-nilotinib (n=306), dasatinib (n=240) and imatinib (n=565).8 Baseline characteristics, including age, sex,
 comorbidities, and co-medications, across different TKI users were put into a logistic regression model to compute
 a propensity score for each patient. The composite outcome of vascular adverse events (“VAEs”) including ischemic
 heart disease, ischemic stroke, other ischemic cerebrovascular disease, arterial occlusive disease, and venous
 thromboembolism was defined using administrative codes. During the follow up period the excess risk of VAE was
 reported among nilotinib users compared to imatinib or dasatinib. IHD was the most common VAE. The crude IR
 of VAE was 21, 7.9 and 15.1 per 1000 PYs among nilotinib, imatinib and dasatinib users, respectively. In the
 propensity matched cohort, the HR for VAEs in the nilotinib arm was statistically significantly increased compared
 to imatinib (HR 3.13, 95% CI 1.30-7.51: 19.2/1000 PYs vs. 5.8/1000 PYs). The IR was highest in the first year
 after initiation of TKI. The median time to event values was 1.6 years on nilotinib compared to 1.9 years on imatinib
 (earlier on nilotinib) in the matched cohort. The cumulative incidence curves were statistically significant when
 comparing nilotinib to imatinib (Log Rank P=0.0073) and began to separate in the first year suggesting an early
 hazard. There was no statistically significant difference in cumulative incidence curves when dasatinib was
 compared to imatinib (Log rank P value=.2584). The hazard ratio for VAEs in the dasatinib arm was higher than
 imatinib (HR 1.71 0.71 to 4.26; 15.3/1000 PYs vs. 7.4 PYs) but not statistically significant. Limitations of the study
 include the inability to adjust for lifestyle variables (smoking or alcohol) and the potential for unmeasured
 confounding. The follow up duration for the nilotinib and duration was shorter than the dasatinib arm, but still
 sufficient to detect an increased risk with most vascular adverse events occurring within 1-3 years of TKI initiation.
 C.4.4. Jain, et al. also reported on an analysis of ATEs in 531 patients in 5 different individual institutional studies.
 These included a single armed study of nilotinib 400 mg twice a day (n=158) NCT00129740 (clinicaltrials.gov).
 Three studies of imatinib were also included including two single armed studies, NCT00048672 (n=50) and
 NCT00038649 (n=117) and a randomized crossover study NCT00050531 which evaluated imatinib vs. pegylated
 interferon alpha and Sargramostim. Another study, NCT01570868, was an uncontrolled single arm study of
 ponatinib (n=51) which was discontinued due to slow accrual of participants. Finally, there was another single
 armed study of dasatinib, NCT00254423, which included 156 participants.
 They included the imatinib 400 mg (n=71; median follow up 144 months) and imatinib 800 mg (n=203; median
 follow up 136 months), nilotinib (n=108; median follow up 77 months), dasatinib (n=106; 85 month), and ponatinib
 (n=43; 42 months) group.90 AT-AEs evaluated included CAD, CVD (stroke/TIA), and PAD. Overall, 46 patients
 (9%) developed AT-AEs. This included 56 % with CAD, 24% with CVA and only 13% with PAD with a median
 time to event for any ATE was 46 months (0.3 to 155 months). Subsequent AT-AEs developed in 26% of patients.



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 The occurrence of AT-AEs was highest in the ponatinib arm (14%) and dasatinib arm (14%), followed by nilotinib
 (10%) and imatinib 400 mg (7%) and imatinib 800 (4%).
 The incidence of CAD and CVD was higher in nilotinib compared to imatinib. The incidence of CAD was 6% of
 patients on nilotinib compared to 4% in the 400 mg dose of imatinib and 3% in the 800 mg dose arm of imatinib.
 CVD was reported in 3% of patients on nilotinib compared to 1% each in the 400 mg and 800 mg arm of imatinib.
 The number of events for PAD was too small to draw any meaningful inferences (2 events in the 800 mg dose of
 imatinib arm and none on nilotinib).
 The corresponding AT-AEs rates showed similar patterns of excess risk for ATEs, CAD and CVD with nilotinib
 compared to imatinib. The IR per 100 person years for AT-AE was 2.3 (95% CI 1.3 to 4.1) for nilotinib, 1.3 (95%
 CI 0.5 to 3.1) for the 400 mg dose arm of imatinib, 0.7 (95% CI 0.4 to 1.3) for the 800 mg dose of imatinib.
 The IR per 100 person years for coronary artery disease was 1.4 (95% CI 0.7 to 3) for nilotinib, 0.8 (95% CI 0.3 to
 2.4) for the 400 mg dose arm of imatinib and 0.4 (95% CI 0.2 to 0.9) for the 800 mg dose of imatinib. The IR per
 100 person years for cerebrovascular disease was 0.6 (95% CI 0.2 to 1.9) for nilotinib, 0.3 (95% CI 0.0 to 1.8) for
 the 400 mg dose arm of imatinib and 0.2 (95% CI 0.0 to 0.6) for the 800 mg dose of imatinib. The patterns of
 increased risk with nilotinib vs. imatinib 400 mg persisted even after adjustment for exposure time for AT-AEs,
 CAD and cerebrovascular disease but did not reach statistical significance due to limited statistical power. Both the
 univariate analysis (IRR 1.75, 95% CI 0.61 to 5.04; P=0.298) and multivariate analysis for AT-AEs (IRR 1.49, 95%
 CI 0.48 to 4.58; P=0.487) also showed an excess risk of AT-AEs with nilotinib vs. imatinib 400 mg but failed to
 reach statistical significance likely due to small number of events.
 Ponatinib showed the highest IR (95% CI) for AT-AEs at 9.0 (4.1-20.1) and the IR for dasatinib was 2.9 (1.7 to
 4.7). In a multivariate analysis, ponatinib therapy was associated with increased incidence rate ratio (IRR) for AT-
 AEs (6.38; 95% CI, 1.8-21.8; P, < .0001) compared with imatinib 400 mg.
 There are several limitations in the study design such as the absence of any direct comparisons between nilotinib
 and imatinib which limit the ability to provide robust inferences on the risk of ATE between nilotinib and imatinib.
 They only included one single armed study of nilotinib and three studies of imatinib. Two of these imatinib studies
 of which were single arm and the other with a non-nilotinib comparator active comparator. Although they state that
 patients were allocated in alternating fashion, such allocation does not signify a true random assignment. Second,
 the specific risk factors accounted for in their multivariate analysis are unclear because these were not reported in
 the methods section or their multivariate analysis (Table 4) which is standard for accurate reporting and
 interpretation of multivariate analysis. Despite these limitations, they still reported an excess of ATEs, CAD and
 CVD with nilotinib compared to imatinib. Moreover, overwhelming evidence in support of an increased risk of
 ischemic cardiovascular events with nilotinib is noted from randomized comparisons and more robust
 studies including our meta-analysis of RCTs above, and reported by other meta-analysis, as well as the findings of
 the ENESTnd trial.
 C.4.5. Chow, et al. conducted a retrospective cohort study in the commercially insured population in the United
 States.92 They compared the risk of nilotinib, ponatinib, bosutinib and dasatinib with imatinib. In the first year of
 therapy, rates of myocardial ischemia noted with nilotinib, imatinib and dasatinib were 0.49/PYs, 0.62/PYs, and
 1.04/PYs respectively. In the first year of therapy, rates of stroke were highest with nilotinib (0.72/PYs) compared
 to either imatinib (0.06/PYs) or dasatinib (0.15/PYs). Between 2-5 years of therapy, rates of myocardial ischemia
 were highest with nilotinib (1.02/PYs) compared to either imatinib (0.78/PYs) or dasatinib (0.89/PYs). Similarly,
 between years 2-5, rates of stroke were highest with nilotinib (0.41/PYs) compared to either imatinib (0.09/PYs) or
 dasatinib (0.23/PYs). After adjusting for sex, age, ethnicity, index year, race/ethnicity and Charlson comorbidity
 index, they reported no difference in the first year for MI (OR 1.36, 95% CI 0.87 to 1.23 for dasatinib vs. nilotinib)
 or stroke (OR 0.79, 95% CI 0.40 to 1.59). The adjusted estimates for dasatinib vs. nilotinib between years 2-5 of
 therapy were also similar and not statistically significantly different between dasatinib vs. nilotinib for MI (OR
 1.13, 95% CI 0.89) or stroke (0.77, 95% CI 0.48-1.24). Limitations include the lack of information on smoking and
 obesity and the potential for unmeasured confounding. The potential for misclassification of both exposures and


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 outcomes is high and would bias their findings towards the null. The generalizability of the study to a non-insured
 population is limited.
 C.4.6. A retrospective study by Giles, et al. in 2013 - for which Novartis provided financial support - pooled data
 from three RCTs (International randomized study of Interferon and ST1571 (IRIS), Tyrosine Kinase Dose
 Optimization study (TOPS), and a partial 3-year update of the ENESTnd trial.89 The IRIS study was an open-label
 cross-over trial which compared imatinib 400 mg daily vs. interferon alfa and cycles of cytarabine.187 A proportion
 of participants with the interferon and cytarabine arm crossing over to imatinib. Tyrosine Kinase Dose Optimization
 Study (TOPS) compared imatinib 400 mg PO BID vs. imatinib 800 mg PO BID.188 The authors reported on PAD
 in three separate cohorts—(1) a no TKI arm (n=3/533), (2) a nilotinib arm (n=7/556), and (3) an imatinib arm
 (n=2/1301). All the 7 PAOD events on nilotinib all came from the ENESTnd trial (4 from the 300 mg and 3 from
 the 400 mg arm) whereas data on the no TKI arm were from IRIS cohort and data on imatinib cohort included the
 ENESTnd, TOPS and IRIS study.187
 Both the cumulative incidence and the multivariate OR were higher for nilotinib compared to imatinib. They
 reported the highest cumulative incidence of PAOD with nilotinib 1.3%, compared to only 0.2 % on imatinib and
 0.6% in the no-TKI cohort. The multivariate odds ratio, accounting for age > 65 years, lipid levels and vascular
 disease when comparing the nilotinib only cohort to the imatinib cohort was more than two-fold statistically
 significantly higher for nilotinib 14.87 (95% CI 2.73-145.64). However, exposure-adjusted relative risk for PAD
 was 0.9 for nilotinib (95% CI 0.2-3.3) and 0.1 for imatinib (95% CI 0.0-0.5) compared to the no-tyrosine kinase
 inhibitor arm, respectively.
 There were several limitations that preclude us from drawing any firm conclusions. First, it is generally accepted
 that a pooled analysis of trial data is not as reliable as prospective reviews and meta-analysis of RCTs (such as the
 one I conducted and the other meta-analyses described above).6 Such pooled analysis erases the benefit of
 randomization, which controls for both measured and unmeasured confounders at baseline. The inferences based
 on prospective randomized comparisons between nilotinib and imatinib in the ENESTnd trial outweigh the
 inferences that can be drawn from this retrospective analysis because they represent randomized comparisons.
 Second, the pooled analysis contained data from studies that did not include nilotinib (such as IRIS and TOPS).
 Including these non-nilotinib controlled studies inflates the cumulative number of events with imatinib (2 PAD)
 seen in the TOPS trial and dilutes the relative risk of CV events with nilotinib relative to imatinib. Third, the
 authors’ choice of a non-TKI comparator is arbitrary since no prospective RCTs have evaluated these comparisons.
 Fourth, adjustment for exposure time violates the principle of intention to treat analysis. Because of differential
 dropouts, such as the higher rate of dropouts seen with imatinib compared to nilotinib in the ENESTnd trial, this
 would result in more exposure-time (denominator) added to nilotinib and dilute the relative risk compared to
 imatinib. Fifth, given the rarity of these events, the RR estimates are imprecise. Despite these significant limitations,
 all of which serve to attenuate the risk of CV events with nilotinib relative to imatinib, the study still reported “a
 higher cumulative incidence and odds ratio of PAOD events in patients with CML-CP receiving nilotinib, than in
 those receiving imatinib.” This study only included 7 PAOD events in the nilotinib arm from the ENESTnd trial.
 Finally, the 10-year update of the ENESTnd study which has reported 38 PAOD events among nilotinib participants
 compared to none among imatinib render the findings of this analysis obsolete.
 C.4.7. Casavecchia, et al. reported on a small study which compared nilotinib (n=15), imatinib (n=29), dasatinib
 (n=11), bosutinib (n=3) and ponatinib (n=3) after a 2.5 median year follow up.91 Although included in the adjusted
 controlled section for completeness the study had significant limitations in reporting. They reported no CV events
 in nilotinib and bosutinib and rates for CVE in imatinib, dasatinib and ponatinib as 0.19, 0.15 and 1.69/person years
 (Log Rank P < 0.05). Rates remained significant after multivariate correction. Although they did not report any
 CVs on nilotinib, they went to report in the discussion that “treatment with nilotinib was associated in our
 population with a higher incidence of CVE, especially severe PAD with stents implantation or limb amputation”.
 These inconsistent findings and the small number of participants on nilotinib prevent us from drawing robust
 conclusions about the cardiovascular effects of nilotinib.



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 Risk of Bias Assessment of Observational Studies using NewCastle Ottawa Score. The bias assessment of the
 adjusted observational studies is shown in Supplementary Table 1 (G.2). Although studies were rated to be of
 fair quality,7,8,52,89-92 based on the NOS assessment their limitations are discussed in their respective section. The
 potential for unmeasured confounding and lack of data on lifestyle variables was a consistent feature across studies.
 Yang et al., Chen et al, and Leong et al. were rated as being of the highest quality.7,8,52 Although the evidence from
 RCT and their meta-analysis are more robust, evidence from adjusted controlled observational studies is of higher
 quality than the unadjusted controlled cohort studies which are more susceptible to confounding.
 C.5. Unadjusted Controlled Observational Studies of Nilotinib vs. other Tyrosine Kinase Inhibitors. Twenty-
 five unadjusted studies reported on the risk of CV events with nilotinib compared to other TKIs.9,12,53,93-114 All
 studies were rated as being of poor quality based on the NOS scale, because they did not adjust for any major
 confounders (e., g., diabetes, or hypertension). However, the rate of CVD was statistically significantly higher in
 the nilotinib arm compared to the comparators for eight studies.9,12,93,94,106,107,113 Of the remaining, 14 studies reported
 an excess of CV risk with nilotinib but did not report on the statistical tests. Only 2 out of the 25 studies of small
 sample size reported an excess of events in comparators compared to nilotinib none of which was statistically
 significant.97,101 All unadjusted controlled studies are considered to be of poor quality because of the lack of adjustment
 for confounders.
 C.5.1. Studies Reporting a Significantly Excess Risk of Nilotinib vs Imatinib or Comparators.
 C.5.1.1 Dahlen, et al reported on a statistically significant increased risk ratio of atherosclerosis (n=17 events; IRR
 4.7, 95% CI 2.3-9.5; P <0.0001), other PVD (n=11 events; IRR 3.4, 95% CI 1.5-7.7; P =0.0027), acute MI (n=15;
 IRR 2.9, 95% CI 1.5-5.6; P=0.0012), chronic IHD (n=17, IRR 2.2, 95% CI 1.2-3.9; p=0.009), with nilotinib (n=388)
 compared to imatinib (n=1213) from the Swedish CML cohort. 113 IRR for both hypertension (IRR 1.5, 95% CI 1
 to 2.3) and diabetes (IRR 2.2, 95% CI 1.2 to 4.1) were also elevated. Outcomes were defined using ICD codes. The
 median follow-up in the nilotinib cohort was 2.8 years compared to 3.2 years in the imatinib arm. The IRR findings
 were adjusted for false discovery rates for CML population as compared to controls. The findings for Acute MI,
 atherosclerosis and other PVD remained significant in the delayed entry model. The IRR in the nilotinib cohort for
 AMI and atherosclerosis remained robust after adjustment for multiple testing. The estimates adjusted for age, sex
 and calendar period were significant for acute MI (IRR 2, 95 % CI 1.5-2.6) chronic IHD (IRR 1.5, 95% CI 1.2-2)
 and atherosclerosis IRR 3.8 (IRR 2.6—5.5) and elevated, though not significant, for cerebral infarction (IRR 1.3,
 95% CI 1 to 1.18). They also reported no increased risk of ischemic events with nilotinib vs. dasatinib. The small
 number of patients treated with bosutinib or ponatinib and limited follow up duration (0.6 years with bosutinib and
 0.5 years, respectively) precluded any meaningful conclusions. One case of atherosclerosis, PVD and chronic IHD
 were reported with ponatinib.
 C.5.1.2. Caoci, et al. reported on the risk of recurrent ATE in 57 patients with a previous history of CVD treated
 with 2nd generated TKIs (n=10 on nilotinib, n=10 on ponatinib, n=25 with dasatinib and n=12 with bosutinib). 107
 Over a period of 60 months, 29.8% developed recurrent ATE comprising of 12.3% in the nilotinib group compared
 to 5.3% in the dasatinib group, 7 % in the ponatinib group and 3.3% in the bosutinib group. The cumulative
 incidence of ATE was statistically significant highest in the nilotinib group (n=76.7% + 14.3%) and ponatinib group
 (64% +/-20%) compared to dasatinib (44 % ± 24.2%) and bosutinib (30.5% ± 15.5%) (p=0.01).
 C.5.1.3. Assuncao, et al. reported on the risk of MI, unstable angina, PAOD, acute arterial occlusion, stroke,
 arrhythmia and cardiac failure with imatinib (n=119, median follow-up 2047 days), nilotinib (n=42, median follow-
 up 1773 days) and dasatinib (n=75; median follow-up1712 days).106 No CVE events occurred during imatinib
 treatment, 6 events occurred during nilotinib treatment and 3 events occurred during dasatinib treatment (one of
 which was an arrythmia). There was a statistically significant higher risk of arterial occlusive events with nilotinib
 vs. dasatinib (14.2% vs 2.6%; P≤0.001). They reported a elevated cumulative incidence of arterial events with
 nilotinib RR 4.95 (95 % CI, 0.99— 24.82; P=0.52). There was also a trend towards earlier occurrence of CV events
 with nilotinib (P=0.05) compared to dasatinib. There were no ATE events on imatinib.
 C.5.1.4. Caoci, et al. reported on another retrospective cohort study from Italy which compared nilotinib (n=286)


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 to dasatinib (n=220).102 A positive history of CV disease was noted in approximately 181 patients with a mean
 follow up of 5.4 years since CML diagnosis. Although the cumulative incidence of CV events (n=44 vs 24) was
 higher with nilotinib (24.7 % +/- 3.9%) compared to dasatinib at 60 months (16.4 % +/-3.7%), this difference was
 not statistically significant (P=0.25). The frequency of PAOD was statistically significantly higher with nilotinib
 (47.7% vs 16.7%) (P=0.006).
 C.5.1.5. Bocchia, et al. conducted a single center retrospective cohort study and reported a statistically significant
 excess of ischemic CV events among nilotinib (n=52) compared to imatinib (n=58) (27% vs. 5%; P= 0.00011). 12
 The duration of TKI exposure was significantly higher in the imatinib arm, and the presence of dyslipidemia was
 higher in the nilotinib arm. Of the 14 events in the nilotinib arm, 5 of these were IHD events and 9 were PAOD
 events. In the imatinib arm, there was 1 PAOD event and 2 carotid occlusions. Median time to development of CV
 events was shorter in the nilotinib cohort (30 months) in the nilotinib cohort compared to 125, 132 and 102 months
 for the 3 events in the imatinib cohort.
 C.5.1.6 Fossard, et al. prospectively analyzed patients with standard clinical assessments (height, weight, BMI),
 onset of any CV events, and basic routine BMP in 2016. With approximately 52 months of follow-up, they reported
 CV events among 23 of the 114 (22%) participants in the nilotinib vs. 4 (8%) in the imatinib arm. The cumulative
 incidence of CVE in the nilotinib group was 10.2% at 60 months compared to 0% for imatinib (P< 0.001), a
 difference which was statistically significant.9 There was evidence of dose-response effect discussed in detail below
 in the section on dose-response.
 C.5.1.7. Kim, et al. conducted a single center prospective study which evaluated the risk of PAD (as measured by
 ABI and PAOD events) among patients on nilotinib (n=66) compared to imatinib (n= 54).93 81% of patients were
 screened by assessment of Ankle-Brachial Indexes (ABI) (a quick and noninvasive way to detect peripheral artery
 disease by comparing blood pressure at the ankles with blood pressure in the arms), with peripheral arterial disease
 being defined as an ABI less than <0.9. Pathological ABI was statistically significantly higher in the first line
 nilotinib (7 of 27; 26%; P=0.0297) and second line nilotinib (10 of 28; 35.7%; 0.0029) compared with first line
 imatinib (3 of 48; 6.3%). There were 5 patients with PAOD, all on nilotinib. 93 When comparing nilotinib treated
 patients with imatinib treated patients, the RR of either a pathological ABI and the occurrence of pathological
 Duplex ultrasonography with or without a PAOD event was 10.3 (95% CI 2.3 to 61.5) in the nilotinib, 13.2 (95%
 CI 1.1 to 692.5) compared to imatinib treated group.
 C.5.1.8. Levato, et al. retrospectively evaluated the incidence of PAOD or other vascular diseases among 27
 patients on nilotinib vs. 55 patients on imatinib in a single center cohort study with a median follow up of 24 months
 on nilotinib. They reported 4 CV events (14.8%) (1 IHD, 1 stroke, and 2 PAD) in the nilotinib arm compared to 1
 IHD in the imatinib arm after 135 months of therapy (1.85%).94 Two of the PAOD events occurred in the context
 of GIMEMA trial (GIMEMA CML 0307). The projected 10-yr probability of survival without PAOD (free without
 PAOD) was 100% in the imatinib group and 67% in the nilotinib group (HR 14.6; P = 0.0008), despite similar
 baseline characteristics between the two groups and higher duration of exposure on imatinib suggesting a strong
 effect of nilotinib on development of PAOD.
 C.5.2 Studies Reporting an Excess Risk of Nilotinib vs. Imatinib or Comparators.
 C.5.2.1 Nakamae, et al. reported on CV events in patients on TKIs (n=15 on imatinib; 22 on nilotinib; 22 on
 dasatinib; 11 on bosutinib and 4 on ponatinib).114 Overall, eighteen CV events occurred among sixteen patients with
 the highest proportion of events reported among nilotinib. Among the 18 CV events 9 (50%), 4 (22%), 3 (16.7%)
 and 2 (11.1%) occurred in patients on nilotinib, dasatinib, imatinib and bosutinib, respectively.
 C.5.2.2. Scalzuli, et al. reported an excess of CTCAE CV events in the nilotinib arm (n=6/59; 13%) compared to
 dasatinib (n=3/72; 4.1%)112 over a median duration of 33 months. The specificity of these CV events was unclear
 and, as expected, more pleural/pericardial effusions were reported on dasatinib (24/72 vs. 1/59).
 C.5.2.3. Varga, et al. reported on a small retrospective cohort study among CML patients in Romania. 110 They
 reported that 3/12 ( n=1 arterial occlusion, n=1 STEMI, n=1 ischemic stroke) compared to 1/22 patient who

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 developed a STEMI in the imatinib cohort. One STEMI was reported in the dasatinib cohort (n=9), where the
 majority of reported events were pericardial effusions.
 C.5.2.4. Novo, et al. reported on another small retrospective cohort of patients treated with nilotinib (n=18),
 dasatinib (n=9), ponatinib (n=3) and imatinib (n=25, of whom 21 had gastrointestinal stromal tumors and 4 had
 CML). In patients on nilotinib, two ACS events were reported, three patients had episodes of angina, and one patient
 had PAD. There were no ischemic events reported in the dasatinib or ponatinib cohorts whereas 1 patient with CAD
 was reported in the cohort of patients on imatinib. Limitations of the study include the inclusion of a population
 that did not include CML in the imatinib arm.
 C.5.2.5. Kizaki, et al. reported on an observational cohort in Japan using the New Timely and Appropriate
 Registration System for GLIVEC® Therapy (TARGET) system which comprised of 139 patients on imatinib, 169
 patients on nilotinib and 144 patients on dasatinib.108 followed over a period of 5 years. Overall, sixteen VAEs were
 reported among 12 patients (n=1 on imatinib, n=6 on nilotinib and n=5 on dasatinib).
 C.5.2.6. Tiribelli, et al. reported on the risk of CV events in an Italian cohort of patients with CML on nilotinib
 (n=68) vs. dasatinib (n=95).105 They were followed up for a period of 48 months. They reported 4 PAOD events, 3
 CV events in the nilotinib cohort. Five out of the total 16 deaths in the dasatinib cohort occurred due to CV events
 as compared to (1/9) deaths in the nilotinib cohort for CV events.
 C.5.2.7. Ota, et al. reported on a real-world study from Japan on the risk of CV events with nilotinib (n=100;
 median follow-up of 1359.5 days), imatinib (n=255; median follow-up of 1359.5 days) and dasatinib (n=95; median
 follow-up of 716 days).104 They reported an excess of CV events in the nilotinib group (3%) compared to either
 imatinib (1.6% ) or dasatinib (0%). Among 3 patients with nilotinib treated for > 5 years, one developed severe
 cardiovascular event.
 C.5.2.8 Fujioka, et al. reported on VAE among patients on nilotinib (n=140), imatinib (n=199), dasatinib (n=143)
 and bosutinib (n=29).103 The rates of VAE were higher among patients on nilotinib (25.86/1000 PYs), compared to
 imatinib (6.74/1000 PYs) or dasatinib arm (7.3/1000 PYs). The incidence rate of IHD, cerebral infarction, and PAD
 per 1000 PYs was 15.09, 6.47 and 4.71 during nilotinib therapy was also higher compared to either imatinib or
 dasatinib therapy. The incidence rate of IHD, cerebral infarction, and PAD/1000 PYs was 2.99, 2.25 and 1.50 during
 imatinib therapy. The incidence rate of IHD, cerebral infarction, and PAD per 1000 PYs, was 4.87, 2.43 and 0
 during dasatinib therapy. They also showed a shorter time for occurrence of VAE with nilotinib 29.3 months
 compared to imatinib (95.1 months) or dasatinib (46.8 months) Limitations include the small sample size, the
 inclusion of patients with exposure to other TKIs and history of VAEs.
 C.5.2.9. Suh, et al. compared 120 patients on nilotinib to 81 patients on dasatinib in a retrospective cohort analysis.
 Six patients in the nilotinib group (5%) experienced CVEs; 4 had stroke, 1 had ACS with stroke and 1 had PAOD.
 No ischemic CV were reported in the dasatinib arm, but the established adverse effect of pleural and pericardial
 effusion with dasatinib was noted.100 All patients had prior treatment with imatinib. The CV events were defined
 based on Common Terminology Criteria for Adverse Effects (CTCAE) and median follow up was 36.9 vs. 37.2
 months in the nilotinib vs dasatinib cohort.
 C.5.2.10. Osada, et al. reported on 40 patients on nilotinib (n=10), imatinib (n=16) and dasatinib (n=14). 99 Three
 CV events were reported at 48 months including 2 events in the nilotinib arm (one MI and one PAOD) and one
 PAOD in the imatinib arm. C.5.2.11. Takahashi, et al. reported on a propensity matched study which compared
 nilotinib vs. dasatinib (n=104 vs. 102) in two single arm phase II trials, NCT 00254423 for dasatinib, and NCT
 00129749 for nilotinib).98 The follow up was 3 years. There were two ischemic CV events reported in the nilotinib
 group (1 MI and 1 PAOD) and none in the dasatinib group.
 C.5.2.12. Dahlen, et al. followed 896 chronic phase CML patients for 4.2 years and compared them to age and sex-
 matched controls. There were 54 arterial events in the cohort IRR for CV events among CML patients was higher
 compared to controls (IRR 1.5, 95% CI 1.1 to 2.1). The IRRs for ATE, MI and cerebrovascular ischemia were all
 higher in the nilotinib cohort compared the imatinib or dasatinib cohort. The IRR/1000 PYs rates of ATE were

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 higher on nilotinib (IRR 29, 95% CI 6-60) compared to imatinib (IRR 13, 95% CI 7-16) or dasatinib (IRR 19, 95%
 CI 4-39).53 The IRRs for MI on nilotinib (IRR 29, 95% CI 6-58) were higher than that of imatinib (IRR 8, 95% CI
 4-10) and dasatinib (IRR 19, 95% CI 4-37). Similarly, the IRRs/1000 PYs for cerebrovascular ischemia on nilotinib
 (IRR 11, 95% CI 0-30) were higher than that of imatinib (IRR 4, 95% CI 1-5) and dasatinib (IRR 4, 95% CI 0-12).
 Limitations included the small sample size. Confounding by disease characteristics was less likely because of
 minimal differences in distribution of characteristics among groups.
 C.5.2.13. Gora-Tybor, et al. compared 55 patients on nilotinib vs dasatinib ( n=50) (median follow up 18 months
 to 29 months) in a multicenter retrospective cohort analysis and reported an excess of severe vascular events with
 nilotinib compared to dasatinib ( 6/55 vs 2/500 but these differences were not statistically significant (11% vs. 4%;
 P= 0.16).96 A slightly different but nonsignificant P value is noted in Table II of their paper. An additional patient
 had Raynaud’s phenomenon in the nilotinib group, sometimes considered a vascular event. The time to vascular
 events ranged between 19-22 months in the dasatinib group compared between 6-69 months in the nilotinib group.
 C.5.2.14. Neelakantan, et al. reported on a study of 57 patients who achieved complete cytogenetic response to
 imatinib and switched to second line therapy, in which 37 patients received dasatinib, 19 patients received nilotinib
 and one patient received bosutinib as second line therapy, one patient with PAOD was noted in the nilotinib group.95
 No PAOD events were noted in other groups.
 C.5.3. Studies Reporting an Excess Risk of Other TKIs vs. Nilotinib
 C.5.3.1. Bettiol, et al. reported on the long-term safety of nilotinib (n=8) vs. imatinib (n=73) from Italy over a
 median follow up of 5.93 years in a retrospective cohort.101 Four patients in the imatinib cohort had a stroke and
 one patient had MI. There were no ischemic CV events among in this small nilotinib cohort.
 C.5.3.2. Jain, et al. conducted a retrospective analysis of 5 controlled trials of TKIs at MD Anderson Cancer Center
 reported on imatinib 400 mg (n=68), imatinib 800 mg daily (n=200), dasatinib 50 mg twice daily or 100 mg daily
 (n=106) and nilotinib 400 mg twice a day (n=108).97Six deaths due to cardiac causes were reported on imatinib. A
 patient died due to stroke in the nilotinib arm. There were no ischemic CV deaths on dasatinib.
 C.5.4. I separately evaluated the retrospective cohort study by Chiwata, et al. which evaluated the risk of CVD
 among 264 patients with CML treated with TKIs with a median age of 58 years old from the Nagasaki Prefecture.111
 Only 26 patients had CVD at baseline. Among 170 patients on imatinib, only 18 patients had CVD compared to
 152 without CVD at the time of CML diagnosis. Among 41 patients on nilotinib, 8 patients had CVD at baseline
 compared to 33 without CVD at the time of CML diagnosis. While they reported on CVD at baseline, they could
 not evaluate the specific risk of each drug given various combinations used and the various treatment duration.
 C.5.5. Case control study of Nilotinib and Cardiovascular Events.
 Rattanathammethee, et al. conducted a cross-sectional case control study which evaluated the odds of PAOD (defined
 as ABI<0.9) and reported that the risk of PAOD was 9.1 % in the CML cases compared to 4.1% in controls (n=156).142
 PAOD was measured using serial ABI measurements. In 78 patients with CML (n=61 on imatinib, 13 on nilotinib and 4
 on dasatinib), abnormal ABIs were noted in 7 patients or 9% of the cases. Patients in the nilotinib group had the highest
 prevalence of abnormal ABIs (30.8%), compared to 4.9% of the patients on imatinib and 0% of the patients on dasatinib.
 The odds of PAOD event associated with nilotinib was statistically significantly higher than imatinib (OR 8.59, 95% CI
 1.6 to 44.9: 4/13 vs 3/61). There was no evidence of PAOD in the small dasatinib group. PAOD was more prevalent in
 CML cases (OR 2.09, 95% CI 0.71-6.21; P=.181) a finding which was not statistically significant.
 C.6. Uncontrolled Studies reporting on Nilotinib and Cardiovascular Events. I included 27 uncontrolled studies on
 nilotinib.115-141 They ranged from single to multicenter, retrospective to prospective, and varied in the duration of
 follow-up and the number of participants, with the number of participants as high as 1089 in one study,132 and the
 duration of follow up as long as 10 years.115 They had varying methods of ascertaining cardiovascular events, which
 were mainly reported as clinical events or review of medical records. The rates of PAD were generally higher when
 there was prospective screening for the disease. Studies with longer duration of follow up reported that


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 approximately one fourth of their participants developed arterial events ( similar to the nilotinib arms of ENESTnd)
 trial.115 Some studies were notable because they reported the recurrence of ATE events after stopping and restarting
 nilotinib.120 The key studies of note are:
 1) The phase II study GIMEMA CML 0307 (NCT00481052) enrolled 73 adult patients (median age 51 years,
    range 18-83) with newly diagnosed chronic-phase (CP)-chronic myeloid leukemia (CML) on nilotinib 400 mg
    twice daily which was reduced to 300 mg twice daily as soon as drug was approved. The 10-year update reported
    that at least 17 patients 23.3% of patients (at a median age of 69 years), had at least one arterial obstructive
    event.115

 2) Radich, et al. reported on The ENESTfreedom which assessed the feasibility of treatment-free remission (TFR)
    in patients with CML on nilotinib treatment.116 They reported that CV events occurred in 4.7% of patients in
    the consolidation phase which decreased to 2.3% in the first 48 weeks following start of TFR phase. Among
    190 patients who entered TFR phase, CVEs were reported in five patients (2.6%). In the re-initiation phase,
    5.1% CV AEs were reported among those who entered consolidation phase and 17.6% experienced CV AEs in
    the re-initiation phase. IHD, ischemic cerebrovascular events and PAOD were reported in 8.8, 3.3% and 4.4%
    in the re-initiation phase, respectively.
 3) Hughes, et al. reported the 5-year update of the ENESTop study which evaluated TFR in patients with CML
    who had received > 3years of TKI therapy and achieved remission.117 6.1% of the participants experienced a
    CV event during consolidation phase with nilotinib whereas 3.2% experienced CV events during TFR. An
    exposure-adjusted analysis of total CVEs during the reinitiation phase was 8.3%/100 Treatment Years.
 4) Huguet, et al. reported-on a prospective observational study from France and noted that 7/83 patients on
    nilotinib (3.8%) experienced on CV ischemic AE at 24 months of follow up.121
 5) In a retrospective cohort of patients from Australia, Minson, et al. outlined the natural course of VAEs nilotinib
    in 220 patients at 17 institutions.120 Data on ACS, ischemic CVD and PVD were collected. The median follow
    up was 42 months. VAEs occurred in twenty-six patients (12%) with an incidence of 4.1 per one hundred
    patient-years. ACS was most common (n=13 patients), followed by PVD (10 patients) and then ischemic
    cerebrovascular disease (3 patients). There was a case of death due to a first VAE. 90% of events occurred in
    the first 3 years of therapy. Ongoing use resulted in a statistically significant excess of recurrent VAEs in 7/14
    patients who continued nilotinib (2 fatal AEs) vs. only 1/11 who discontinued nilotinib (P=0.04). The
    cumulative incidence for VAE in those who continued on nilotinib after their first vascular AE vs. those who
    stopped nilotinib after vascular AE was statistically significantly elevated HR 8.3 (95% CI 1.01 to 68; P=0.019).
    The risk of recurrence was persistent despite pharmacologic treatment with antiplatelets. Recurrence was not
    associated with a longer exposure time. The risk of recurrence after initiation of nilotinib provides support for
    a causal association. The rates of vascular AEs in the study (4.1/1000 PYs) are higher than that of Swedish
    cohort by Dahlen, et al. (2.9/1000 person years),53 because of longer follow-up time (2.9 vs. 0.9 exposure years
    respectively) and suggests that risks persist even after the early treatment periods. These findings are similar to
    5-year data from ENESTnd (7.5% in the nilotinib 300 mg BID arm and 13.4% in the nilotinib 400 mg BID
    arm). They identified smoking and dyslipidemia as a significant risk factor for VAE and were unable to detect
    a difference between the two doses of nilotinib because of insufficient statistical power.
 6) Masarova, et al. reported on a single institution phase 2 study on 122 patients with nilotinib 400 mg PO twice
    daily with a median follow up of 78.3 months.119 Twelve ischemic CV events occurred in 10 patients (8%).
    Eight patients had a single ischemic CV AE and 2 patients had ischemic CAD and CVS.
 7) Another cohort study of nilotinib which evaluated dose-escalation noted 2 MIs among 51 patients who received
    nilotinib. The median dose intensity was 600 (207-736) mg/day.118
 8) The ENESTnext—a single arm multi-centric study followed patients (n=128) on nilotinib 300 mg twice
    daily122 noted that at 2 years of follow up 3 patients experienced an MI (2.36%). Additional one patient each


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     developed CVA (0.8%) and TIA (0.8%). There was no incidence of PAOD.
 9) Tokuhira, et al. conducted a retrospective analysis of 70 patients with CML on nilotinib with a median follow
    up of 3.4 years. One patient each developed acute MI, PAOD, and brain infarction. The patients with MI and
    brain infarction were above 80 years old and the PAOD was attributed to a renal carcinoma mass.123
 10) In a study from South Korea, Shin, et al. (n=110 on nilotinib 300 mg PO BID; median follow up 22.2 months)
     and noted the occurrence of cerebral infarction among 2 patients and unstable angina among 1 patient.124
 11) Noguchi, et al. reported 3 VAEs among 76 patients on nilotinib at the end of 24 months of follow-up, which
     included 2 patients with cerebrovascular disease and 1 patient with angina pectoris.125
 12) Mahon, et al. reported data from a cohort (NCT01698905) in which patients treated with nilotinib received
     consolidation therapy (n=163), of whom 126 met criteria for entering TFR.126 Among all patients who entered
     the TFR phase (n=126), 6 had CV events during the consolidation phase (4 had PAOD disease; 2 had IHD),
     and none had events during the first 48 weeks of treatment free remission.

 13) Kuo, et al. reported on nilotinib in patients with CML with resistance or intolerance to imatinib mesylate The
     (NOVEL) study from Taiwan followed 85 patients on nilotinib for 2 years and reported the occurrence of SAEs
     such as acute recurrent left thalamic infarction, infarction of the left basal ganglia and corona radiata.127 Angina
     pectoris, myocardial ischemia was reported in two patients each (2.4%) and MI in one patient (1.2%). There
     were no instances of PAOD.

 14) Ishikawa, et al. reported on 38 patients on nilotinib 400 mg twice daily who were monitored for a 2- year
     follow-up and one patient experienced an MI.128

 15) Cony-Makhoul, et al. reported on a cohort of 146 patients in the TARGET RMC (Tasigna as Second Line
     therapy in Glivec-resistant or intolerant CML PC patients in current practice-complete molecular response)
     study on nilotinib followed for 2 years in France. Among this cohort, 12.3% developed ischemic CV events and
     4.1% developed PAOD in 6 patients (4.1%).129
 16) Hughes, et al. reported on the final results of the ENESTxtnd study which enrolled 421 patients on nilotinib
     for 2 years.130 They reported CV events in 19 patients (4.5%), which included 14 IHD (3.3%), 1 stroke (0.2%),
     5 PAOD (1.2%) and one arterial stenosis (0.2%).
 17) Aghel, et al. enrolled 63 patients on nilotinib for a median duration of 63 months.131 They reported that 9%
     experienced a composite end point of stroke, PAD, ACS, heart failure and CV death. Ultrasonographic data in
     asymptomatic patients showed that an additional four patients (8%) had abnormal lower extremity Doppler.
 18) Another uncontrolled clinical study, Evaluating Nilotinib Efficacy and Safety in Clinical Trials as First-
     Line Treatment (ENEST1st), followed 1089 patients who received nilotinib in 26 European countries.132 Data
     from the 24-month follow-up indicated that ischemic CV events occurred in 6% of patients (n=65), PAD in
     1.9% of patients (n=21), IHD in 3.4% of patients (n=37), and ischemic CV events in 0.8% of patients (n=9).
 19) The ENRICH (Exploring Nilotinib to Reduce Imatinib Related Chronic Adverse Events) study (N= 52),
     evaluated the effect of switching patients with imatinib-related AEs from imatinib to nilotinib. One patient
     reported an SAE of facial palsy and CAD and another patient had arteriosclerosis at the end of followup.133
 20) Casteganati, et al. evaluated 130 patients on nilotinib 300 mg twice daily for 3 years. Among the twenty-five
     CV AEs reported among 21 patients, there were 13 ATEs among 12 patients (3 lower limb, 6 coronary, 1
     carotid, 1 optic and 2 avascular necrosis of the femoral head).134 The cumulative probability of developing a
     CV AE was 7% at 1 year (95% CI 4-135) and 13% at 2 years (95% CI 8-20). 29% of patients also had a
     significantly increased fasting plasma glucose at 1 year compared to baseline (P <0.001) without a significant
     increase in glycated hemoglobin. 42% of patients experienced high risk hypercholesterolemia (≥ 240 mg/dl). A


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     significant increased LDL and HDL cholesterol and a significant reduction of triglycerides was noted (P
     <0.001).
 21) Another study from France prospectively evaluated 30 patients on nilotinib and reported the occurrence of 10
     vascular events. 3/10 events occurred in those without risk factors.135
 22) Brecia, et al. reported on a retrospective cohort of 82 patients on nilotinib. Two patients had PAOD, three
     patients had MI, two patients had unstable angina and one patient had a stroke.136
 23) Another retrospective 5 cases in a cohort from MD Anderson Center reported among 2% of vascular AEs among
     patients on nilotinib.137
 24) Kim, et al. conducted a retrospective cohort study of 81 patients on nilotinib (median duration 26 months) and
     reported 6 ACS events of which 2 were myocardial infarctions.138
 25) In 2011, Le Coutre, et al. conducted a retrospective analysis of 179 patients (175 with CML) on nilotinib who
     were enrolled in various clinical trials.139 Eleven (6.15%) developed severe, previously unrecognized PAOD
     that required invasive surgery. Eight patients had stent implants, eight had angioplasties, and four had
     amputations. One patient had no detectable cardiovascular risk factors. The article concluded: “The frequency
     of PAD in this retrospective analysis appears to exceed that found in the general population and in a
     retrospective analysis of CML patients treated with imatinib. It is noteworthy that elevations in cholesterol
     and fasting glucose were observed in clinical trials with nilotinib and that 10 of the 11 PAD patients had
     cardiovascular risk factors present before treatment, suggesting that nilotinib may aggravate a preexisting
     arteriosclerotic condition.”
 26) Aichberger, et al. reported rates of vascular events (arterial stenotic) as high as 25% after 24 months of follow-
     up. Of the 24 patients in the study, 4 developed PAOD.140 Of note, three of 24 patients developed a “rapidly
     progressive” form of peripheral artery disease that was “essentially resistant to treatment,” which progressed
     despite treatment and surgical interventions. Several of the events occurred and progressed in both legs, and the
     patients developed the severe conditions shortly after exposure to nilotinib treatment. One of the three patients
     had known peripheral artery disease prior to being treated with nilotinib, and one had no known risk factors for
     the disease. In the other 21 patients treated with nilotinib in our center, one less severe PAOD, one myocardial
     infarction, one spinal infarction, one subdural hematoma, and one sudden death of unknown etiology were
     recorded. Specifically, while atherosclerosis and atherosclerotic-related events usually develop slowly over
     many years, these reports describe an accelerated and severe form of clinically overt atherosclerosis, often in
     the form of peripheral arterial occlusive disease that manifests itself rapidly in multiple sites.
 27) As early as 2010, an international study which evaluated 60 patients with CML on nilotinib after failure of
     imatinib or dasatinib reported one myocardial ischemia and 1 MI after follow-up up of 18 months.141
 Abstracts.
 Comparative studies. The SIMPLICITY observation cohort study reported on the risk of CV hospitalization with
 nilotinib (n=51; 28.8/1000 PYs vs. dasatinib (n=31; 16.7/PYs).189 Data was not available to distinguish the
 difference in ischemic events between two groups.
 Another retrospective analysis of 2207 patients in in 9 multinational trials of nilotinib (n=277), imatinib (n=551),
 dasatinib (n= 259), bosutinib (n=516) and ponatinib (n=604).190 Among patients on nilotinib (n=277), no ischemic
 events were reported. The ponatinib group reported MI in 3.3% of cases and PAD in 3.6% of cases. In the dasatinib
 group, AMI was reported at 4%. The rate of AMI was 2.4% on bosutinib.
 A study from the Explorys database in patients with CML reported that the rates of arterial vascular events
 associated with nilotinib was 18.3% (n=110/600), compared to 19% with imatinib (n=520/2750) and 14.7% with
 dasatinib (n=100/680).191 The high rates of arterial events with imatinib were likely due to earlier introduction
 resulting in lead time bias.


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 Another study from the Canadian registry reported an excess of ATEs with nilotinib (n=4/37; 10.8%), compared to
 imatinib (n=4/75; 6.67%) and dasatinib (n=1/15).192 There was no significant difference between the two groups,
 although 2 of the events in the imatinib group (aortic stenosis) were not ischemic AEs.
 Puccetti, et al. reported an increased incidence of atherothrombotic events with nilotinib (n= 9/36; 25%), compared
 to imatinib (n=3/39; 7.6%), a difference which was statistically significant (p=0.019).193
 Hekmatjou, et al. reported no statistically significant differences in CV events between nilotinib (n=5/76; 6.6%)
 and imatinib (10/184; 5.4%; p=not significant) in a single center retrospective analysis with 7 years of follow-up.194
 Pagnano, et al. reported a statistically significant excess of CV events on nilotinib compared to imatinib (n=6/60
 vs. 0/117; P=0.001).195 There were also 5 events seen in the dasatinib arm of this study (n=91) (5.5%).
 Schwarz, et al. screened for PAD using both ABIs and Duplex ultrasonography among patients on nilotinib (n=63)
 and imatinib (n=53) and reported 13 PAD events in total.196 Twelve events occurred among nilotinib patients (3/31
 occurred among first line, 5/32 on second line and 4/32 on patients previously exposed to nilotinib) compared to 1
 in the imatinib arm (1.9%).
 Uncontrolled Abstracts.
 There were 7 CV events among 94 patients who received nilotinib as a front line TKI in a registry of CML
 patients.197 Six patients had an MI and one patient had stroke at 5.5 years of follow-up. There were no PAOD events.
 The mean time of exposure in these six patients was 28.6 months.
 In the ENESTpath study, 620 patients received nilotinib at 300 mg twice a day.198 During the
 induction/consolidation phase before randomization, 9.7% experienced a CV AE. In the TFR phase, three patients
 had SAEs: on cerebrovascular accident, one peripheral artery stenosis, and one Grade 3/4 myocardial infarction.
 A retrospective analysis of 3 multicenter trials of patients on nilotinib over a median follow up of 58 months by the
 GEMIMA-CML Working Party199 reported that 30/345 (8.7 %) patients on nilotinib experienced an ATE after a
 median duration of 25 months on nilotinib.
 Another retrospective study from France reported that 28 out of 202 (14%) patients treated with nilotinib 300 mg
 PO BID over a median follow-up of 61.5 months experienced an arterial event.200
 Another small study which included 31 patients on nilotinib reported the occurrence of MI at 2 months (n=1) and
 coronary atherosclerosis at 3 months (n =1).201
 A study of 53 patients on nilotinib from Turkey reported ischemic CV events among in 4 patients with 3 patients
 experiencing an MI, and one patient experiencing an ischemic cerebrovascular event.202
 Dengler, et al. reported on a large multicenter study from Germany across 145 centers which evaluated 500 patients
 on nilotinib at various doses over a median follow-up 672 days. Coronary heart disease was reported in 29 patients
 (6%) and PAOD was reported in 6 patients (5%)203 Another study from Russia reported 14 CV events (11.7%)
 among 119 CML patients on nilotinib (7 acute cerebrovascular events, 5 angina pectoris and 2 PAD events).204
 Jeon, et al., screened for peripheral artery disease, and reported that 17 of the 88 participants (19.3%) had evidence
 of peripheral artery disease.205




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 C.7. Cardiovascular Events with Nilotinib in Disproportionality Analysis. As part of my systematic review, I
 also reviewed several disproportionality analyses,206,207 and one data mining study of clinical trials.
 Disproportionality analyses are analyses of AEs reported to FDA and regulatory agencies by patients, physicians,
 and manufacturers. Because the data does not contain information on other variables and lacks a denominator, these
 analyses alone cannot be used to determine or refute a causal association in most cases. However, they contribute
 to the assessment of the causal association between nilotinib and cardiovascular events and provide evidence in
 support or against a causal association.
 Among the studies in FDA’s adverse reporting system (FAERS), Cirmi, et al. reported a statistically significantly
 elevated reporting odds ratio of ischemic heart disease with nilotinib (6.7, 95% CI 6.2 to 7.3; 1243 cases). 206
 ponatinib (2.9, 95% CI 2.4 to 3.5; 154 cases) and bosutinib (2.5, 95%CI 1.3 to 4.8; 11 cases). The median time to
 onset was 318 days for nilotinib and 280.5 for ponatinib.
 The analysis of the FAERS data by Cortes, et al., used another analytic method known as the MGPS to identify
 adverse events associated with dasatinib, imatinib and nilotinib. The MGPS provides a robust estimate of
 disproportionality using the EBGM. An EB05 ≥2 indicates a 95% chance that the event is reported twice as
 frequently. A result of EB05 ≥4 was used to determine the threshold of clinical significance and potentially
 attributable to the drug.208 In the cohort of patients aged 46-64 years, terms reaching EB05 ≥8 femoral artery
 stenosis, coronary artery stenosis, PAOD, and angina pectoris with nilotinib. In the cohort of patients aged 46-64
 years, terms reaching EB05 ≥ 4 to 8 ACS with nilotinib. In the oldest patient cohort, terms with EB ≥ 8 were femoral
 arterial stenosis, PAOD, intermittent claudication, coronary artery stenosis, and peripheral ischemia with nilotinib.
 Coronary artery stenosis (EB05 ≥8) and angina pectoris (EB05 ≥4) were observed in the first year after approval;
 PAOD (EB05 ≥8) and myocardial infarction (EB05 ≥4) reached the threshold in year 3. The remaining unique terms
 for nilotinib (reaching the threshold after 3 years), include both cardiac (ACS) and peripheral arterial events support
 a potential association between nilotinib and vascular disease.
 Abstracts.
 Several studies conducted in the French pharmacovigilance database which also reported on increased reporting
 rates of CV vents with nilotinib. One study noted a reporting odds ratio (ROR) of 1570.0 [95% CI 808.2-3049.8]
 for peripheral arterial occlusive disease with nilotinib.209 Another abstract noted that the reporting rate of all
 ischemic events including MI and arteriosclerosis (p<0.001) and coronary ischemic events (p<0.001) are
 statistically higher with nilotinib compared to dasatinib and imatinib.210 Rates of peripheral events, mainly
 manifesting as PAOD, were 6 to 8 times statistically significantly higher with nilotinib (P < 0.001). Cerebral
 ischemic events were rare and not different between groups (P=0.198). Another study evaluated the CV risk profile
 of 25 patients with PAOD disease between 2007 and 2014.211 It reported that most patients who received nilotinib
 and developed PAOD were above 60 years and had CV risk factors such as hypertension, diabetes, smoking or
 obesity.
 Data-mining approach. Another study which evaluated AEs reported in 8161 clinical trials from clinicaltrials.gov
 noted the occurrence of vascular AEs with TKIs.212 The study measured the proportional reporting ratio and the
 highest ratio for PAOD was seen with ponatinib (374.8), followed by nilotinib (31.4) and imatinib (7.4).212
 C.8. Cardiovascular Events with Nilotinib in Case Reports/Case Series. Although case reports are limited by
 the lack of information on denominators or comparisons and cannot by themselves establish causality, except in
 rare circumstances when the events are extremely rare, they can provide useful complementary evidence.143-164
 Several cases have described the rapid occurrence of PAD.156,158,159,163 One report describes the temporal occurrence
 of PAD and the rapid resolution of the disease in one patient after withdrawal of nilotinib.159 Specifically, the patient,
 who developed a 90% stenosis of his right superficial femoral artery while on nilotinib, experienced rapid
 improvement of clinical symptoms within two weeks of nilotinib being discontinued. His clinical symptoms
 disappeared, and his walking distance returned to normal. Importantly, in this case, there was clinical resolution
 despite the presence of occlusion, which implicates the vascular endothelium in the pathogenesis of PAD.


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 Some case reports describe the occurrence of a rapidly developing, severe atherosclerosis, particularly in the
 peripheral arteries, occurring among nilotinib patients with no known prior vascular disease, and, in some cases,
 with no known risk factors for cardiovascular disease.158,163
 Tefferi, et al. describe “A female patient developed severe and unrelenting PAD and coronary artery disease (CAD)
 after 3 years of treatment with nilotinib and the second patient died suddenly after receiving nilotinib therapy for 3
 weeks. None of the two patients had history of cardiovascular disease, tobacco use, or diabetes mellitus.”163
 Nilotinib has been shown to induce leg ulcers.154 Mirault, et al. reported on a similar case involving rapidly
 developing, severe, unexpected, and overt PAD, as well as silent stenosis in the renal and digestive arteries, of a
 55-year-old man without prior arterial disease or significant CV risk factors.158
 There are other case reports which have described the occurrence of MI,164 147 including MI with non-obstructive
 CAD,143,152 and vasospastic angina,144 with nilotinib. There are other case reports which describe the occurrence of
 ischemic stroke,144,145,155,160 and carotid artery stenosis.150 Stenosis has also been noted at other locations such as
 renal artery stenosis.162
 C.9. Studies Reporting on Plausible Biological Mechanisms on Nilotinib and Cardiovascular Events. I
 evaluated multiple in-vitro, in-vivo and human studies which report on plausible mechanisms of action between
 nilotinib and atherosclerotic-related events. 10,11,13,14,16-18,165-177 178
 Nilotinib raises proinflammatory and proatherogenic inflammatory markers,11,12 exerts direct pro-atherogenic and
 antiangiogenic effects on vascular endothelial cells and contributes to endothelial cell activation.10,13
 Nilotinib has also been shown to induce platelet thrombus formation,14 development of atherosclerotic plaque,15
 including insulin resistance and hyperglycemia,16 hyperlipidemia17,18 and arterial hypertension,19,20 all of which may
 contribute to the development of atherosclerosis. The key studies are discussed below:
 C.9.1. Nilotinib induces Proinflammatory and Pro-oxidative Changes. Multiple studies have noted the
 proinflammatory effects of nilotinib.11 12
 The Prospective study of tyrosine Kinase Inhibitors induced pro-AtherothROmbotic status in chronic
 myeloid leukemia patients)(KIARO) study evaluated the status of inflammatory markers among patients on
 dasatinib (n=38), imatinib (n=89), or nilotinib (n=59).11 The 10-year SCORE in patients assigned to nilotinib was
 significantly lower compared than that of patients assigned to imatinib or dasatinib (nilotinib S = 6.8 ± 2.8, imatinib
 S = 9.5 ± 4.8, dasatinib S = 8.2 ± 3.3; nilotinib vs. imatinib, p = 0.02, nilotinib vs. dasatinib, p = 0.043).
 The study demonstrated evidence of higher hs-CRP and oxidized LDL levels in the nilotinib cohort, as well as
 increased IL6/IL10 and TNFa/IL10 ratios, indicative of a prooxidative/proinflammatory status. TNFa/IL10 ratio is
 a marker of balance between pro and anti-inflammatory cytokines and was significantly higher in the nilotinib
 cohort at 6 and 12 months compared with imatinib (F =3.870, p=0.034 at 6 months and F= 4.010, p = 0.029 at 12
 months) and dasatinib (F = 3.620, p = 0.042 at 6 months and F = 3.960, p = 0.032 at 12 months). The IL6/IL10 ratio
 was also significantly higher in the nilotinib cohort compared with imatinib (F = 3.990, p = 0.031 at 6 months and
 F = 4.210, p = 0.018 at 12 months) and dasatinib (F = 3.800, p = 0.036 at 6 months and F = 4.020, p = 0.03 at 12
 months). Only the nilotinib cohort showed a significantly increased risk of oxidized LDL (F = 4.030, p = 0.026) or
 highly sensitive C-reactive Protein (F = 3.590, p = 0.042) at 12 months.
 The multivariate analysis showed a significant association between nilotinib treatment and increases in IL10 levels
 (HR 1.29, 95%CI 1.04–1.96 p <0.05), IL6/IL10 ratio (HR 1 .28, 95%CI 1.08–1.93 p <0.05), TNFa/IL10 ratios (HR
 1.21, 95%CI 1.03–1.90 p <0.05), oxLDL levels (HR 1.39, 95%CI 1.18–2.04 p <0.01) and LDL-cholesterol levels
 (HR 1.22, 95%CI 1.08–1.99 p <0.05). In the same study, 8.5% in the nilotinib cohort experienced an atherosclerotic
 occlusive event (AOE), which occurred after a median TKI exposure of 24.7 months. The other 5 patients who
 suffered an AOE in the study were on imatinib alone (n=2) or switched from imatinib to bosutinib or dasatinib.
 Nilotinib also showed a 3.1 times significantly increased risk of AOEs in multivariate analysis (HR 3.1, 95%CI


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 2.6–4.4: P <0.001), consistent with results from three-way ANOVA only for nilotinib in comparison to the other
 TKIs (F = 5.030, p = 0.009).
 Bocchia, et al. described in the section above (Section C.5.1.5) reported on a retrospective cohort study of 110
 patients with CML on nilotinib and imatinib and screened them for CV events, CV risk factors, pro/anti-
 inflammatory biochemical markers and detrimental ORL1 (Oxidized Low Density Lipoprotein Receptor 1) gene
 polymorphisms which encode for altered oxidized LDL-receptor-1.12 Nilotinib was associated with a significantly
 increased elevation of proinflammatory cytokines ox-LDL, sCD40L and endogenous thrombin potential (ETP)
 compared to imatinib, while levels of the anti-inflammatory cytokine IL-10 were significantly lower in the nilotinib
 groups.12 There were no significant differences in IL-6 and TNF-alpha levels. Dyslipidemia and G-allele of LOX-
 1 (Lectin-like oxidized low-density lipoprotein receptor-1 polymorphism) predicted CV events in the patients on
 nilotinib, whereas other traditional CV risk factors did not predict CV events.
 C.9.2. Nilotinib Contributes to Plaque Formation, Platelet Activation and Thrombosis. Studies have noted that
 nilotinib may contribute to plaque formation and thrombosis.14
 Ahlawiti, et al. evaluated the effects of nilotinib, imatinib and dasatinib on platelet function and thrombin in human
 and mouse models.14 Nilotinib potentiated a protease-activated receptor (PAR)-1 -mediated alpha granule release.
 Pre-treatment of mice with nilotinib significantly increased thrombus growth and stability, on type I collagen under
 ex vivo arterial flow conditions and increased thrombus growth and stability, effects not seen with imatinib or
 dasatinib. Blood from patients treated with nilotinib showed platelet adhesion, increased plasma soluble P- and E-
 selectin, sICAM-1 (Intercellular adhesion molecules, sVCAM-1), TNF-alpha, IL-6 levels and endogenous thrombin
 potential levels in vivo and concluded that nilotinib may cause adhesion of inflammatory cells to vascular
 endothelium resulting in plaque formation. They concluded that nilotinib can “potentiate platelet and endothelial
 activation and platelet thrombus formation ex vivo and invivo.”
 In another study, a non-CML mouse model was treated for 16 weeks with nilotinib at 10/mg kg and 30 mg/kg every
 day with ponatinib at 3 mg/kg and 10 mg/kg every day and with imatinib at 150 mg /kg twice a day. 173 Nilotinib
 increased Factor VIIa activity which has been shown may induce a prothrombotic state. 213
 Abstract. Nilotinib had a pro-atherogenic effect in a preclinical model of atherosclerosis.214 Eight-week-old Apo-E
 knockout mice were treated with imatinib (n=10), nilotinib (n=10) and placebo (n=10) with daily feeding and high
 fat diet for 12 weeks. Nilotinib showed an increase of atherosclerotic plaque size at the aortic sinus level: 462.1x103
 μm2 vs. 344.4x103 μm2 with imatinib or 394.9x103 μm2 with placebo (p<0.05) and at the thoracoabdominal aorta
 level (p<0.05). Plaques had greater infiltration of macrophages: 33.0±3.4% with nilotinib vs. 7.3±1.3% with
 imatinib and 12.6±1.1% with placebo (p<0.001). Nilotinib also modulated the immune response by decreasing IL-
 10 levels.214 Orally administered nilotinib profoundly accelerated atherosclerosis plaques formation in ApoE-/- mice
 receiving carotid partial ligation surgery in another study.215
 C.9.3. Nilotinib Exerts Pro-atherogenic and Anti-angiogenic Effects on Vascular Endothelial Cells. The
 adhesion of inflammatory cells to vascular endothelium is a critical step in atherosclerosis, as these molecules recruit
 monocytes and neutrophils and mediate plaque formation.216 Elevated levels of ICAM-1, VCAM-1 and E-selection
 is associated with cardiovascular mortality.217 Several in-vitro studies have evaluated the effects of nilotinib on
 endothelial cells and angiogenesis.13 10,176
 Grover-Proaktor, et al. compared nilotinib, ponatinib, dasatinib, imatinib and bosutinib on HUVEC (human
 vascular endothelial cell) function including tube formation and cell viability, as well gene expression of HUVEC.13
 They noted the presence of adverse effects on angiogenesis blood vessel related pathways and HUVEC function
 (tube formation and viability) with nilotinib. Nilotinib and ponatinib significantly reduced the viability of HUVEC,
 while dasatinib had a slight effect and imatinib and bosutinib had no effect. In terms of tube formation necessary
 for angiogenesis and proper endothelial cell function, at 4 hours, dasatinib and ponatinib inhibited HUVEC tube
 formation while the other three TKIs, including nilotinib, had no such effect. Gene expression profiling also noted



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 that ponatinib, dasatinib and nilotinib samples were significantly enriched in many apoptotic pathways and enriched
 in angiogenesis and blood vessel related pathways.
 Hadzijusufovic, et al. evaluated the incidence of AOD and the in-vitro and in-vivo effects of nilotinib and imatinib
 on vascular endothelial cells to better understand the mechanisms of atherosclerosis.10 In this study, nilotinib
 induced expression of the pro-atherogenic surface antigens ICAM-1, VCAM-1 and E-selectin in HUVEC, whereas
 no comparable effects were seen with imatinib. Nilotinib also suppressed endothelial cell proliferation, migration
 and tube formation and bound to a distinct set of target-kinases, relevant to angiogenesis and atherosclerosis. In
 addition, nilotinib augmented atherosclerosis in Apo E -/- mice and blocked reperfusion and angiogenesis in a
 hindlimb-ischemia model of arterial occlusion, whereas imatinib showed no effects. Clinically overt AOD events
 tended to accumulate over time in nilotinib treated patients. After median observation of 2 years, the AOD frequency
 was statistically significantly higher 29.4% in the nilotinib group compared to less than 5% in age and sex-matched
 controls (P<0.05).10 Nilotinib associated AOD continued to accumulate steadily over time and increased to 38.9%
 after 3 years and 47.2 2% after median observation time of 3.7 years. As the authors noted this argues against a
 simple rebound effect from imatinib withdrawal. After 3.7 years 39 symptomatic AOD events were noted in 36
 patients resulting in 32 events per 100 patient years, which exceeded the incidence of symptomatic AOD in the
 general population with a HR 4.72 (95% CI 2.8-7.9; P<0.01). Metabolic parameters also showed an increased in
 fasting glucose and cholesterol levels. The authors concluded that “Nilotinib exerts direct pro-atherogenic and anti-
 angiogenic effects on vascular endothelial cells, which may contribute to the development of AOD in patients with
 CML.” They reported similar findings and noted that nilotinib impaired migration and growth of human endothelial
 cells and may act as co-trigger of atherosclerosis in several overlapping abstracts. 218-223
 Sugekawa, et al. evaluated the effects of nilotinib, imatinib and dasatinib on vascular endothelial cells in vitro.176
 Serum levels of IL-1β were significantly elevated in CML patients treated with nilotinib compared to those on other
 TKIs (n=14 vs n=16; 3.76 +/- 1.22 pg/ml vs. 0.27 +/- 0.77 pg/ml: P<.05), in association with down regulation of
 miR-p. Exposure of human endothelial cells to nilotinib also significantly increased the expression of adhesion
 molecules (ICAM1, VCAM1 and E-selectin) in a IL-1ß dependant manner Only nilotinib induced expression of
 IL-1ß by vascular endothelial cell. This stimulated the adhesion of monocytes to vascular endothelial cells in
 association with an increase in adhesion molecules.
 Mori, et al. also noted that nilotinib use (n=26) among patients with CML was associated with a significant increase
 in the risk of IL-1ß levels (3.22 ng/ml vs 0; P<0.001) among other TKIs such as imatinib (n=14), dasatinib (n=11),
 bosutinib (n=5) and ponatinib (n=1) which may increase the risk of cardiovascular events.172
 The results from a few studies have been mixed.168,170 In one study, although nilotinib caused a statistically
 significant decrease in cell proliferation and increased the secretion of tissue plasminogen activator and
 plasminogen activator-1 and von-willibrand factor in a dose dependent manner in healthy human carotid artery
 endothelial cells, the effect on the secretion of endothelin -1 and nitric oxide was inconsistent in that it was lower
 at lower concentrations of nilotinib and higher at higher concentrations of nilotinib, which limits any inferences that
 can be drawn from that study.170 Another study which involved rabbits fed a high cholesterol diet, which induced
 significant elevations in triglycerides, total cholesterol, high density cholesterol and LDL cholesterol and
 endothelial impairment showed that nilotinib administration may have potentially attenuated endothelial
 dysfunction.168
 Abstracts. Haguet, et al. conducted several studies evaluating the potential endothelial effects of nilotinib.224,225 An-vitro
 study concluded that dasatinib, nilotinib and ponatinib facilitate atherosclerosis development by inducing apoptosis,
 necrosis or inhibiting cell proliferation and impair endothelial permeability, enabling migration and trapping of
 lipoprotein into intima.224,226
 C.9.4. Nilotinib increases Rho-Associate Coiled-Coil Containing Kinase (ROCK) Activity.
 Yu, et al., noted that among 53 CML patients with leukemia and 15 control subjects without leukemia that untreated
 patients with leukemia have higher leukocyte ROCK activity than control subjects. 178 Patients on nilotinib had


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 higher ROCK activity than those on imatinib. Patients with leukemia with ROCK activity above the third quartile
 have an odds ratio >5 for CVAEs. Nilotinib, dasatinib, and ponatinib (but not imatinib) increased ROCK activity
 in a dose-dependent manner in human aortic endothelial cells (ECs).
 C.9.5. Nilotinib Induces Plaque Formation.
 Sarlon-Bartoli, et al. conducted a retrospective cohort study of 74 patients on nilotinib (median exposure time 22
 months) in France.15 They conducted ultrasound evaluation of intracranial carotid arteries, extracranial vertebral
 arteries, subclavian arteries, abdominal aorta, digestive and renal arteries, lower extremity arteries including
 hypogastric arteries. They described vascular arterial anomalies as clinical or US abnormalities. US abnormalities
 were arterial plaque, stenosis, or occlusion, without symptoms. Approximately one third of participants had vascular
 arterial anomalies (n=25/74). Patients on nilotinib therapy presented mostly with echolucent or hypoechogenic
 plaques, which are related to instable atheroma and double the risk of stroke.227 36% of patients with no risk factors
 or only one risk factor developed vascular arterial anomalies.
 Abstracts. Serial Doppler US evaluations of multiple vessels were conducted yearly and at 3-6 months if
 abnormalities were detected among 150 patients on TKIs in one study.165 Ten patients in the study developed severe
 new onset PAOD (grade 3 or 4) requiring revascularization (imatinib (1), bosutinib (1), ponatinib (3) and nilotinib
 (5)). Another cross-sectional study examined the impact of nilotinib (n=15) compared to age and sex matched
 controls and noted the occurrence of focal rather than systemic atherosclerosis.228 After a median duration of
 exposure of 1,299 days, atherosclerotic plaques were statistically significantly more likely to occur in the nilotinib
 group (53% vs. 13%; p=0.007). There were no statistically significant differences in intimal thickness, beta-stiffness
 index, ankle blood pressure index brachial pressure.
 C.9.6. Nilotinib Increases Risk of Hyperglycemia and Hyperlipidemia. Several studies have reported on the metabolic
 effects of nilotinib.16-18,166,169,174,175,177 Nilotinib can induce insulin resistance and hyperglycemia,16 hyperlipidemia17,18
 and arterial hypertension,19,20 all of which may contribute to the development of atherosclerosis. Both RCTs and
 observational studies have indicated an increased risk of hyperlipidemia and hyperglycemia with nilotinib.

 All the RCTs have reported an increased risk of cholesterol and glucose with nilotinib compared to imatinib. In the
 ENESTnd trial blood cholesterol increased in 16.8 %, 17.3%, 1.4% of participants in the nilotinib 300 mg BID, nilotinib
 400 mg BID and imatinib arm, respectively. Grade 3/4 blood cholesterol elevations were also reported in 0.4%, 1.1%
 and 0% in the nilotinib 300 mg BID, nilotinib 400 mg BID and imatinib arms, respectively. Blood glucose elevations
 similarly were noted in 12.5%, 13% and 2.5% in the nilotinib 300 mg BID, nilotinib 400 mg BID and imatinib arms,
 respectively.3 Grade 3/4 blood glucose elevations in 2.5%, 3.6% and 0% in the nilotinib 300 mg BID, nilotinib 400 mg
 BID and imatinib arms, respectively, were also found. The ENESTChina trial also reported an excess of newly occurring
 or worsening glucose (35.3% vs. 27.3%) and lipid elevations (43.6% vs. 8.2%) in the nilotinib arm compared to imatinib
 arm. Two patients in the nilotinib arm developed grade 3 elevations.4 In the LASOR trial newly occurring or worsening
 glucose elevations in 42% on nilotinib vs 28% on imatinib 600 mg once daily before cross-over.1 In the ENESTcmr
 study, hyperglycemia occurred in 5% patients on nilotinib compared 3.39% on imatinib.229

 Kim, et al. noted statistically significant elevations for total cholesterol were noted for both first line nilotinib (209
 mg/dl, 95% CI 142-306 vs. imatinib 164 mg/dl, 95% CI 104-258; P<0.0001) and second line nilotinib (222, mg/dl,
 95% CI 146-310 vs. imatinib 164 mg/dl, 95% CI 104-258; P<0.0001) compared to first line imatinib.93 Statistically
 significant elevations for LDL cholesterol (mg/dl) were reported for both first line nilotinib (135 mg/dl, 95% CI 33-
 215 vs. imatinib 95 mg/dl, 95% CI 47-152; P<0.0003) and second line nilotinib (139, mg/dl, 95% CI 77-210/mg
 vs. imatinib 95 mg/dl, 95% CI 47-152; P<0.0001) as compared to first line imatinib.
 Petrikova, et al. reported a statistically significant increase in total cholesterol and small dense LDL cholesterol
 with nilotinib (n=50) compared to imatinib ( n=32) after a median follow up of 61.3 months.17 There was a
 statistically significant increased risk of small dense LDL cholesterol in the nilotinib vs imatinib (0.99±0.51 mmol/l
 vs. 0.73±0.41 mmol/l; p=0.02). New onset dyslipidemia was present in 42.0 % patients in the nilotinib arm
 compared to 15.6% patients in the imatinib arm (p=0.0152), a difference which was statistically significant.


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 Similarly, 43.7% patients in the imatinib group and 82.0% patients in the nilotinib group had non-optimal lipid
 values, a difference which was statistically significant (p=0.0067). There was a statistically significant increased
 risk of increases in total cholesterol values in the nilotinib vs imatinib (5.38±1 mmol/l vs. 4.57±1.05mmol/l;
 p=0.01). Similar statistically significant increases were seen in increases in the levels of LDL cholesterol and HDL
 cholesterol. 14% in the nilotinib group experienced a cardiovascular event including MI (4%), stroke (4%) and PAD
 (10%). There were no events in the imatinib group.
 Lurlo, et al. conducted a cross-sectional analysis and compared (n=36), imatinib (n=92) and dasatinib (n=40)
 among patients with CML. They showed a statistically significantly increased risk of several adverse metabolic
 parameters such as Homeostatic Model Assessment-Insulin Resistance, fasting plasma glucose and insulin C-
 peptide with nilotinib compared to imatinib and dasatinib after adjusting for center, gender, age, body mass index,
 and length of treatment.16 The incidence of LDL cholesterol, diabetes and metabolic syndrome was also higher in
 the nilotinib group, but did not reach statistical significance. They excluded patients with diabetes, impaired fasting
 glucose or metabolic syndrome at baseline and interpretation was limited by the cross-sectional design which limits
 inference on temporality.
 Yu, et al. evaluated the occurrence of hyperglycemia and elevation of total cholesterol, LDL cholesterol and
 triglycerides in a population with normal glucose and lipid levels at baseline and no risk of cardiovascular disease.177
 They compared imatinib (n=245) vs. nilotinib (n=102) and dasatinib (43). The median age was 36 years, and the
 median follow up was 21 months in the nilotinib group. Mean fasting glucose, triglycerides, cholesterol, and LDL
 cholesterol increased significantly in the nilotinib (and dasatinib) cohort compared to the imatinib cohort. Nilotinib
 (and dasatinib) were both significantly associated with an increase in the levels of cholesterol and glucose compared
 to imatinib.
 Hornak, et al. conducted a prospective study of 57 patients treated with nilotinib (n=23) or imatinib (n=34), and
 reported a significant increase in total cholesterol, LDL cholesterol and HDL-cholesterol 6 months after the
 beginning of the nilotinib therapy.169 However, no CV events were reported because of the limited duration,
 younger age, and the lower prevalence of comorbidities in the nilotinib cohort.
 Rea, et al. reported on a prospective cohort of 27 patients on nilotinib followed for 12 month who were not on lipid
 lowering therapy at baseline.174 Compared to baseline, HDL-C concentrations statistically significantly increased
 by a mean of 0.14 g/L at three months: 044 g/dl (SD 0.15) to 0.58 g/dl (SD 0.18). LDL cholesterol returned to
 normal after cessation of nilotinib. There was a statistically significantly increased risk of total cholesterol by a
 mean of 0.45 g/L with mean plasma concentration of 2.24 g/L (SD: 0.47) (P< 0.0001) at 3 months. There was a
 statistically significantly increased risk of mean LDL-C concentrations, with mean LDC cholesterol at baseline and
 three months were 1.13 g/L (SD: 0.30) and 1.46 g/L (SD: 0.38), respectively (P<0.0001). There were no significant
 changes in cholesterol levels after 3 months. Two patients developed PAD, one of which was asymptomatic at 46
 months. No significant changes in lipid parameters were observed in patients on ponatinib (n=8).
 Caocci, et al evaluated cholesterol level in 357 patients on nilotinib after a median follow-up of 4 years (median
 age 50 years).18 The 5-year cumulative incidence of AOE was 15.9%. Patients with cholesterol levels > 200 mg/dL
 and LDL > 70 mg/dL 3 months after treatment showed a significantly higher incidence of AOEs (21.9 ± 4.6% vs
 6.2 ± 2.5, P = 0.003).
 The mechanisms of hyperglycemia induced by nilotinib are uncertain but could include decline in adiponectin
 levels.175 In a small in-vitro and in-vivo study by Sadiq, et al, imatinib resulted in a significant increase in plasma
 adiponectin levels. However, with second line nilotinib, there was a non-significant decrease at both 3 (15.2 ± 1.8
 mg/l; p=NS) and 12 months (14.6 ± 1.7mg/l; p=NS) when compared to baseline levels (21.3 mg/L). In the same
 study nilotinib cause a dose-dependent downregulation of the adipogenic regulatory genes peroxisome proliferation
 activated-receptor gamma (PPAR-γ)
 The results of one study were mixed and showed that nilotinib did not consistent modifications of cholesterol
 metabolism.166


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 Abstracts. A retrospective analysis of participants (n=62) enrolled in the ENESTnd and GIMEMA WP trials noted
 no statistically significant effect of nilotinib on cholesterol elevations.166 The cholesterol levels were not modified
 during the first year of treatment (p = ns). The same analysis showed a non-statistically significant increase in the
 risk of fasting glucose from 98 mg/dl to 115 mg/dl (p=0.07) after a median follow-up of 1.5 years. Grade 3/4
 hyperglycemia developed in 11% of patients, both of which are clinically significant. Rea, et al. reported on 25
 patients on nilotinib who were not on any lipid lowering therapy. Compared to baseline at month 3, median total
 cholesterol (P<0.0001), LDL-cholesterol (p=0.00012) and HDL-cholesterol had statistically significantly increased
 (P<0.0001) by a mean of 26.9%, 31.8% and 36.3%, respectively.230 Another study assessed metabolic changes and
 cardiovascular safety during treatment with nilotinib (n=133), in a single arm multicentric Italian GIMEMA trial
 (0811).231 A significant increase in glucose levels were found at 1 year (p<0.001). The study noted a significant
 reduction of triglycerides (p<0.001) and a significant increase of cholesterol, both in LDL and HDL fractions
 (p<0.001). 3.8% of patients experienced PAOD and 4.6% had ischemic heart disease. In another study of 10 patients
 followed over 3 months, nilotinib increased fasting glucose and 1 and 2-hour post-prandial glucose after oral glucose
 tolerance tests.232 Two patients developed type 2 diabetes and two patients developed impaired glucose tolerance.
 When compared to baseline, there was a rapid increase in insulin resistance as measured by the Homeostatic Model
 Assessment-Insulin Resistance, compensatory hyperinsulinemia, and an anti-adiponectin effect.
 C.9.7. Nilotinib Increases the Risk of Hypertension. Both RCTs, meta-analyses of RCTs and observational
 studies have indicated an increased risk of hypertension with nilotinib compared to imatinib.19
 A meta-analysis of 3 RCTs (ENESTcmr, LASOR and ENESTnd) reported that compared to imatinib, nilotinib was
 associated with a statistically significantly increased risk of hypertension (RR 2; 95% CI; 1.39-2.88,
 I2=0%,p=0.0002).19 The pooled proportion of hypertension was 8 % with nilotinib (95% CI 0.04-0.13). The same
 meta-analysis noted that the greatest risk of hypertension was noted with ponatinib (RR 9.21; 95% CI 2.86-29.66,
 p=0002). A cross-sectional study measured clinical and 24-hour ambulatory BP among 26 participants on imatinib
 and nilotinib each and 9 participants on dasatinib.20 The average duration of treatment was 43 months in the nilotinib
 group. Patients treated with nilotinib showed a significantly increased risk of uncontrolled hypertension in
 ambulatory BP (≥ 130/80 mmHg) vs imatinib/dasatinib (45.5% vs 20%; P = 0.041).
 C.9.8. Other mechanisms. The role of other mechanisms in the development of atherosclerosis with nilotinib is
 unclear. The inhibition of several kinases involved in vascular cell homeostasis such as DDR1, KIT, and/or PDGFR
 may be a potential mechanism implicated in nilotinib-induced vascular events.233 However such kinases are also
 inhibited by imatinib. Nilotinib impairs mitochondrial function and induces formation of reactive oxygen species
 under clinically relevant concentrations and induce endoplasmic reticulum stress resulting in apoptotic cell death.171
 C.10. Assessment of Dose and Duration-Responsiveness of Nilotinib and Cardiovascular Events. There is
 evidence of a dose-response and duration response effect of nilotinib on CV events in RCTs, meta-analyses and
 observational studies which evaluated different doses of nilotinib. The strongest proof of a dose-response effect
 (increasing risk with increasing use of nilotinib) comes from my meta-analysis which reported on the risk of
 cardiovascular events with nilotinib 400 mg twice daily vs. imatinib and nilotinib 300 mg twice daily vs. imatinib.
 The risk of CV events was higher with nilotinib 400 mg PO BID (OR 6.36, 95% CI 4.1-9.72) compared to nilotinib
 300 mg po BID OR 4.97 (2.94 to 8.37). Haguet, et al. reported similar results in their meta-analysis with nilotinib
 400 mg PO BID (5.19, 95% CI 3.14 to 8.57) compared to 300 mg PO BID (3.32, 95% CI 1.56 to 7.09). 6 Section
 C.2.7. Table 13 and Figure 14 provide further evidence of dose-response and duration response from the ENESTnd
 trial. Not only were the rates of CV events higher in the nilotinib 400 mg PO BID arm compared to the nilotinib
 300 mg PO BID, but the authors also noted “…that the cumulative frequency of patients with cardiovascular events
 increased linearly with time on treatment in each arm.” This is also evidence of a duration response effect.
 The findings of a dose-response and duration effect in RCTs are bolstered by data from observational studies.
 Fossard, et al noted a higher risk among those in the highest dose category of nilotinib (Gray test P =0.005),9 with
 the cumulative incidence of CVEs in the highest dose category on nilotinib 800 mg daily was (38%) versus 600 mg
 daily or less was 10%, without any plateau, suggesting that hazards increased with time. The multivariate
 subdistribution adjusted HR in the 800 mg daily dose category was statistically significantly elevated HR 4.96 [1.46

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 to 16.93; P=0.01] compared to 1.19 [95% CI 0.17 to 8.24; P=0.86] in the 300-400 daily dose category suggestive
 of a dose-response effect. The HR of the 800 mg dose of nilotinib was higher and statistically significant [HR 4.96,
 1.46 to 16.93, P=0.01] compared to the 300-400 mg dose. 9 They concluded that “interestingly, these CVEs are
 delayed (more than half occur ≥50 months of treatment), and worryingly, seem to increase extensively over time.
 Moreover, there is a relationship between CVEs and higher doses of nilotinib (where the frequency of CVEs is
 twice as much as that found in lower doses).” In another study after median observation of 2 years, the AOD
 frequency was statistically significantly higher 29.4% in the nilotinib group compared to less than 5% in age and
 sex-matched controls (P<0.05).10 Nilotinib associated AOD continued to accumulate steadily over time and
 increased to 38.9% after 3 years and 47.2 2% after median observation time of 3.7 year.
 The dose-dependent increased risk of PAOD is acknowledged by the authors of the European Leukemia Net
 Guidelines. 234
 C.11. Assessment of Time to Cardiovascular Event. It is also important to consider time to CV event with
 nilotinib in the assessment of causality. RCTs such as the ENESTnd trial and observational studies show that
 vascular adverse events occur earlier in the nilotinib arm (compared to imatinib) provide further strengthening of
 the evidence that nilotinib increases the risk of cardiovascular events. Several controlled observational studies also
 noted the earlier occurrence of CV events in nilotinib compared to comparators. Chen, et al. reported that the
 vascular adverse event rates begin to separate in the first year and median time to event values was 1.6 years on
 nilotinib compared to 1.9 years on imatinib. The cumulative incidence curves separated in the first year after
 initiation of TKIs was statically significant. (Log Rank P=0.0073).8 Fossard, et al. noted that CVEs occurred after
 a median of 47 months, with a regular increase over years of CVEs, in the nilotinib group with findings of 3.06%
 (2.72-3.4) at 12 months, 5.1% (4.66-5.54) at 24 months, 6.12% (5.64-6.6) at 36 months, 10.2% (9.6-10.81) at 60
 months, compared to 0% at each of these time points in the imatinib group (P<0.001).9 Fujioka, et al. reported an
 excess risk of VAEs with nilotinib compared to imatinib or dasatinib with the median time to VAE development
 was the shortest in the nilotinib group (29.3 months) compared to both the imatinib (95.1 months) or dasatinib (46.8
 months) groups.103 Another study noted a trend toward an earlier occurrence of CVEs in patients treated with
 nilotinib in comparison with dasatinib (P =.05).106Another study also noted that median time of nilotinib exposure
 to event was shorter (30 months) compared to the three events in the imatinib arm (125, 132, and 102 months)12
 Another study noted that number of atherosclerotic cardiovascular events on nilotinib increased steadily over time
 over a median observation period of 3.7 years.10
 C.12. Assessment of Atherosclerosis with Nilotinib by Federal Agencies/Other Societies. I also reviewed the
 recommendations of key federal agencies and guidelines for context. All these guidelines and assessments primarily
 relied on the clinical trial data discussed above.
 The European Leukemia Net guidelines note that nilotinib increased the risk of PAOD as compared to imatinib in
 a dose-dependent manner. 234 Both nilotinib and ponatinib increased the risk of PAOD as compared to the rest.
 Importantly, they also noted that highest doses may be associated with higher risk as in ENESTnd trial, and that
 while most of the events occurred within the first 48 months, some occurred as early as 4 months or as late as 5
 years. They conclude that the PAOD may be irreversible. They state “excess risk of peripheral arterial occlusive
 disease (PAOD) appears to be highest with ponatinib, then with nilotinib, and almost negligible with the
 rest.”234 Both with ponatinib and nilotinib, higher doses seem to be associated with more risk.“ Although the
 vast majority of documented cases of PAOD occurred within the first 48 months of therapy, some have been seen
 as early as 4 months, or as late as 5 years.”




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 Earlier, in 2013, Health Canada issued a warning about the development of nilotinib-associated atherosclerosis
 based on review of clinical trials and the global safety database (Jan 2015-January 2013) which identified 277 cases
 of atherosclerosis.235

 The product label notes a warning based on data from the 5 year update of the ENESTnd trial.236 “Cardiovascular
 events, including arterial vascular occlusive events, were reported in a randomized, clinical trial in newly
 diagnosed CML patients and observed in the postmarketing reports of patients receiving Tasigna therapy [see
 Adverse Reactions (6.1)]. With a median time on therapy of 60 months in the clinical trial, cardiovascular events,
 including arterial vascular occlusive events, occurred in 9% and 15% of patients in the Tasigna 300 and 400 mg
 twice daily arms, respectively, and in 3.2% in the imatinib arm. These included cases of cardiovascular events,
 including ischemic heart disease-related cardiac events (5% and 9% in the Tasigna 300 mg and 400 mg twice
 daily arms, respectively, and 2.5% in the imatinib arm), peripheral arterial occlusive disease (3.6% and 2.9% in
 the Tasigna 300 mg and 400 mg twice daily arms, respectively, and 0% in the imatinib arm), and ischemic
 cerebrovascular events (1.4% and 3.2% in the Tasigna 300 mg and 400 mg twice daily arms, respectively, and
 0.7% in the imatinib arm).

 SECTION D. Limitations in the Body of Evidence. There are some limitations to my analysis which reflect the
 quality of available data.
 D.1. Systematic Search. It is possible that the systematic search, despite its comprehensive nature, missed a few
 studies. However, we identified all RCTs included in prior meta-analysis by Haguet, el al.6 and included several
 observational studies, case reports and mechanistic studies.
 D.2. Combining Long Term RCTs with Short Term RCTs in Meta-Analysis. The lack of patient level data in
 meta-analysis of studies that combine long and short term RCTs assumes that relative risks remain relatively stable
 over time. The authors of the ENESTnd 10 year update acknowledge “the incidence of newly occurring CVEs
 displayed in a yearly time window seemed similar across years in all arms among patients on long term treatment.”3
 A similar approach to incorporate RCTs of different durations was taken by Haguet, at al.6 To account for this
 limitation, I conducted a sensitivity analysis (Sensitivity analysis # 4) which showed that even after excluding the
 longest RCT, the combined results of a meta-analysis of short-term trials still showed a statistically significant
 increased risk of cardiovascular events with nilotinib vs. imatinib. Separately, there was a statistically significant
 increased risk of CV events, IHD, PAOD and ischemic stroke in the ENESTnd study. (Figure 2- Figure 5).
 D.3. Confounding in observational studies. Several observational studies did not adjust for CV risk factors and
 the results from those studies should be viewed with caution. All such studies were rated as being poor quality.
 Similarly, even the studies that adjusted for some risk factors did not adjust for many lifestyle variables. I also
 graded the quality of adjusted observational studies based on the NOS Scale and placed higher emphasis on good
 quality studies as supportive evidence for or against causation. I drew the strong inference can be drawn from meta-
 analysis of RCTs, because randomization controls for both known and unknown confounders.
 D.4. Adjudication of Cardiovascular Endpoints. Another limitation is that none of these trials were designed to
 measure CV events as primary outcomes. CV events were instead reported as adverse events and/or serious adverse
 events. Adjudication of such events may result in different estimates, but in an RCT, such estimates are likely to
 affect both arms equally.55 The role of adjudication of major clinical events is uncertain and studies suggest that
 adjudication did not improve the ability to determine treatment effects237 and has not been shown to have an effect
 in cardiovascular trials, irrespective of masking.238 Any weaknesses in ascertainment in an RCT should affect the
 intervention arms equally and likely to be non-differential and will likely bias estimates toward null. These biases
 are further compounded when such analyses are initiated retrospectively as such adjudication can only lower the
 total number of events reducing the power to detect an effect. A retrospective adjudication of CV events reported
 in the Ponatinib for Chronic Myeloid Leukemia (CML) Evaluation and Ph+ Acute Lymphoblastic Leukemia
 (PACE) trial over a 5 year follow-up with ponatinib (a drug that has been established as a cause of atherosclerotic
 CV events) systematically reduced the overall the number of CV events from 25% before adjudication to 17% after


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 adjudication.239 This suggests an underestimation of the established CV risk of ponatinib.
 D.5. Increased Incidence of Atherosclerosis in Patients with CML. Another criticism levelled at the causal
 association between nilotinib and CV disease is the hypothesis that these results may reflect increased risk of CVD
 or PAOD in patients with CML. This hypothesis has not been firmly established. As noted in Section A.6, studies
 which control for cardiac risk factors, have found rates of CV disease in patients with CML similar to age and sex
 matched controls. Even if there were to be an increased risk of atherosclerosis in patients with CML, an RCT
 controls for both measured and unmeasured confounders at baseline. The two arms of the ENESTnd trial showed
 participants that were comparable in terms of age, sex, and CV risk factors. The median age was 47 years for the
 nilotinib 300 mg PO BID arm and nilotinib 400 mg PO BID arm and 46 years for the imatinib arm.240 As noted in
 the section on the ENESTnd trial, the proportion of participants in the low risk < 10 % Framingham risk score was
 comparable across arms nilotinib 300 mg twice daily (68.7%); nilotinib 400 mg twice daily, (66.2%); and imatinib
 (68.9%).183
 D.6. Comparisons with other TKIs. Another criticism to the body of evidence on nilotinib and its increased risk
 of CV events is that it has been noted to occur mainly in comparison to imatinib. There are no RCTs which directly
 compared nilotinib to TKIs other than imatinib.
 Imatinib. An alternative and erroneous interpretation of the data is that these represent a protective effect of
 imatinib. A small retrospective study (n=39) suggested that imatinib may modestly lower blood glucose levels
 (mean 9 mg/dl), which may attenuate atherosclerosis,241 In a model of diabetic mice, it reduced the development of
 atherosclerotic plaque area.242 It has also been shown to induce porcine instent-restenosis.243 However, prospective
 information on these purported beneficial effects is not available. Examining comparisons other than nilotinib in
 clinical trials, the International Randomized Study of Interferon and STI571 (IRIS), which randomized 553 patients
 with CML to imatinib and 553 patients with CML to interferon alpha and cytarabine did not show any such
 protective CV effect of imatinib.244 Even after a median of 60 months of follow-up, the study failed to detect any
 ischemic CV protective effect of imatinib. CHF was reported as being related in 1 patient (<1%). The final analysis
 of the IRIS trial also did not report such protective effects.245 Besides, meta-analysis have also showed that nilotinib
 increases the risk compared to no-TKIs group.
 Dasatinib. In the Dasatinib Versus Imatinib Study in Treatment-Naive CML Patients (DASISION) trial, which
 compared 258 CML patients randomized to dasatinib vs. 258 patients randomized to imatinib, arterial ischemic
 events were uncommon in both the dasatinib (5%) and imatinib (2%) treatment arms at five years.246 Seven of the
 10 events occurred in one year and most patients started medication without problems. Although conclusions from
 comparisons across trials should be viewed with caution, results from the ENESTnd at comparable time points of
 5 years show an excess risk with nilotinib while rates of imatinib are similar to that of the DASISION trial. In the
 ENESTnd trial, the risk of CV events at 5 years was 7.5%, 13.4% and 2.1% patients in the nilotinib 300-mg twice-
 daily, nilotinib 400-mg twice-daily and imatinib arms.183 The rates of nilotinib appear to be higher than that of
 dasatinib.
 A pooled analysis combining trials of dasatinib in patients with CML such as DASISION and patients with prostate
 cancer which evaluated dasatinib or placebo plus docetaxel/prednisone (READY) reported that ischemic events
 only occurred in 2-4% of dasatinib treated patients, and based on observed vs. expected standardized incidence
 ratios, dasatinib does not increase the risk of ischemic CV events compared to the general population.247
 Meta-analyses which have evaluated both nilotinib and dasatinib also suggest a higher risk of ischemic CV
 events with nilotinib. Haguet, et al. noted that the OR for a statistically significant increased risk of arterial
 occlusive events was higher with nilotinib (OR 3.89 95% CI 2.47 to 6.11) compared to dasatinib (OR 2.68, 95%
 CI 1.72 to 4.17)6 based on meta-analysis of RCTs (6 RCTs of dasatinib). Another meta-analysis (4 RCTs and 25
 observational studies) reported that the pooled IR of CV events was higher with nilotinib (8%, 95% CI 6-10%)
 compared to dasatinib (2%, 95% CI 1-2%).87 Earlier in 2016, Douxfils, et al. noted similar ORs for VAEs when
 nilotinib and dasatinib was compared to imatinib, 88 based on an analysis of 10 studies. But this analysis appears to
 be obsolete


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 Observational studies have shown similar excess risks with nilotinib compared to dasatinib. Yang, et al. noted an
 excess risk of ATEs with nilotinib compared to dasatinib (20.69/1000 PYs vs. 9.02/1000 PYs),7 although these
 differences were not statistically significant in competing risk analysis (Subdistribution HR of 1.65 (95% CI 0.5 to
 5; P=0.4123). Chen, et al. also reported an excess risk of vascular adverse events compared to dasatinib (19.2/1000
 PYs vs. 15.3/1000 PYs) but did not report on tests of statistical significance. Observational studies have noted an
 increased risk of cardiovascular events with nilotinib compared to dasatinib,53,96,100,102-104,106,107,109,110,112,114 but few
 studies reported tests of statistical significance despite an excess risk.96,102,106 Caoci, et al. reported a significantly
 higher frequency of PAOD with nilotinib compared to dasatinib.102 A few smaller studies have reported no
 statistically significant differences in the risk of cardiovascular events with nilotinib compared to dasatinib, 92 likely
 due to limited statistical power. Jain, et al. noted a higher risk of AT-AEs with dasatinib compared to nilotinib but
 had significant limitations as discussed above.90
 Evidence from mechanistic studies also suggests that compared to dasatinib, nilotinib significantly increased the
 ratio of proinflammatory to anti-inflammatory cytokine ratios (TNFα/IL-10 and IL6/IL10 ratios).11 Dasatinib also
 has adverse effects on glucose and lipid metabolism compared to imatinib.177 Dasatinib affects angiogenesis/blood
 vessel pathways and HUVEC function (tube formation/viability) similar to ponatinib and nilotinib.13
 Ponatinib has been established to cause an increase in the risk of cardiovascular events. In the Ponatinib Ph(+)
 ALL and CML Evaluation (PACE) trial of ponatinib versus imatinib, incidence of arterial vascular events on
 ponatinib was 31% at 5-year follow-up (n=270 participants).21
 SECTION E. Assessment of the Association Between Nilotinib and Cardiovascular Events Using Bradford
 Hill Viewpoints.
 The evidence above has clearly demonstrated a statistically significant elevation in the risk of ischemic
 cardiovascular events including IHD, PAOD and ischemic stroke with nilotinib across study designs including
 RCTs,3 meta-analysis and observational studies among patients with CML. Having established statistical
 significance of an increased risk, I will now evaluate the cumulative body of evidence on nilotinib and ischemic
 CV events as detailed extensively above using the Bradford Hill viewpoints.5 I have carefully considered the issues
 of bias and confounding, particularly among the observational studies, as well as the limitations in the body of
 evidence
 E.1. Strength of Association. This viewpoint assesses the degree or magnitude of the effect to which the exposure
 is associated with the outcome. According to Sir Bradford Hill, the more likely the exposure is associated with the
 outcomes, the more likely it is to be causal.5 Here, the evidence shows a strong association between nilotinib and
 the development of ischemic CV events, including PAOD, IHD, and stroke in RCTs, meta-analysis and high-quality
 observational studies. As summarized in the meta-analysis of four RCTs which compared nilotinib to imatinib,1-4
 there is a > 4-fold statistically significant relative increase in the risk of cardiovascular events (Figure 2). Similar
 results were obtained by Haguet, et al in their meta-analysis.6 The analysis for PAOD shows a more than five-fold
 statistically significant relative increase compared to imatinib (Figure 3). Similar large statistically significant
 increases in the risk of IHD (Figure 4) and ischemic stroke (Figure 5) are noted. Importantly, for the primary
 analysis on the composite outcome of cardiovascular events, PAOD, and ischemic stroke, even the lowest bounds
 of the CI exceed a doubling of increased risk. Even the lowest bound of the CI for IHD disease is 1.86. Subgroup
 analyses which compared high doses of nilotinib (Figure 6) and low dose of nilotinib (Figure 7) to imatinib, and
 all four sensitivity analyses (Figure 8-11) also yield statistically significant large estimates of relative risk with
 nilotinib vs. imatinib on cardiovascular events. Similar large increases in the risk of CV events have been reported
 by other investigators in other meta-analyses of randomized controlled trials,6 highest quality observational
 studies,7,8 which control for various confounders evaluating nilotinib and the risk of CV events, and several
 disproportionality analyses, as discussed above. The strength of the association, replicated in multiple studies,
 strongly suggests that the association is causative.
 E.2. Consistency. This criterion assesses whether the finding is repeatable in different settings, places, and times.
 As shown in detail above, the direction and strength of the association of an increased risk of nilotinib and CV


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 events is consistent across RCTs, meta-analyses, and controlled observational studies. The consistency and strength
 of the association found in multiple independent studies in different settings and different countries including
 Australia, Japan, China, South Korea, and US strongly suggests that the association is causative. The meta-analyses
 of RCTs shows a consistently increased risk across all cardiovascular events, PAOD, IHD and stroke. The statistical
 measure of inconsistency (I2=0%) for the meta-analysis on CV events, PAOD, IHD and stroke indicates
 homogeneity and consistency of effects across all outcomes. These clinical trials have been conducted in different
 clinical settings across the world and have repeatedly shown a strong association between nilotinib and ATE events.
 Another important aspect of consistency is the significantly increased risk seen across the composite endpoint of
 all CV events and all three ischemic endpoints including PAOD, IHD and ischemic stroke, providing strong proof
 that this association between nilotinib and ischemic CV events is causal. The consistency is also evident in the
 subgroup and sensitivity analysis showing consistently increased risk. The meta-analysis by other investigators, and
 the dose-response analysis by Haguet, et al., also shows a consistently increased risk of CV events with nilotinib
 compared to imatinib.6 The ENESTnd trial also provides strong support of consistency as an increased risk of CV
 events with nilotinib compared to imatinib is seen in participants with either high or low Framingham risk scores
 (Section 2.7. and Table 13). This increased risk of CV events with nilotinib is also consistent across the duration
 of the trial.
 Additional support for consistency is provided by good quality observational studies which control for CV risk
 factors and report findings of an increase risk similar to the RCTs.7,8 Even in studies that failed to reach statistical
 significance,52,90 the point estimates consistently exceeded 1. The slight differences in the point estimates and
 confidence intervals reflect differences in study population, duration of follow-up and study settings, and the
 limitations of underpowered studies to detect a significant effect, acknowledged by the studies.52
 Another aspect of consistency is the concordance across various bodies of evidence that nilotinib showed consistent
 evidence of a biological mechanism (e.g, proinflammatory cytokines or increase in oxLDL levels).11 Similarly,
 trials which report a statistically significantly increased risk of ischemic CV events with nilotinib, also report
 parallel increases in the risk of hypertension, hyperglycemia and hyperlipidemia. 3 Notably, large increases in risk
 have not only been seen for CV events, but also nilotinib induced metabolic adverse effects such as hypertension
 (two-fold increased risk).19
 E.3. Specificity. This criterion analyzes whether the outcome of the disease appears to be specific to the exposure.5
 There are multiple risk factors for atherosclerosis such as hypertension, hyperlipidemia, obesity and diabetes.
 Genetic factors may also play a role in the occurrence of CV disease.248 However, this does not imply that nilotinib
 does not play a causal role in the development of cardiovascular events. Indeed, as discussed above, the occurrence
 of CV events is consistently higher in nilotinib patients in RCTs, where, according to principles of randomization,
 the patients with higher risk for CV are evenly distributed among both the nilotinib and imatinib arms of the trial.
 Randomization controls for both measures and unmeasured confounders. If nilotinib was not causing or
 exacerbating atherosclerosis in patients, even those with or without risk factors, we would expect the number of CV
 events to be similar among all arms, which is not the case. Therefore, these findings from RCTs indicate that
 ischemic CV events are specifically attributable to nilotinib. The occurrence of CV events in patients taking nilotinib
 has been reported in both patients who had low risk of CV disease in the ENESTnd trial, and among patients with
 high risk of CV disease.158,163 In the context of findings from RCTs, case reports/case series of patients with no risk
 factors or known vascular disease experiencing clinically overt vascular occlusive disease after nilotinib exposure
 provide supportive evidence that CV events are specific to nilotinib exposure.
 E.4.Temporality. The temporality criterion assesses whether the exposure always predates the development of
 disease.5 The temporal direction of association was documented in several RCTs.1-4 In each case, nilotinib exposure
 occurred before the development of CV events, and in the majority of cases, the onset of CV events was relatively
 shortly after nilotinib exposure providing further evidence in support of causality. The fact that VAEs occur earlier
 in the nilotinib arm compared to imatinib provide further strengthening of the evidence that nilotinib causes
 cardiovascular events (Section C.11.).


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 E.5. Biological Gradient. This criterion assesses whether there is a biological gradient or dose-response effect.5
 Although not an absolute requirement, when present, it provides strong proof of a causal association. There is
 evidence of a dose-response and duration response effect of nilotinib on CV events in RCTs, meta-analysis and
 observational studies which provides further support of a causal association (Section C.10.)
 Evidence of a dose-response effect (increasing risk with increasing use of nilotinib) is seen in my meta-analysis of
 all 4 RCTs (and the meta-analysis by Haguet, et al). which reported on the risk of CV events with nilotinib 400 mg
 twice daily vs. imatinib (Figure 6), and nilotinib 300 mg twice daily vs. imatinib (Figure 7). Both doses of nilotinib
 significantly increased the risk of ischemic CV events compared to imatinib, but the risk was higher with the 400
 mg dose of nilotinib compared to 300 mg dose of nilotinib twice daily.
 Examining the ENESTnd trial which reported on both doses also showed consistently similar effects. There were
 numerically more CV events (i.e., PAD, IHD, and stroke) occurring in the nilotinib 400 mg PO BID arm compared
 to nilotinib 300 mg PO BID arm in the ENESTnd trial. Table 13 which reported on the occurrence of CV events
 by Framingham risk category before or after 5 years also show a consistently increased risk with the 400 mg dose
 compared to the 300 mg dose in all categories. In the highest risk category, after 5 years, while the number of
 patients with CV events appears to be similar, the number of CV events is higher for IHD, PAD and stroke
 confirming evidence of a dose response effect.
 Importantly, the findings of a dose-response effect are further supported by data from observational studies such as
 Fossard, et al. which showed that HR of the 800 mg dose of nilotinib was higher and statistically significant [HR
 4.96, 1.46 to 16.93, P=0.01] compared to the 300-400 mg dose.9 Not only is there evidence of dose-response, there
 is further evidence of duration response. The authors concluded that “‘CVEs worryingly, seem to increase
 extensively over time” reflective of duration responsiveness. The authors concluded that “Moreover, there is a
 relationship between CVEs and higher doses of nilotinib (where the frequency of CVEs is twice as much as that
 found in lower doses”. Another study also reported on the incidence of AOD over time in nilotinib compared to
 controls which argues for a duration response effect.10 This consistent evidence of dose and duration responsiveness
 from RCTs, meta-analysis and observational studies, provides further support that the inference of a causal
 association between nilotinib and CV events is causative. The European Leukemia Net guidelines also concur that
 nilotinib increased the risk of PAOD as compared to imatinib in a dose-dependent manner.234
 E.6. Plausibility. Although this is not a requirement for causation, an association that is biologically plausible is
 more likely to be causal.5 Evidence from the peer-reviewed literature provides several plausible biological
 mechanisms that could explain the development or exacerbation of severe atherosclerotic events in patients taking
 nilotinib (Section C.9.). Nilotinib raises proinflammatory and proatherogenic inflammatory markers,11,12 exerts
 direct pro-atherogenic and antiangiogenic effects on vascular endothelial cells and contributes to endothelial cell
 activation.10,13 Nilotinib has also been shown to induce platelet thrombus formation,14 development of
 atherosclerotic plaque,15 including insulin resistance and hyperglycemia,16 hyperlipidemia17,18 and arterial
 hypertension,19,20 all of which may contribute to the development of atherosclerosis. While the results from a few
 studies have been mixed,168,170 the large majority of studies above provide sufficient evidence in support of a
 plausible biological mechanism of nilotinib induced CV toxicity.
 E.7. Coherence. This criterion assesses whether the cause-and-effect interpretation of data conflicts with the
 generally known facts of the natural history and biology of the disease, in this case, CVD among patients with CML
 who use nilotinib. The data presented above supports a cause-and-effect relationship between nilotinib and CV
 disease. There is no evidence to suggest that findings of an increased risk with nilotinib are incompatible with the
 natural history of CVD among patients with CML. While oft cited as a critique that CML also increases the risk of
 CVD, this does not rule out the causal role of nilotinib as demonstrated in RCTs of nilotinib in patients with CML
 where patients are matched at baseline for both measured and unmeasured confounders. Robust propensity matched
 controlled observational studies,8 and observational studies which rule out confounding by CV risk factors, have
 refuted this hypothesis that the increased risk seen with nilotinib is attributable to CML. Importantly, there are no
 known robust studies which demonstrate that nilotinib decreases the incidence of CV disease in patients with CML.
 Support for a causal association is also provided by data from mechanistic studies that suggest that nilotinib has a

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 proinflammatory and pro-oxidative effect,11 potentiates a prothrombotic state,14 and induces proatherogenic and
 anti-angiogenic effect on endothelial cells.10 Multiple studies suggest that nilotinib increases hyperglycemia and
 hypercholesterolemia in patients,16,18 plausibly explain the development of atherosclerosis with nilotinib. This
 adequately explains not only why nilotinib induced CV events are particularly manifest in the presence of risk
 factors, but also why CV events also occur among patients with low/moderate risk factors for CV disease.163
 E.8. Experiment. Occasionally, in making a causation assessment, it is possible to appeal to experimental, or semi-
 experimental, evidence.5 The definitive experimental evidence would be a placebo controlled RCT among patients
 free of CV events with the primary outcome of incident CV events that would be actively ascertained. However,
 such evidence does not exist now. Such a trial to provide absolute proof of harm, which ignores the body of evidence
 that has accumulated and places patients at risk for developing accelerated, severe, and life-threatening CV disease,
 raises significant ethical concerns. Data from RCTs comparing nilotinib to imatinib, have consistently shown an
 increased risk of CV events in nilotinib patients, which is also demonstrated by multiple meta-analysis studies,
 including my own. This is justifiable case of experimental evidence, and strongly suggests a causal association.
 E.9. Analogy. Another tyrosine kinase inhibitor, ponatinib, has also been shown to increase the risk of new onset
 atherosclerosis-related CV events, including PAD, IHD, and stroke.249 This drug serves as an appropriate analogy.
 SECTION F. Summary and Conclusions.
 Summary. Applying the Hill viewpoints, it is my opinion, to a reasonable degree of scientific certainty, that the
 data strongly supports that nilotinib causes the development of atherosclerotic-related cardiovascular events,
 including peripheral arterial occlusive disease, ischemic heart disease, and ischemic stroke. There is a strong
 association between nilotinib and ischemic CV events as manifest by a statistically significant increased risk of CV
 events (> 4-fold), heart disease, ischemic stroke, and PAOD (> 5-fold) events in meta-analysis of RCTs.6 The
 support for a causal association is also supported by evidence of consistency as manifest by a consistently increased
 risk of nilotinib in meta-analyses of RCTs, which do not show any evidence of statistical heterogeneity, in fact show
 perfect homogeneity for all meta-analysis across the range of outcomes. Other systematic reviews and meta-
 analyses of trials,6 and studies conducted by different investigators, using different study designs in different times,
 places, and settings have consistently replicated similar findings of an increased risk of ischemic cardiovascular
 events with nilotinib.7,8 A consistently increased risk of CV events is also seen among participants with both high
 and low risk Framingham risk scores. Temporality is established in multiple RCTs and prospective studies which
 report an excess risk of CV events with nilotinib.1-4 Specificity is a minor consideration in multicausal diseases
 such as atherosclerosis but the occurrence of CV events is consistently higher in nilotinib patients in RCTs, where,
 according to principles of randomization, the patients with higher risk for CV are evenly distributed among both
 the nilotinib and imatinib arms indicating that ischemic CV events are specifically attributable to nilotinib exposure,
 despite the presence of multiple risk factors (which are balanced in an RCT at baseline). Evidence of dose-response
 effects in RCTs and meta-analyses of RCTs with higher dose (400 mg PO twice a day orally of nilotinib) resulting
 in an increased risk of CV events compared to imatinib and to the lower dose of nilotinib (300 mg PO BID).6 The
 ENESTnd trial also reported an higher risk of CV events with the higher dose of nilotinib 400 mg PO BID compared
 to the 300 mg PO BID dose overall, as well as across levels of Framingham risk scores. There is also supportive
 evidence from dose and duration responsiveness from observational studies, which showed that HR of the 800 mg
 dose of nilotinib was higher and statistically significant [HR 4.96, 1.46 to 16.93, P=0.01] compared to the 300-400
 mg dose and also report an accumulation of events over time.9,10 No study shows dose-reversal with higher risk with
 lower dose of nilotinib. Guidelines agencies have acknowledged that nilotinib causes a dose-dependent increase in
 the risk of PAOD. There are multiple plausible biological mechanisms through which nilotinib contributes to the
 development of atherosclerotic cardiovascular events. Nilotinib raises proinflammatory and proatherogenic
 inflammatory markers,11,12 exerts direct pro-atherogenic and antiangiogenic effects on vascular endothelial cells and
 contributes to endothelial cell activation.10,13 Nilotinib has also been shown to induce platelet thrombus formation,14
 development of atherosclerotic plaque,15 including insulin resistance and hyperglycemia,16 hyperlipidemia17,18 and
 arterial hypertension,19,20 all of which constitute plausible biological mechanisms for the development of
 atherosclerosis. There is evidence supporting coherence because the natural history of cardiovascular events among


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 patients with CML is consistent with findings of an increased risk of cardiovascular events with nilotinib. There is
 experimental evidence of an increased risk of cardiovascular events with nilotinib from RCTs in the ENESTnd
 trial, despite the lack of a prospective placebo controlled RCT powered on CV events (which would be unethical).
 The indisputable association between an increased risk of cardiovascular events with ponatinib, another tyrosine
 kinase inhibitor provides strong evidence of analogy.21
 Conclusions. It is my opinion with a reasonable degree of scientific certainty that nilotinib causes ischemic CV
 events, including PAOD, heart attack, and ischemic stroke based on appraisal of the cumulative body of evidence
 from RCTs, meta-analysis of RCTs, controlled and uncontrolled observational studies, disproportionality analyses,
 case reports, and mechanistic studies. The cumulative body of evidence was subjected to a qualitative and
 transparent appraisal assessment using the Hill’s viewpoints. I emphasize causation rather than the non-specific
 term association. This opinion is based on my systematic application of scientific and epidemiological principles
 that I have learned through my education, my past 20 years of my professional life conducting epidemiological
 research and analysis, the practice of clinical medicine, and contributing to the medical literature. I reserve the right
 to supplement this report if new or significantly, modified information is provided at any point.
 Sonal Singh, MD, MPH




 Date: October 18, 2022

 Name : Sonal Singh MD, MPH FACP




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                                                                                                                                          Cassavechia et
Study




                                                                                  Chow et al
                                                     Yang et al




                                                                                                Chen et al
                                                                   Leong et al




                                                                                                                            Giles et al
                                                                                                              Jain et al




                                                                                                                                          al 2021
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                                                                                               2021




                                                                                                             2019



                                                                                                                           2016
COMPARABILITY                                       1              2             1             2             2             1              1
1) Comparability of cohorts based on
design/analysis
a) study controls for the most important factor *   *              *             *             *             *             *              *
b) study controls for any additional factor *                      *                           *             *

OUTCOME
Assessment of Outcome                               3              3             3             3             3             3              3
a) independent blind assessment *
b) record linkage *                                 *              *             *             *             *             *              *
c) self-report
d) no description
2) follow-up long enough for outcomes to occur
a) yes *                                            *              *             *             *             *             *              *
b) no
3) Adequacy of follow up of cohorts
a) complete follow up *
b) Lost to follow up unlikely to introduce bias(    *              *             *             *             *             *              *
small)*
c) follow up rate likely to introduce bias
d) no statement




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 G.3. Materials Considered
        In forming the opinions set forth in this report I considered all the documents cited in section G.1.
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       gimema 0811 trial. Blood. 2015;126(23):4046.
 49.   Tuǧ u AT E b T M m ş T                 R     f        f        b p          w             my        u m
       resistant or intolerant to imatinib. HemaSphere. 2019;3:888-889.
 50.   Del Corpo O, Harnois M, Busque L, Assouline S. Real-Life Use of Nilotinib for Chronic Phase CML
       Demonstrates Similar Efficacy and Rate of Cardiovascular Events As Enestnd. Blood. 2021;138:4602.
 51.   Dengler J, Stegelmann F, Müller M, et al. Results of the non-interventional TARGET study: Efficacy and
       safety of nilotinib in CML patients failing prior therapy in routine healthcare. Oncology Research and
       Treatment. 2018;41:178.



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 52.   Douxfils J, Haguet H, Mullier F, Chatelain C, Graux C, Dogné JM. Risk of cardiovascular events associated
       with BCR-ABL TKIs: A systematic review and meta-analysis. Journal of Thrombosis and Haemostasis.
       2015;13:141-142.
 53.   Shibayama H, Kawaguchi T, Kuroda J, et al. Safety and efficacy of a switch to nilotinib in patients with
       CML-CP showing MMR to imatinib: Results of a multicenter phase II trial (NILSw trial). Blood.
       2016;128(22).
 54.   George BS, Kantarjian HM, Garcia-Manero G, et al. Seven year follow up of chronic myeloid leukemia
       (CML) patients treated with nilotinib 400 mg twice daily-a single center study at MDACC. Blood.
       2015;126(23):2796.
 55.   Ribeiro BF, Miranda ECM, Delamain MT, et al. Treatment results with dasatinib or nilotinib in third line
       therapy of chronic myeloid leukemia after failure of two tyrosine kinase inhibitors. Blood. 2013;122(21).
 56.   Rea D, Kyrcz-Krzemien S, Sportoletti P, et al. Treatment-Free Remission (TFR) after Two Different
       Durations of Nilotinib Consolidation in Patients with Chronic Myeloid Leukemia (CML) Previously Treated
       with Imatinib: Enestpath Study Results. Blood. 2021;138:635.
 57.   Detriche G, Zhang Y, Esposito B, et al. Tyrosine kinase inhibitor nilotinib increases atherosclerosis burden
       in ApoE knock-out mice. European Heart Journal. 2019;40:1880.
 58.   Kirchmair R, Albrecht-Schgoer K, Schgoer W, et al. The tyrosine kinase inhibitor nilotinib induces vascular
       adverse events in patients with chronic myeloid leukemia and inhibits endothelial function and
       angiogenesis. Circulation. 2013;128(22).
 59.   Quillet P, Bourneau-Martin D, Drablier G, Lagarce L, Lainé P, Pharmacovigilance Centers R. Tyrosine
       kinase inhibitors-associated ischemic events in patients treated for chronic myeloid leukemia. Drug
       Safety. 2013;36(9):821.
 60.   Hadzijusufovic E, Albrecht-Schgoer K, Huber K, et al. An update of functional data regarding the pro-
       atherogenic and anti-angiogenic effects of nilotinib in patients with Ph+ CML. Memo - Magazine of
       European Medical Oncology. 2015;8(1):3.




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 G4. Curriculum Vitae




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                         Sonal Singh MD MPH FACP
                                           Associate Professor
                                      UMass Chan Medical School
                                           Tel: (336)-473-1604
                                    sonal.singh@umassmemorial.org

                                           Education
 MPH, Bloomberg School of Public Health, Johns Hopkins University
 Baltimore, MD                                                                    6/2005 to 5/2008

 Internal Medicine Residency, Unity Health System, affiliate University of Rochester
 Sch of Medicine and Dentistry, Rochester, NY                                        7/2002 to 6/2005

 MD, Patna Medical College, Patna, India                                           12/91 to 05/1999


                            Academic Appointments
 Associate Professor, Department of Family Medicine & Comm Health                   10/2016 to date
 Department of Medicine, University of Massachusetts Medical School

 Assistant Professor, Dept of Medicine, Johns Hopkins Univ SOM                     7/2009 to 9/2016

 Assistant Professor, Center for Public Health, and Human Rights
 Bloomberg School of Public Health, JHU                                            7/2009 to 9/2016

 Assistant Professor, Department of Medicine, Wake Forest University               7/2007 to 6/2009

 Instructor, Department of Medicine, Wake Forest University                       7/2005 to 06/2007


                                Employment History
 Associate Professor, Department of Fam Medicine & Comm Hlth                       10/2016-present
 Meyers Primary Care Institute & Department of Medicine (Joint)
 University of Massachusetts Medical School
 Role: Clinician- Investigator

 Associate Professor, Department of Quantitative Health Sciences                    10/2018-present
 University of Massachusetts Medical School (Joint)
 Role: Clinician- Investigator


 Assistant Professor, Dept of Medicine, Johns Hopkins University.                  7/2009 to 9/2016
 Role: Clinician- Investigator

 Assistant Professor, Department of Medicine, Wake Forest University               7/2007 to 6/2009
 Role: Clinician- Educator
 Instructor, Department of Medicine, Wake Forest University                        7/2005 to 6/2007
 Role: Clinician- Educator




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 Residency (Medicine) Unity Healthy System, University of Rochester, Rochester, NY Role: PGY 1,
 PGYII and PGY III Internal Medicine Resident                                   7/2002 to 6/2005

 Research Associate, Clinical Pharmacology, Ohio State University                   3/2001 to 6/2002
 Role: Research assistant in clinical trials

 Voluntary Research Associate, Clinical Pharmacology, Ohio State                    8/2000 to 2/2001
 Role: Research assistant in clinical trials

 USMLE STEP 1, II, III and Clinical Skills Exam Preparation                         2/2000 to 7/2000
 Role; Medical student

 Resident, Medicine, Patna Medical College, Patna, Bihar, India                     2/1998 to 1/2000
 Role: Junior Resident in Medicine

 Compulsory rotatory internship, Patna Medical College, Patna, India              12/1997 to 12/1998
 Role: Fulfilling requirements for completion of medical degree in India




                         Certification and Licensure
 Diplomate, American Board of Internal Medicine                                       8/2005-12/2025
 Massachusetts Board of Physicians                                                     8/2016-8/2021
 Physicians and Surgeons of Maryland (Inactive)                                           2009-2017
 North Carolina Medical Board (Inactive)                                                   2005-2009
 Basic Life Support (Active)                                                              2016-2021


           Professional Memberships and Activities
 Massachusetts Medical Society                                                           2017-current
 American College of Physicians                                                          2003-current
 International Society of Pharmacoepidemiology                                           2011-current
 Society of General Internal Medicine                                                     2003-2016
 International Society of Pharmacoeconomic Outcomes Research                              2016-2017
 Academy Health                                                                                2013
 Global Health Council                                                                    2006-2010
 Association of Physicians of Indian Origin (AAPI)                                       2020-current




                                 Honors and Awards
    •   2022 : Dave Sackett Clinical Trial of the Year Award, Society for Clinical Trials, Member,
        Data Safety Monitoring Committee-TOGETHER trial
    •   2019: Elected to the Fellow of the American College of Physicians




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    •   2017 : Elected, American College of Chest Physicians CHEST Expert Cough Panel
    •   2016: Finalist W. Leigh Thompson Excellence in Research: Johns Hopkins University SOM
    •   2013 : Visiting Professor, Department of Medicine, University of Alabama, Alabama, USA
    •   2013 : Appointee World Health Organization, International Agency for Research on Cancer
        Evaluation of Drugs and Herbal Products, Lyon, France.
    •   2013 : Awardee, 29 h International Society of Pharmacoepidemiology, Montreal, IIIrd Best
        Abstract, Trainee
    •   2011 : Awardee, Bruce P Squires Award for the Best Research Paper, Canadian Medical
        Association Journal
    •   2011:Awardee, Society of General Internal Medicine Clinical Investigator (Mid-Atlantic)
    •   2010 : Awardee, Scholars Abstract Award, Society for Clinical and Translational Sciences
    •   2009 : Awardee, NIH/KL2 Award and Junior Research Scholar, Johns Hopkins Clinical
        Research Program, Johns Hopkins School of Medicine
    •   2010 : Elected, Delta Omega Honorary Public Health Society, Johns Hopkins University
        2008 : Elected Master Teacher Award, Wake Forest University School of Medicine
    •   2006 : Awardee, Tinsley R Harrison Faculty Teaching Award Wake Forest University SOM
    •   2007 : Awardee, Tinsley R Harrison Faculty Teaching Award Wake Forest University SOM
    •   2005 : Senior–Resident Scholarship award, Unity Health System, University of Rochester
        SOM& Dentistry
    •   2005 : American College of Physicians Health and Public Policy Scholarship, NY


 Committee Assignments & Administrative Service
 Public Policy Committee, International Society of Pharmacoepidemiology             2020-2021
 Population Health & Pharmacy Collaborative Committee, UMASS                        2019-current
 American College of Physicians, Massachusetts, Health Policy Committee             2018-current
 Chairs Advisory Council, Department of Fam Medicine & Comm Hlth                    2016-current
 American College of Chest Physicians, Cough Guideline Expert Panel                2017- current
 Associate faculty, Welch Ctr for Prevention, Epi & Clin Research, JHU                 2015-2016
 Associate-Director, Center for Drug Safety and Effectiveness, JHU                     2013-2016
 Affiliate faculty, Center for Hlth Services and Outcomes Research, JHSPH              2012-2016
 WHO, International Agency of Research on Cancer (IARC) Working group                       2013
 Preferred Items for Reporting of Systematic Reviews and Meta-analysis of harms Working Group
 Alberta Canada.                                                                            2012
 Health & Human Rights Working Group, JHU Center for Aids Research                          2012
 Core faculty, Center for Public Health and Human Rights, Johns Hopkins Bloomberg School of Public
 Health                                                                         2009-2016
 Core faculty, Evidence-Based Practice Center, JHU                                    2009-2016
 Medical Director, Outpatient Clinic, WFUSOM                                       7/2005-6/2009

                                 Teaching Activities
                                                 Classroom
 Epidemiology                                                                             2020-2022
 Role: Facilitator course in Clinical Epidemiology for Medical Students at University of Massachusetts
 Medical School




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 Comparative effectiveness research (2 cr), Johns Hopkins Medicine                    2015-2016
 Role: Developed course in CER for MD and MD/PhD trainees in the CTSA

 Health and Human Rights, Johns Hopkins Bloomberg School of Public Health             2011-2015
 Role: Annual lecture in the course for MPH students

 Health Economic, Johns Hopkins Bloomberg School of Public Health                           2013
 Role: Annual lecture in the course for master’s students

 Pharmacoepidemiology, Johns Hopkins Bloomberg School of Public Health                2011-2015
 Role: Annual lecture in the course for master’s and Doctoral students

 Evidence-based Medicine, Johns Hopkins University School of Medicine                      2012
 Role: Course facilitator

 Intro to Clinical Investigation, Johns Hopkins University School of Medicine              2012
 Role: Annual lecture in the course

 Clinical Epidemiology, Johns Hopkins Bloomberg School of Public Health,              2010-2014
 Role: Annual lecture in the course

 Patient Physician and Society, Johns Hopkins University School of Medicine                2009
 Role: Course facilitator

                                            Clinical Teaching
 Outpatient medicine                                                                   2016-current
 Role: Precepting medical students in clinic at University of Massachusetts Medical School
 Evidence Based Medicine                                                                 2012-2014
 Role: Developed a novel course to teach Evidence based Medicine to Osler medical residents at Johns
 Hopkins University School of Medicine
 Outpatient medicine                                                                     2005-2009
 Role: Precepting residents in clinic at Wake Forest University
 Inpatient Medicine                                                                      2005-2009
 Role: Precepting internal medicine residents at Wake Forest University




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                                            Mentoring
 UMass Chan                       Project                          Current Position and          Training
 Medical School                                                    Institution                   Period

 Faculty

 Idanis               Mentor      SR of SDM in MS                  Assistant Professor of        2019-
 Berriosmorales                                                    Neurology

 Mayuko               Mentor      Systematic review of decision    Assistant Professor-          2018-
 Itofukunaga, MD                  aids for lung cancer screening   Pulmonary Medicine and        2020
                                                                   Critical Care/JF Scholar

 Ayobami Akenroy      Mentor      Pharmacovigilance study of       Assistant Professor-Harvard   2022
 MD                               switching biologics in asthma    Medical School/JHSPH

 Trainees

 Jessica              Scholarly   SR of SARS-COV-19 and            MD/PhD Student Umass          2020-
 Kloppenburg          activity    Maternal-fetal outcomes          Med School

 Nathaniel, Erskine   Scholarly   SR of herpes zoster and          MD/PhD Student Umass          2017-18
 MD, PhD (student)    activity    cardiovascular disease           Med School

 Richeek Pradhan      Scholarly   Comparison of data on Adverse    PhD Student                   2017-18
 MS                               events
                      Activity                                     McGill University

 Johns Hopkins University
 Faculty

 Hsien-Yen Chang      Mentor      Pharmacoepidemiologic studies    Assistant Scientist at JHU    2011-15
 PhD

 Trainees

 Omar Mansour         Scholarly   SGLT2inhibitors and              Masters’ student, JHSPH       2018
                      activity    cardiovascular outcomes

 Geetha Iyer, MD      Mentor      Multiple Pharmacoepidemiologic   Doctoral student, HSPH        2015-16
                                  studies
 Sathiya Priya        Mentor      Generic drugs and patient-       Pharmaceutical industry       2015-16
 Marimathu, MPH                   oriented outcomes




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 Yohalakshmi           RA           Review of varenicline             Resident physician, Mercer,   2013
 Chelludari, MD,       Scholarly                                      Atlanta
 MPH                   activity
 Hasan Shihab, MD,     RA           Review of GLP-based therapies     Resident, Franklin Square,    2013-14
 MPH                   Scholarly                                      Baltimore
                       activity
 Joshua Sclar, MD,     Scholarly    Systematic review of attacks on   General Preventive            2013
 MPH                   activity     health workers                    Medicine Resident
 Crystal Ng, MPH       Scholarly    Human Rights measures             MPH Student, JHSPH            2013
                       activity
 Ekta Agarwal, MPH     Capstone     Safety of novel anticoagulants    MPH student JHSPH             2013
 Meijia Zhou, MHS      Scholarly    Adherence to novel                Doctoral student, Univ of     2013
                       activity     anticoagulants                    Pennsylvania
 Kaitlin Hayman, MD    Capstone     SR of the impact of disasters     MPH student, JHSPH            2013
                                    On CVD outcomes
 Wenze Tang, MPH       Scholarly    SCCS analysis of GIB bleeding     Doctoral student, HSPH        2013
                       activity     with dabigatran
 Shabana Walia MD      Scholarly    SR of CVD among refugees and      ER physician, UT Houston      2016-18
                       activity     displaced
 Wake Forest University SOM
 Aman Amin, MD         Scholarly    Inhaled corticosteroids           Practicing internist, NC      2007-09
                       activity     and pneumonia
 Apurva Trivedi, MD Scholarly       SSRIs and bleeding                Gastroenterologist            2007-09
                       activity
 External institutions
 Tonya Breaux-         Scholarly    Systematic review                 Post-doctoral trainee, UAB    2015
 Shropshire PhD,       activity
 MPH

 Abhay Kumar, MD       Resident     Wernicke encephalopathy after     Assistant Professor           2007
                       Scholarly    gastric bypass: systematic        St Louis University
                       activity     review


                                   Pending Contracts
 Developing and validation of the ACE-IT framework for maternal fetal outcomes        06/01/2022—7/30/2023
 Reagan Udall Foundation for the FDA
 Role : Principal Investigator (18%)

                                       Current Grants

 Preparing for what is next with aducanumab     ( PI-Gurwitz)                                       09/2022-
 ---04/2023
 NIA
 Role ( Co-investigator)




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 1 R01 MD016883-01 (Fisher)                                            9/1/21-8/31/24
 NIMHHD                                                $507,084
 Trusted messengers: Supporting physicians in promoting COVID-19 vaccination
 The major goals of this project are: (1) To refine and adapt tools to support effective PCP recommendations
 for COVID-19 vaccination and information dissemination by PCPs and community organizations to vulnerable
 patients; (2) To implement and assess the impact of the intervention on COVID-19 vaccine uptake among
 initially unvaccinated patients and (3) To evaluate the intervention according to the REAIM framework,
 incorporating the perspectives of patients, primary care providers, and clinic leaders.
 Role: Co-Investigator (15% or 1.80 cal months)
 NIH 33AG069794 9PI-Gurwitz)                                                  09/2021-08/2025
 Developing a Program to Educate and Sensitize Caregivers to Reduce the Inappropriate Prescription Burden
 in Elderly with Alzheimer’s Disease Study (D-PRESCRIBE-AD)
 The aim is to conduct a large, cluster randomized, pragmatic trial to evaluate a health plan-based intervention
 leveraging the NIH Collaboratory’s Distributed Research Network, which uses the Food and Drug
 Administration (FDA) Sentinel Initiative infrastructure.
 Role: Co-investigator (20%)

                      Completed Grants and Contracts
 Developing and applying a framework to evaluate and conduct algorithm validation studies for Major Adverse
 Cardiovascular Events                                                                 03/2021—5/2022
 Reagan Udall Foundation for the FDA
 Role : Principal Investigator (15%)
 NIH R61AG069794-01(PI-Gurwitz)                                                       09/2020-08/2021
 Developing a Program to Educate and Sensitize Caregivers to Reduce the Inappropriate Prescription Burden
 in Elderly with Alzheimer’s Disease Study (D-PRESCRIBE-AD)
 The aim is to conduct a pilot study to assess the feasibility and acceptability of a large, cluster randomized,
 pragmatic trial to evaluate a health plan-based intervention leveraging the NIH Collaboratory’s Distributed
 Research Network, which uses the Food and Drug Administration (FDA) Sentinel Initiative infrastructure.
 Role: Co-investigator- 15%
 PCORI HIS-1608-35689-IC (PI-Ming Tai-Seale)                                          2/2016- 3/2021
 Improving Patient-Centered Communication in Primary Care: A Cluster Randomized Controlled Trial of the
 Comparative Effectiveness of Three Interventions
 The aim is to compare three interventions to improve patient communication in primary care
 The aim is to evaluate intervention to improve patient communication in primary care
 Role: Co-investigator (10%)
 (PI Jerry Gurwitz)                                                                  08/2018- 08/2020
 NIH/NIA-1 R56 AG061813-01
 Project Title: Controlling and Stopping Cascades leading to Adverse Drug Effects Study in Alzheimer's
 Disease(CASCADES-AD)
 Role: co-investigator
 The aim is to develop interventions to prevent prescribing cascades among those with Alzheimer’s related
 Dementia (ADRD)
 Death Data Exploration                                                            08/01/17- 03/02/18
 Task Order Number: HHSF22301012T
 Efforts to Develop the Sentinel Initiative HHSF223200910006I.
 Role (Project Lead)




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 Effect of Therapeutic Class on Generic Drug Substitutions.                             2014-2016
 U01FD005267-01 (PI, Jodi Segal)
 FDA                                                                                     $ 349,480
 Role: Co-Investigator
 Comparative effectiveness Research & The Cochrane Eyes and Vision Group                 2013-16
 U01 EY020522 (PI, Kay Dickersin)
 NIH/NEI                                                                                $ 825,397
 Role: Co-Investigator
 Systematic review of gabapentin for neuropathic pain using multiple data sources 2015-16
 (PI, Caleb Alexander)
 FDA Center of Excellence in Regulatory Science
 Role: Co-Investigator (20% effort)
 Integrating multiple data sources for meta-analysis to improve patient-centered outcomes
 research                                                                                 2014-2016
 (PI- Dickersin)
 PCORI (ME-1303-5785)                                                                     $698,174
 Role: Advisor (2% effort)
 Development of a scale for human rights violations.                                      2013-2014
 (PI, Chaisson & Beyrer)
 NIH Johns Hopkins Center for AIDS Research                                               $ 18,873
 Role: Pilot Awardee
 Comparative effectiveness review of therapeutic options for obesity in the Medicare population. Johns
 Hopkins Evidence Based Practice Center.                                          2013-2014
 PI (Eric Bass)
 AHRQ                                                                                     $125,000
 Role: Co- Investigator (20% effort)
 Center for Excellence in Comparative Effectiveness Education                               2012-2013
 PHRMA Foundation (PI Jodi Segal)                                                           $250,000
 Role: Co-investigator (5% effort)
 A multi criteria decision analysis to assist with regulatory decisions around benefit and risk
 Partnership in Applied Comparative Effectiveness Science:                                  2010-2013
 PI (PI, Jodi Segal).
 FDA                                                                                        $3,509,657
 Role: Project Principal Investigator (25% effort)
 Combination therapy vs. intensification of statin monotherapy: An update.                  2012-2013
 PI (E. Bass- P.I of EPC.)
 AHRQ
 Role: Advisor (5% effort)
 Troponin cardiac marker during renal impairment.                                           2012-2013
 (E. Bass- P.I of EPC.)
 Agency for Health Care Quality and Research
 Role: Advisor (5% effort)
 To develop an instrument for attacks on health workers.                                    2012-2013
 PI (Len Rubenstein)
 US Institute of Peace
 Role: Co-investigator (10% effort)




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 To develop an instrument for attacks on health workers.                               2012-2013
 PI (Len Rubenstein)
 McArthur Foundation                                                                    $434,782
 Role: Co-investigator (15% effort)
 To conduct a benefit and harm assessment of roflumilast in COPD.                      2012-2013
 Johns Hopkins ICTR
 Role: Co-investigator (5% effort)
 To develop a China-JHU consultation for civil society public health professionals.         2012
 Open Society Foundation                                                                  $49,534
 Role: PI (20% effort). Proposal for a public health training program.
 PACER.                                                                                      2012
 PI (Rothman)
 Google-Flu
 Role: Coinvestigator (5%) Systematic reviewer and meta-analysis expert.
 Methods for Balancing Benefits and Harms in Systematic Reviews
 Johns Hopkins Evidence Based Practice Center. (PI, Bass)                              2011-2012
 AHRQ                                                                                   $188,871
 Role: Project Task Leader and co-Investigator (10% effort)
 Comparative effectiveness review of Meditation Programs for Stress and Wellbeing
 Johns Hopkins Evidence Based Practice Center. (PI, Bass)                              2011-2012
 AHRQ                                                                                   $375,666
 Role: Project Task Leader and co-Investigator (15% effort)
 Comparative effectiveness review of prevention of VTE in special populations
 Johns Hopkins Evidence Based Practice Center. (PI, Bass)                              2011-2012
 AHRQ                                                                                    $375,666
 Role: Project Principal Investigator (20% effort)
 To prevent and respond to gender-based violence (GBV) in refugee and conflict-affected populations.
                                                                                       2010-2011
 (PI, Vu & Rubenstein)                                                                  $293,946
 Role: Co-investigator (10% effort)
 Comparative effectiveness review of oral hypoglycemic medications
 Johns Hopkins Evidence Based Practice Center. (PI, Bass)                              2009-2010
 AHRQ                                                                                  $125,000
 Role: Co- Investigator (0% effort)
 Johns Hopkins Clinical Research Junior Faculty Award.                                 2009-2012
 NIH-KL2
 ICTR
 Role: Recipient (75% salary support)
 Measuring exposure to human rights violations among men who have sex with men.
 (PI, Mullany).                                                                        2009-2010
 Center for Global Health Johns Hopkins                                                $50,000.00
 Role: Co-investigator (0% effort).
 Research ethics for conducting research in vulnerable populations and unstable settings.
 (PI, Mills)                                                                          2007-2009
 CIHR                                                                                 $99, 887.00
 Role: Co-investigator (10% effort).




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                                      Editorial work
                                       Editor-in-chief and founder
 BMC Conflict and Health                                                                   2007-12

                                      Editorial Board Membership
 Frontiers in Drug Safety                                                               2022-current
 Frontiers in Primary Care and Family Medicine                                          2021-current
 Evidence Based Medicine (BMJ Group of Journals)                                        2017-current
 Drug Safety                                                                               2008-16
 American College of Physicians-PIER

                                               Grant Review
 Patient Centered Outcomes Research Institute- Rare Disease Research Panel                 11/20/2020
 Medical research foundation of New Zealand
 Johns Hopkins Center for Public Health and Human Rights
 Junior Faculty Research Grants
 Medical Research Council of South Africa
 Catalina Health Technology Assessment, Spain
 Diabetes, UK
 Johns Hopkins Medicine Research Council Synergy Awards
 Johns Hopkins Institute for Clinical and Translational Research

                                    Data Safety Monitoring Board
 Repurposed Approved Therapies for Outpatient Treatment of Patients with Early-Onset COVID-19 and
 Mild Symptoms (www.togethertrial.com )David Sacket Clinical Trial of the Year Award    03/2021

                                                Peer Review
                      https://publons.com/researcher/1311365/sonal-singh/peer-review/
  Acta Diabetologica
  American Heart Journal
  American Journal of Addictions
  American Journal of Cardiovascular Drugs
  American Journal of Managed Care
  American Journal of Psychiatry
  American Journal of Tropical Medicine and Hygiene
  Annals of Internal Medicine
  Annals of Medicine
  Australian Medical Journal
  BMJ
  BMC Clinical Pharmacology
  British Journal of Clinical Pharmacology
  Bulletin of the World Health Organization
  Chest
  Circulation
  Canadian Medical Association Journal




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  Clinical Pharmacology and Therapeutics
  Clinical Trials
  Cardiovascular Drugs & Therapy
  Cochrane Collaboration
  Disasters
  Diabetolgia
  Drug and Alcohol Dependence
  Diabetes Obesity and Metabolism
  Drug Safety
  Epidemiology
  European Journal of Neurology
  European Journal of Pharmacology
  European Respiratory Journal
  Expert Opinion in Drug Safety
  Global Public Health
  Health Policy
  International Journal of Clinical practice
  International Journal of Epi
  International Journal of Obesity
  Journal of the American College of Cardiology
  Journal of the American Medical Association > 25 articles
  Journal of the American Medical Association-Internal Medicine
  JAMA-Network Open
  Journal of Cardiac Failure
  Journal of Medical Case Reports
  Journal of the Pancreas
  Journal of General Internal Medicine
  Medscape General Medicine
  Medical Journal of Australia
  Nephrology Dialysis Transplantation
  North Carolina Medical Journal
  Nutrition, Metabolism & Cardiovascular Diseases
  Open Forum for Infectious Disease
  Pediatric Infectious Disease Journal
  Pharmacoepidemiology & Drug Safety-Best Reviewer Award 2013
  Public Library of Science Medicine
  Primary Care Respiratory Journal
  Pediatrics
  Research Synthesis Methods
  Respiratory Medicine
  Respirology
  Southern Medical Journal
  The Lancet
  Thorax
  Tropical Medicine & International Health




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                      ABSTRACTS/PRESENTATIONS
                             National/International Oral Conference Presentation
 1.       Mazor KM, Fisher KA, Nguyen N, Fouayzi H, Crawford S, Singh S, Dong M, Wittenberg R. From
 vaccine hesitancy to vaccine acceptance: Who changes and why? Oral presentation at: The Health Care
 Systems Research Network; April 12-14, 2022; Pasadena, CA.
 2.       Risk of myocarditis associated with checkpoint inhibitors. 35th International Society of
 Pharmacoepidemiology, Annual Meeting, Philadelphia. Aug 26, 2019.
 3.       GLP-1-based therapies and risk of pancreatitis: A matched case-control study. 29th International
 Society of Pharmacoepidemiology, Annual Meeting, Montreal Convention Center, August 26. Montreal,
 Quebec, Canada.2013
 4.       GLP-1 based therapies and risk of pancreatitis. 36th SGIM Annual Meeting, Denver, Colorado.
 2013
 5.       Risk of fractures with inhaled corticosteroids in COPD: Systematic review and meta-analysis of
 randomized controlled trials and observational studies, Society of General Internal Medicine,
 Minneapolis, Minnesota. 2011
 6.       Odds of fractures with inhaled corticosteroids in COPD: Systematic review and meta-analysis of
 clinical trials and observational studies, 27th International Society of Pharmacoepidemiology, Annual
 Meeting, Hyatt Regency August 24th. Chicago, Illinois. 2011
                                      National/International Poster Presentation
 1. Sonal Singh, Julie Beyrer, Xiaofeng Zhou, Joel N Swerdel, Raymond A Harvey, Kenneth Hornbuckle,
      Leo Russo, Kanwal Ghauri, Ivan H Abi-Elias, Carla V Rodriguez-Watson. Development and
      Evaluation of the ALgorithm CErtainty Tool KIT (ACE-IT) to evaluate safety outcomes using electronic
      medical record and claims-based algorithms. 38th International Society of Pharmacoepidemiology,
      Annual Meeting, Copenhagen, Denmark. Aug 28, 2022.
 2. Thomas Moore, Sonal Singh. Challenges of Using Real-World Evidence for Regulatory Decisions: 4
      Key Issues. 38th International Society of Pharmacoepidemiology, Annual Meeting, Copenhagen,
      Denmark. Aug 27, 2022.
 3. Sonal Singh. Noelle Cocorros, Kevin Haynes, Vinit Nair, Thomas Harkins, Paula Rochon, Richard
      Platt, Sybil Crawford and Jerry Gurwitz. Population based estimates of prescribing cascades among
      older adults with Alzheimer’s dementia. 36th International Society of Pharmacoepidemiology, Annual
      Meeting. September 16 h 2020
 4. Sarah Bloomstone KA, Noelle Cocoros,Jerry Gurwitz,Kevin Haynes,Vinit Nair, Richard Platt,Paula
      Rochon,Sonal Singh, Kathleen M. Mazor. Prescribing Cascades in Patients With Alzheimer’s
      Disease: Engaging Patients, Caregivers, Payers, and Providers. Abstracts from the 26th annual
      Health Care Systems Research Network Conference, April 8-10, 2020. J Patient Cent Res Rev.
      2020;7:94.
 5. Diagnostic algorithms for cardiovascular death in administrative claims databases. A systematic
      review 2018. International Society of Pharmacoepidemiology, Prague, August 24, 2018.
 6. Risk of gastrointestinal bleeding among dabigatran users-a self-controlled case series analysis.
      Health Care Systems Research Network, San Diego, March 22, 2017.
 7. GLP-1 based therapies and risk of pancreatitis. Pancreatitis, Diabetes, and Pancreatic Cancer
      Workshop. NIH, Bethesda, Maryland. 2013
 8. Thiazolidinediones and risk of bladder cancer: A systematic review and meta-analysis. 36th SGIM
      Annual Meeting, Denver, Colorado.2013




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 9. Who is the patient's doctor? Primary care responsibility and co-management relationships among
     generalist and non-generalist physicians in the National Ambulatory Care Survey, 2002 SGIM 29th
     Annual Meeting, Los Angeles, California.2006
 10. The educational value of case reports from the SGIM national meeting in the internal medicine
     clerkship. SGIM 29th Annual Meeting, Los Angeles, California.2006
 11. Using iPod technology to create a self-guided clinic tour for resident orientation SGIM 29th Annual
     Meeting, Los Angeles, California.2006
 12. Narcotic management in chronic non-malignant pain. A survey of resident’s knowledge and attitudes.
     SGIM 29th Annual Meeting, Los Angeles, California.2006
 13. Formulary conversion programs pose a significant risk to patients, SGIM 27th Annual Meeting,
     Chicago, Illinois.2004
                                       Posters at local regional meetings
 Inhaled corticosteroids and the risk of fractures in COPD: A systematic review and meta-analysis. DOM
 Annual retreat, Johns Hopkins University 2011
                                   National/International Oral Presentations
 1.      Oral direct acting antivirals and the incidence or recurrence of hepatocellular carcinoma. NIH
 Collaboratory Grand Rounds [ Web] March 2, 2018
 2.      Resurgence of hepatocellular carcinoma in the era of oral direct acting antivirals. Cause or
 Consequence? Fundamentals of Biomedicine Seminar Series. Texas Tech University Health Sciences
 Center. El Paso, Texas Dec 13, 2017
 3.      Aligning evidence with preferences: Methodological Challenges and Opportunities Dartmouth-
 Hitchcock Medical Center, Dartmouth, New Hampshire, June 15, 2016
 4.      Aligning evidence with preferences: Methodological Challenges and Opportunities Department of
 Health Services and Research, Michael De-Bakey VA and Baylor University, Houston, Texas, May 16,
 2016.
 5.      Aligning evidence with preferences: Methodological Challenges and Opportunities Meyers
 Primary Care Institute and Department of Family and Community Medicine, University of Massachusetts,
 Massachusetts, March 31 and June 9, 2016.
 6.      Aligning evidence with preferences: Methodological Challenges and Opportunities VA Center for
 Chronic Disease and Outcomes Research, Minnesota VA, March 2016.
 7.      Aligning evidence with preferences: Methodological Challenges and Opportunities Department of
 Medicine. University of Central Florida, Orlando, Florida, November 2015.
 8.      Aligning evidence with preferences: Methodological Challenges and Opportunities Center for
 Health Policy and Research Grand Rounds. UC Davis, Sacramento California, Oct 9, 2015.
 9.      Aligning evidence with preferences: Methodological Challenges and Opportunities Center for
 Evidence and Outcomes, Agency for Health Care Research and Quality. Gaithersville Maryland, August
 31, 2015.
 10.     Risks of Spiriva Respimat outweigh its benefit: A Debate. Inhalation Asia, University of Hong
 Kong, Department of Pharmacology and Pharmacy, Hong Kong. 2013
 11.     GLP-1-based therapies and risk of pancreatitis. Center for Clinical Epidemiology and Biostatistics
 Seminar Series, University of Pennsylvania Philadelphia, Pennsylvania. 2013
 12.     Visiting Professor. Department of Medicine. University of Alabama. 2013
 13.     Value based health care: Can shared decision making methods get us there? Center for Value
 and Effectiveness, Medicine Institute, Cleveland Clinic, Noon Conference.2013
 14.     Role of Multi-criteria decision analysis in regulatory policy.Stanford Prevention Research Center,
 Stanford University, Palo Alto, Stanford, California. 2013




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 15.     Role of Multi-criteria decision analysis in regulatory policy. South Carolina College of Pharmacy,
 Columbia, South Carolina.2013
 16.     Role of Multi-criteria decision analysis in regulatory policy. Department of Medicine. UC Davis,
 Sacramento, California.2013
 17.     Role of Multi-criteria decision analysis in regulatory policy. Department of Clinical Sciences, UT
 Southwestern, Dallas, Texas.2013
 18.     Role of Multi-criteria decision analysis in regulatory policy. Department of Medicine, Geisinger
 Medical Center, Danville, Pennsylvania. 2013
 19.     Weighing benefits and risks: Role of shared decision making in type 2 diabetes. CTSA Grand
 Rounds, Mayo Clinic, Rochester, Minnesota. 2013
 20.     Are long-acting muscarinic agents safe for patients with COPD: A Debate. Airway Vista, Asan
 Medical Center, Seoul, Korea
 21.     Academia and industry collaboration for cardiovascular risk mitigation. CBI and Applied Clinical
 Trials. 6th Annual Summit, Closing Address. Ritz Carlton, Arlington, Virginia.2012
 22.     Varenicline: Where are we today? Tobacco Disease Research Program, UCSF. San Francisco
 California. Varenicline debate.2012
 23.     The Maoist Insurgency in Nepal: Health Systems Challenges and Opportunities Conference on
 Health in Fragile States: Challenges for the Next Decade. United States Institute of Peace. Washington
 DC.2011
 24.     Standards of Care and the Role of Community Advocacy in Clinical Trials. Clinical Research in
 Developing Countries, Third Annual Marcus Evans Conference, Washington, DC.2008
 25.     Nepal-A Case study. Integrating public health methods into Conflict Analysis. Norman Patterson
 School of International Affairs, Carleton University, Ottawa, Canada.2007
                                         Local/Regional Presentations
 1.      Oral direct acting antivirals and the incidence or recurrence of hepatocellular carcinoma.
 Research Seminar Series, Department of Family Medicine, and Community Health. University of
 Massachusetts Medical School. June 15. 2018
 2.      Safety of novel anticoagulants vs warfarin- a case study using complementary study designs.
 Quantitative Health Sciences, University of Massachusetts Medical School, February 28, 2017
 3.      GLP-1-based therapies and risk of pancreatic adverse events. University of Maryland, Division
 of Endocrinology, Metabolism and Nutrition, Grand Rounds, Baltimore, Maryland. 2013
 4.      Thiazolidinediones and Patient-Oriented Outcomes in Type 2 Diabetes, GIM Grand Rounds.
 Johns Hopkins University School of Medicine. 2012
 5.      Patient-Centered Benefit and Risk Assessment. Center for Health Services and Outcomes
 Research. Johns Hopkins University 2012
 6.      Varenicline and cardiovascular and neuropsychiatric adverse events: Do benefits outweigh risks?
 Welch Center Grand Rounds. Johns Hopkins University. 2011
 7.      The new wave, HIV, Human Rights and Men who have Sex with Men in Nepal. Johns Hopkins
 Bloomberg School of Public Health, 2011.
 8.      Network Meta-analysis and Serious Adverse Events. Network Meta-Analysis Methods Workshop.
 Johns Hopkins Bloomberg School of Public Health. 2010
 9.      Thiazolidinediones and Cardiovascular Outcomes in Type 2 Diabetes. Internal Medicine Grand
 Rounds. Wake Forest University School of Medicine, 2008
 10.     How Safe Are Our Drugs and How Do We Know? North Carolina ACP, Durham.2008
 11.     Clinical Pathologic Conference. Internal Medicine Grand Rounds. Wake Forest University School
 of Medicine, 2007




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 12.    Globalization and Health Equity: An emerging Challenge for Academic Medicine. Internal
 Medicine Grand Rounds. Wake Forest University School of Medicine, 2007
 13.    Thiazolidinediones and Cardiovascular Disease: The Seduction of Common Sense.
 Epidemiology Seminar Series, Public Health Sciences. Wake Forest University 2007
                                       National/International Workshops
 1.     ICPE International Meeting Copenhagen, Denmark, Copenhagen. Safety of antidiabetic
 medication oral presentation (Moderator). August 28, 2022
 2.     M Hernan, T Wilke, EJ Mills, S Singh Head-to-head comparisons of therapies using real world
 data: What is needed to emulate target trials. ICPE Virtual meeting 2020 ( Panelist)
 3.     Ulka Campbell, Sengwi Kim, Sengwee Toh, Seamus Kent, Jeffrey Brown, Sonal Singh, Carla
 Rodriguez-Watson. What Do Real World Data Validation Best Practices Look Like? Operationalizing
 Guidance for Real World Studies intended for Decision-Making. 38th International Society of
 Pharmacoepidemiology, Annual Meeting, Copenhagen, Denmark. Aug 28, 2022. (Panelist)
 4.     ISPOR National Meeting. Head-to-Head Comparisons using Real World Data ( RWD): Is the era
 of network of meta-analysis over. [ Moderator and Chair] Virtual Meeting. May 18, 2020
 5.     ISPOR National Meeting, Next Generation Comparative Effectiveness Research- Are we getting
 organized to facilitate research for the individual patient? Washington, DC May 24, 2016 (workshop)
 6.     SGIM national meeting, developing high-quality search strategies for systematic reviews. 2010
 7.     SGIM national meeting, Systematic Review. 2009


       Peer reviewed Original Research Publications
  Trainees *
  Lead methodologist **
 1. Fisher KA, Nguyen N, Fouayzi H, Singh S, Crawford S, Mazor KM. Impact of a Physician
     Recommendation on COVID-19 Vaccination Intent Among Vaccine Hesitant Individuals. Patient
     Education and Counseling,2022,ISSN 0738-3991,https://doi.org/10.1016/j.pec.2022.09.013.

 2. Antonelli M, Cox J, Saphirak C, Gurwitz J, Singh S, Mazor KM. Motivating Deprescribing Conversations
    among patients with Dementia. A Descriptive Study. Therapeutic Advances in Drug Safety 2022 in press
 3. Reis G, Silva EASM, Silva DCM, Thabane L, Milagres AC, Ferreira TS, Dos Santos CVQ, Campos VHS,
    Nogueira AMR, de Almeida APFG, Callegari ED, Neto ADF, Savassi LCM, Simplicio MIC, Ribeiro LB,
    Oliveira R, Harari O, Forrest JI, Ruton H, Sprague S, McKay P, Guo CM, Rowland-Yeo K, Guyatt GH,
    Boulware DR, Rayner CR, Mills EJ; TOGETHER Investigators. Effect of Early Treatment with
    Ivermectin among Patients with Covid-19. N Engl J Med. 2022 May 5;386(18):1721-1731.
 4. Thorlund K, Sheldrick K, Meyerowitz-Katz G, Singh, Hill A. Making Statistical Sense of the Molnupiravir
    MOVE-OUT Clinical Trial. Am. J. Trop. Med. Hyg., 2022, pp. 1–4 doi:10.4269/ajtmh.21-1339
 5. Fisher KA, Nguyen N, Crawford S, Fouayzi H, Singh S, Mazor KM. Preferences for COVID-19
    vaccination information and location: Associations with vaccine hesitancy, race and ethnicity, Vaccine,
    2021, https://doi.org/10.1016/j.vaccine.2021.09.058.
 6. McGarvey L, Rubin BK, Ebihara S, Hegland K, Rivet A, Irwin RS, Bolser DC, Chang AB, Gibson PG,
    Mazzone SB; CHEST Expert Cough Panel. Global Physiology and Pathophysiology of Cough: Part 2.
    Demographic and Clinical Considerations: CHEST Expert Panel Report. Chest. 2021 Apr 24:S0012-
    3692(21)00764-9. doi: 10.1016/j.chest.2021.04.039. Epub ahead of print. PMID: 33905678.




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7. Chang HY, Chou YY, Tang W, Chang GM, Hsieh CF, Singh S, Tung YC. Association of antidiabetic
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    33772082.
8. Singh S, Cocoros NM, Haynes K, Nair VP, Harkins TP, Rochon PA, Platt R, Dashevsky I, Reynolds J,
    Mazor KM, Bloomstone S, Anzuoni K, Crawford SL, Gurwitz JH. Identifying Prescribing Cascades in
    Alzheimer's Disease and Related Dementias: The Calcium Channel Blocker-Diuretic Prescribing
    Cascade. Pharmacoepidemiol Drug Saf. 2021 Mar 14. doi: 10.1002/pds.5230. Epub ahead of print.
    PMID: 33715299.
9. Gurwitz JH, Kapoor A, Garber L, Mazor KM, Wagner J, Cutrona SL, Singh S, Kanaan AO, Donovan JL,
    Crawford S, Anzuoni K, Konola TJ, Zhou Y, Field TS. Effect of a Multifaceted Clinical Pharmacist
    Intervention on Medication Safety After Hospitalization in Persons Prescribed High-risk Medications: A
    Randomized Clinical Trial. JAMA Intern Med. 2021 Mar 1. doi: 10.1001/jamainternmed.2020.9285. Epub
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10. Lee KK, Davenport PW, Smith JA, Irwin RS, McGarvey L, Mazzone SB, Birring SS; CHEST Expert
    Cough Panel. Global Physiology and Pathophysiology of Cough: Part 1: Cough Phenomenology -
    CHEST Guideline and Expert Panel Report. Chest. 2021 Jan;159(1):282-293. doi:
    10.1016/j.chest.2020.08.2086. Epub 2020 Sep 2. PMID: 32888932.
11. Irwin RS, Dudiki N, French CL; CHEST Expert Cough Panel. Life-Threatening and Non-Life-
    Threatening Complications Associated With Coughing: A Scoping Review. Chest. 2020
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12. Chang AB, Oppenheimer JJ, Irwin RS; CHEST Expert Cough Panel. Managing Chronic Cough as a
    Symptom in Children and Management Algorithms: CHEST Guideline and Expert Panel Report. Chest.
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13. Singh S, Cocoros NM, Haynes K, Nair VP, Harkins TP, Rochon PA, Platt R, Dashevsky I, Reynolds J,
    Mazor KM, Bloomstone S, Anzuoni K, Crawford SL, Gurwitz JH. Antidopaminergic-Antiparkinsonian
    Medication Prescribing Cascade in Persons with Alzheimer’s Disease. J Am Geriatr Soc 2021 Jan 11.
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14. Bloomstone S, Cocoros N, Gurwitz J, Haynes K, Nair V, Platt R, Rochon P, Singh S, Mazor KM.
    Prescribing Cascades in Patients with Alzheimer’s Disease: Engaging Patients, Caregivers, Payers, and
    Providers in a Qualitative Evaluation of Print Educational Materials. Therapeutic Advances Drug Safety.
    First published October 30, 2020. https://journals.sagepub.com/doi/10.1177/2042098620968310
15. *Fukunaga MI, Halligan K, Kodela J, Toomey S, Furtado V, Luckmann R, Han PKJ, Mazor KM, Singh
    S. ** Tools to promote shared decision making in lung cancer screening using low-dose computerized
    tomography: a systematic review [published online ahead of print, 2020 Jul 3]. Chest. 2020;
    Dec;158(6):2646-2657
16. Heyward J, Mansour O, Olson L, **Singh S, Alexander GC; Association Between Sodium-Glucose
    Cotransporter 2 (SGLT-2) Inhibitors and Lower Extremity Amputation: A Systematic Review and Meta-
    Analysis. PloS One 2020 Jun 5;15(6):e0234065. doi: 10.1371/journal.pone.0234065
17. Malesker MA, Callahan-Lyon P, Madison JM, Ireland B, Irwin RS; CHEST Expert Cough Panel. Chronic
    Cough Due to Stable Chronic Bronchitis: CHEST Expert Panel Report [published online ahead of print,
    2020 Feb 24]. Chest 2020;S0012-3692(20)30324-X. doi:10.1016/j.chest.2020.02.015
18. Smith MP, Lown M, Singh S, Ireland B, Hill AT, Irwin RS on behalf of the CHEST Expert Cough Panel:
    Chest Guideline and Expert Panel Report. Immunocompetent Adult Outpatients with Cough Due to Acute
    Bronchitis: CHEST Expert Panel Report.[published online ahead of print, 2020 Feb 21]. Chest
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19. Côté A, Russell RJ, Boulet LP, et al. Managing Chronic Cough due to Asthma and NAEB in Adults and
    Adolescents. CHEST Expert Cough Panel Report [published online ahead of print, 2020 Jan 20]. Chest
    2020;S0012-3692(20)30045-3. doi:10.1016/j.chest.2019.12.021
20. Epstein MM, Saphirak C, Zhou Y, LeBlanc C, Rosmarin AG, Ash A, Singh S, Fisher K, Birmann BM,
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    10.1002/pds.4912
21. Min JY, Grijalva CG, Morrow JA, Whitmore CC, Hawley RE, Singh S, Swain RS, Griffin MR. A
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    Pharmacoepidemiol Drug Saf. 2019 Aug 7. doi: 10.1002/pds.4845. [Epub ahead of print]
22. **Singh S, Mazor KM, Fisher K. Positive deviance approaches to improving vaccination coverage rates
    within health care systems: a systematic review. J Comp Eff Res. 2019 Oct;8(13):1055-1065.
23. *Pradhan R, Nautiyal A, **Singh S. Diagnosis of immune checkpoint inhibitor-associated myocarditis:
    A systematic review. Int J Cardiol. 2019 Dec 1;296:113-121
24. Chang AB, Oppenheimer JJ, Kahrilas PJ, et al. Chronic Cough and Gastroesophageal Reflux in Children:
    CHEST Expert Cough Panel Report. Chest 2019;156(1):131‐140
25. **Singh S, Nautiyal A, Belk K. Real world outcomes associated with Idarucizumab: Population based
    retrospective      cohort   study.   Am     J    Cardiovasc     Drugs   2020     Apr;20(2):161-168     .
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26. **Singh S, Fouayzi H, Anzuoni K, Goldman L, Min JY, Griffin M, Grijalva CG, Morrow JA, Whitmore C,
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27. Singh S, Zeiman S, Alan Go, Fortmann S, Wenger N, Fleg JL, Radziszewska B, Stone NJ, Zoungas S,
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28. Moore A, Harnden A, Grant CC, Patel S, Irwin RS; CHEST Expert Cough Panel. Clinically Diagnosing
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31. Chang HY, Singh S, Mansour O, Baksh S, Alexander GC. Association Between Sodium-Glucose
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                          Major curricular offerings
2 credit Course in comparative effectiveness research for the Johns Hopkins ICTR 2015-2016

                                          Biography
Sonal Singh MD, MPH, FACP received his MD from Patna Medical College India (1999) and completed
his internal medicine residency training at Unity Health System, affiliate of Strong Memorial Hospital
Rochester, NY. He is a Diplomate of the ABIM and a Fellow of the American College of Physicians. He
obtained an MPH from Johns Hopkins Bloomberg School of Public Health (2008) and completed research
training at the Johns Hopkins Hospital as a Junior Faculty Research Scholar supported by the NIH. He
has taught and held faculty appointments at Wake Forest University School of Medicine and Johns
Hopkins University. He was the Associate Director for the Center for Drug Safety and Effectiveness and
core faculty Evidence Based Practice Center and the Center for Public Health and Human Rights at
Johns Hopkins University. He has received the Tinsley R Harrison Teaching Award for Education at Wake
Forest University, Mid-Atlantic Society of General Internal Medicine Clinician Investigator of the Year
Award, the Bruce P Squires Award for the best research paper of the year from the Canadian Medical
Association Journal. He conducts clinical research with a focus on evidence synthesis,
pharmacoepidemiology and shared decision making. He has published more than 150 academic
manuscripts in journals including Science, NEJM ,JAMA, Annals of Internal Medicine, Lancet and the
BMJ. These have been featured in Nature Medicine, NYTIMES, CNN, Washington Post, and the WSJ.
His work has been supported by the NIH, FDA, AHRQ, PCORI, WHO IARC and World Bank. He is a
practicing general internist with a passion for managing patients with complex medical conditions.
Research and Clinical Interests
Dr. Singh is an internal medical specialist and epidemiologist specializing in assessing the safety of
medications. He conducts clinical research with a focus on evidence synthesis, pharmacoepidemiology
and shared decision making. He has led and participated in many impactful studies which have been
incorporated into national and international guidelines on treatment of chronic conditions. His research
focusses on improving the safe use of medications for patients with chronic conditions. He has also led




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several efforts to improve the methodologic quality of studies that assess the safety and effectiveness of
medications. He has also contributed to studies of developing new tools for measurement of human rights
violations around the world. His research has been published in leading medical journals such as the
New England Journal of Medicine, Journal of the American Medical Association, British Medical Journal
and The Lancet. His work has been supported by the National Institute of Health, Food and Drug
Administration, Agency for HealthCare Research and Quality, Patient Centered Outcomes Research
Institute, and the World Bank.
Personal Statement
I believe in making shared decisions about treatment after discussing patient’s preferences and
preferences. I believe that effective and safe treatments should improve quality of life and clinical
outcomes along with any laboratory markers of disease. I try to understand patients’ perspective on
treatment. I deliver care in partnership with a highly collaborative and competent group of physician,
nurses, and staff at UMass Chan Medical School where we offer the best options for our patients.




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G5. Expert Testimony

I have not provided trial testimony

Expert deposition testimony

    1. I have provided expert deposition and report on behalf of an individual plaintiff who alleged that peripheral
        arterial disease was caused by nilotinib in 2017. In the US States District Court, Eastern District Court of
        California, Kristi Lauris Individually and as Successor in Interest to the Estate of Dainis Lauris; vs
        Defendants Novartis AG. Case No 1:16 cv 00393 –LJO-SAB. Case 2:17-cv-14302-RLR Document 49
        Entered on FLSD Docket.

    2. I have provided an expert report and deposition on 5.2.2018 on behalf of plaintiff who alleged that
        peripheral arterial was caused by nilotinib in 2018 in the UNITED STATES DISTRICT COURT
        SOUTHERN DISTRICT OF FLORIDA CASE NO. 17-14302-CIV-ROSENBERG/MAYNARD, DENNIS
        MCWILLIAMS AND LORI MCWILLIAMS, Plaintiffs, v NOVARTIS AG AND NOVARTIS
        PHARMACEUTICALS CORP. Defendants.

    3. I have provided medicolegal expert Deposition only on behalf of Plaintiffs Mary Brufett and Jefferey
        Brufett, Plaintiffs vs ISKRA PUSIC, M.D, KEITH E STOCKER GOLDSTEIN and Washington
        University. Cause no 1622-CC01117 (Division 8) on May 10, 2018

    4. I have provided expert report and deposition on behalf of the plaintiff in Re: Johnson and Johnson Talcum
        Powder, products, marketing, sales practices, and product liability litigation (MDL # 16; 2738) on Jan 18,
        2019

    5. I have provided expert deposition (and report) IN RE: VIAGRA (SILDENAFIL CITRATE) AND CIALIS
        (TADALAFIL) PRODUCTS LIABILITY LITIGATION Civil Case No.: 3:16-md-02691-RS MDL No.
        2691 in the United States District Court Northern District of California

    6. I have provided expert deposition only on behalf of an individual plaintiff in THE CIRCUIT COURT OF
        CAMDEN COUNTY, MISSOURI in the case GRACE ARLENE RAHMOELLER v Walmart Stores, Inc
        and Nicholas B Collins (Case No.: 15CM-CC00238) on April 16, 2018.

    7. I have provided expert report and deposition on behalf of the plaintiff in the case of Alan Churchill and
        Nancy Churchills vs Thomas Jackson MD in the Superior Court of New Jersey, Union County, Docket No
        UNN L-1027-17 on January 10, 2019

    8. Re: Coates v. United States, 3:18-cv-314 (W.D. Ky.). I have provided expert report and deposition on behalf
        of the plaintiff in the case of Michael Coates vs VA on July 16 2020. This case involved medicolegal
        standard of care around alleged failure to refer a case of elevated PSA levels.




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